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                                                                 1        during the tactical operation, and what your
                                                                 2        experience was.    I am gathering this information to
                                                                 3        defend the case on behalf of I-DOC Defendants, but not

                       AUDIO TRANSCRIPTION                       4        for any disciplinary purposes against you or any other

                    Interview of Kevin Akins                     5        inmates.

                      Inmate Number B86667                       6            This interview is voluntary.    I am not in a
                                                                 7        position to offer you anything for participating and
                                                                 8        there will be no adverse consequences if you refuse to
                                                                 9        talk to me.   However, I’m hoping you are willing to
                 Illinois Attorney General                       10       talk to me about what happened to you during the
           100 West Randolph Street - 13th Floor                 11       shakedown at Big Muddy 2014; if you remember.    So is
                 Chicago, Illinois 60601                         12       it okay if I ask you some questions?
                      (312) 814-3695                             13           A      Yeah.
                                                                 14           Q      Okay, can you please state and spell your
                                                                 15       name and give your inmate number?
                                                                 16           A      Kevin Akins, K-e-v-i-n A-k-i-n-s, ID,
                                                                 17       B86667.
                                                                 18           Q      Okay.   And you were at Big Muddy in the
                                                                 19       summer of 2014?
                                                                 20           A      Yeah, I was at Big Muddy from ’13 to 2016.
                                                                 21           Q      Okay.   And do you recall a facility-wide
                                                                 22       shakedown that happened in 2014?
                                                                 23           A      Orange Crush?
                                                                 24           Q      Yes.


                                                             1                                                                     3
 1    BY MR. JAMES DURAN:                                             1          A Orange Crush, yeah.
 2        Q    My name is James Duran (phonetic) and I’m an           2          Q That’s fine. Were you housed at the time?
 3    attorney for the state of Illinois.   I’m here today to         3          A I was housed at 3-C. I can’t remember -- I
 4    interview you about a shakedown that occurred in 2014.          4     think by 65 cell or something. Something, one of them
 5    A lawsuit has been filed by inmates that were housed            5     cells, I forgot which cell, but it was in 3-C.
 6    at Menard, Illinois River, Big Muddy River and                  6          Q Okay. And what’s the first thing that you
 7    Lawrence Correctional Centers against certain                   7     remember that happened that day as far as the -- the
 8    employees working for I-DOC arising out of the                  8     shakedown?
 9    operation.                                                      9          A I remember them coming there. I remember
 10       I’m here on behalf of the Defendants, the              10         them coming in our rooms, telling us -- telling one of
 11   employees of the I-DOC.   Certain inmates are the named    11         us to face the wall. Then coming in to tell us to
 12   Plaintiffs in this case and are represented by a law       12         face the wall, made us both, me and my cellmate get
 13   firm, Loevy & Loevy.   The lawsuit is a class action       13         naked in the cell.
 14   and at this stage, the class has not yet been              14              Q All right. Who came to your cell? Was it
 15   certified by the judge.                                    15         two men? Two women?
 16       Because you were housed at Big Muddy, you are a        16              A It was -- I don't know, I think it was -- I
 17   potential class member, which means that if the judge      17         heard one man voice, but it was two people. I didn’t
 18   certifies a class, you would be represented by             18         really see them in front of us. I seen one man, I
 19   Plaintiff’s attorneys.    If the judge certifies a         19         heard one man was there. He was all masked up and
 20   class, your interest could be adverse to that of the       20         stuff.
 21   Defendants.                                                21              Q Okay.
 22       You are of course, free to contact an attorney         22              A They told us to get naked. And lift our --
 23   before speaking to me.    But I would like to interview    23         lift our genitals.
 24   you to get a better understanding of what happened         24              Q All right. Did they do you -- was it one at

                                                             2                                                                     4

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  1   a time? Did they have your cellmate stand in the back     1   frustrated, I am like man, I am for be seeing this
  2   of the cell and they did you first or was it the other    2   close to a guy. And I don't know what they called it,
  3   way around?                                               3   but officer, while I was cuffed up, grabbed my arm by
  4       A They had us both in the doorway. It was             4   like that to where I have a (inaudible 00:04:56) to
  5   both of us in the cell, yeah.                             5   lean forward.
  6       Q Okay. And did one of the -- one of the              6       Q Okay.
  7   officer’s strip-search you and one strip-search the       7       A Because it was hurting on my shoulders. And
  8   other guy? Or did the both do --                          8   I lean forward and have my hands on my head on the
  9       A No, they -- they both stood there and strip-        9   back of his back and then went to the chow hall. And
 10   searched both of us. We both strip-searched in the       10   they made us -- they made us lay our heads on the
 11   cell together.                                           11   tables and yelling at us and all that.
 12       Q Okay.                                              12       Q How long did you remain in the chow hall
 13       A And then they had us lift our balls, open          13   with your head on the table?
 14   our mouth, squat. But they wouldn't let us put on our    14       A I don't know, I mean, I don’t even know. I
 15   drawers. They wouldn't let us put none of our            15   was so frustrated and angry. I just -- I don't know
 16   underclothes back on. They let us put our pants back     16   how long exactly it was.
 17   on, no underclothes. They go and they cuffed us up.      17       Q Can you give an estimate?
 18   And they shoved both of our heads and told each other    18       A No idea. I’d say about an hour, hour-and-a-
 19   like to go into the next person’s back.                  19   half or somewhere around there. Then when we went
 20       Q Okay. Did they let you put your shirts back        20   back to the -- went back to our room, they -- someone
 21   on, too?                                                 21   had poured water in people -- in boxes, people
 22       A Yeah, we put our blue shirt on.                    22   property boxes.
 23       Q Okay, your blue shirt.                             23       Q In your property box?
 24       A My blue shirt and pants.                           24       A No, they took -- they just took like -- they

                                                          5                                                            7

  1        Q Blue pants, and then shoes, too?                   1   took all my commissary that I had and stuff like 30
  2        A Yeah, no socks, no undershirt, no drawers.         2   pictures. But there was nothing wrong with none of
  3        Q Okay. And then were you handcuffed?                3   it.
  4        A Yeah.                                              4        Q Did you get a shakedown receipt for it or
  5        Q Okay. And now what happened?                       5   no?
  6        A Then we were handcuffed then they walking us       6        A I didn’t get a shakedown slip or nothing.
  7   all in line and made us put our -- as they prefer,        7        Q Okay. So they -- they just took the stuff?
  8   they say, “Nuts to butts.” Meaning my nuts to the         8        A Yeah, I don't know if they took it because
  9   person in front of me butt, like that.                    9   some people found they stuff in other people boxes.
 10        Q Okay.                                             10   “Like, oh man, I found this in my box.” Like they
 11        A And then they were shoving our heads into         11   took people mail together and mixed them together.
 12   the back of the other person’s -- back of the other      12        Q That were in different cells or was it --
 13   person back.                                             13        A In the same cell and in different cell.
 14        Q Who said, “Nuts to butts?”                        14        Q Okay.
 15        A The Orange Crush people.                          15        A I went back to my cell. All my commissary
 16        Q Okay. And then -- so they had your head in        16   was gone. I probably had like four noodles left or
 17   his back. Was it really your nuts to his butt or was     17   something and I had probably 200 pictures, probably
 18   it your head in his back?                                18   like 30 or 40 of them was missing.
 19        A I mean, they had us this close.                   19        Q All right.
 20        Q Okay.                                             20        A I ended up -- shakedown slip that I
 21        A But us -- me being uncomfortable, I’m trying      21   confronted IA about it, then I confronted the Cos and
 22   to abide by it. And I look up and they shoving my        22   all that and they say, “Man, they probably -- the
 23   head back into his back. “Don’t look up. Don’t look      23   Orange Crush probably threw them away or ripped them
 24   at me.” And all that. And then at one point, I got       24   up or did something with it.” There was no reason to

                                                          6                                                            8

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  1   take it.                                                  1   thing they had me do.
  2       Q All right. Did -- did anyone hit you with           2       Q All right. Do you recall anything that any
  3   their nightstick or baton at any time during this?        3   of the officers said besides what we already talked
  4       A I wouldn’t say necessarily hit me, but they         4   about?
  5   were --                                                   5       A If there was something, I don't remember.
  6       Q Right, they lifted up your hands?                   6   Because I couldn’t remember.
  7       A Yeah.                                               7       Q Okay. That’s all I got, thank you.
  8       Q But did anyone hit you with any sticks at           8       A All right.
  9   any time?                                                 9                 (End of interview)
 10       A Not that I had. Not hit as in break me.            10
 11   But I -- keep your head like -- like that. You know,     11
 12   how like you tell someone to keep your head down. But    12
 13   no how I am saying it, but keep your tucked in another   13
 14   person’s back. Nuts to butt.                             14
 15       Like not hitting you with it, but touching you.      15
 16   But I wouldn't say hit to where it hurt. But it’s the    16
 17   way they shouldn’t be touching you period. They          17
 18   shouldn’t even be touching me with the stick if I am     18
 19   not putting up any hassle, I guess.                      19
 20       Q All right. Was -- were you involved in any         20
 21   other facility-wide shakedowns at any prison, either     21
 22   before or since that time?                               22
 23       A No, that’s the first one I ever been               23
 24   involved in that. I mean I've been in regular            24


                                                          9                                                           11

  1   shakedowns as in monthly -- you know because in jail     1         I, Audrey Marie Skaja, do hereby certify or
  2   you get a monthly shakedown to make sure you got o       2    affirm that I have impartially transcribed the
  3   contraband or nothing. But that’s the first that I've    3    foregoing from a digitally recorded statement of the
  4   been through some Orange Crush situation.                4    above-mentioned proceedings to the best of my ability.
  5       Q Okay. The strip-search that they did, like         5
  6   you said you went through other -- other shakedowns      6
  7   and they do the strip-search. Was the strip-search       7
  8   that they did on the date in 2014, was that the same     8
  9   normal strip-search?                                     9
 10       A No.                                                10
 11       Q What was different about it?                       11
 12       A What different about it is me and another          12
 13   guy sitting -- ready to get strip-searched. And          13
 14   normally when I do, when I get stripped -- like the      14
 15   strip-search I've been through before that, they tell    15
 16   me to lift my genitals, open my mouth.                   16
 17       They had me open my mouth, run my hands through      17
 18   my head, squat and cough. This one, it was similar,      18
 19   but I lift your genitals, open your mouth, put your      19
 20   hand in and run your fingers through your mouth. For     20
 21   what, like this, and squat and cough; that’s it.         21
 22       Q Okay.                                              22
 23       A But the didn’t check the bottom of my feet,        23
 24   my hair or nothing. They just -- that was the main       24


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           A                2:12 3:3                   6:23,23 7:14        guess                     interview                4:15
A-k-i-n-s                  cell                       doorway               9:19                      1:5 2:4,23 3:6 11:9     Menard
 3:16                       4:4,5,13,14 5:2,5,11       5:4                 guy                       involved                 2:6
abide                         8:13,13,15              drawers               5:8 7:2 10:13             9:20,24                 missing
 6:22                      cellmate                    5:15 6:2                                      it’s                     8:18
ability                     4:12 5:1                  Duran                            H              9:16                    mixed
 12:4                      cells                       2:1,2               hair                                               8:11
above-mentioned             4:5 8:12                                        10:24                                  J          monthly
 12:4                      Centers                               E         half                      jail                     10:1,2
action                      2:7                       either                7:19                      10:1                    mouth
 2:13                      certain                     9:21                hall                      James                    5:14 10:16,17,19,20
adverse                     2:7,11                    employees             7:9,12                    2:1,2                   Muddy
 2:20 3:8                  certified                   2:8,11              hand                      judge                    2:6,16 3:11,18,20
affirm                      2:15                      ended                 10:20                     2:15,17,19
 12:2                      certifies                   8:20                handcuffed                                                    N
Akins                       2:18,19                   estimate              6:3,6                               K             naked
 1:5 3:16                  certify                     7:17                hands                                               4:13,22
                                                                                                     K-e-v-i-n
angry                       12:1                      exactly               7:8 9:6 10:17                                     name
                                                                                                      3:16
 7:15                      check                       7:16                happened                                            2:2 3:15
                                                                                                     keep
arising                     10:23                     experience            2:24 3:10,22 4:7 6:5                              named
                                                                                                      9:11,12,13
 2:8                       Chicago                     3:2                 hassle                                              2:11
                                                                                                     Kevin
arm                         1:12                                            9:19                                              necessarily
                                                                                                      1:5 3:16
 7:3                       chow                                   F        head                                                9:4
                                                                                                     know
attorney                    7:9,12                                          6:16,18,23 7:8,13 9:11                            nightstick
                                                      face                                            4:16 7:2,14,14,15 8:8
 1:10 2:3,22               class                                              9:12 10:18                                       9:3
                                                       4:11,12                                          9:11 10:1
attorneys                   2:13,14,17,18,20                               heads                                              noodles
                                                      facility-wide
 2:19                      close                                            5:18 6:11 7:10                                     8:16
                                                       3:21 9:21                                                L
AUDIO                       6:19 7:2                                       heard                                              normal
                                                      far                                            law
 1:4                       coming                                           4:17,19                                            10:9
                                                       4:7                                            2:12
Audrey                      4:9,10,11                                      hit                                                normally
                                                      feet                                           Lawrence
 12:1                      commissary                                       9:2,4,8,10,16                                      10:14
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                                                                                                                               1       during           the       tactical           operation,               and    what        your
                                                                                                                               z       experience                 was.         I am gathering                  this        information             to

                                                                                                                               3       defend           the       case        on    behalf        of    I -DOC       Defendants,              but       not

                                          AUDIO               TRANSCRIPTION                                                    4       for        any    disciplinary                    purpose        against            you    or    any       other

                              Interview                   of     Deon          Alivinzston                                     5       inmates.

                                         Inmate               Number               R66235                                      6                   This        interview             is    voluntary.                I     am    not    in    a

                                                                                                                               7       position              to    offer           you    anything            for    participating                 and
                                                                                                                               8       there           will       be     no    adverse           consequences               if    you     refuse            to

                                                                                                                                       talk        to                  However,           I' m    hoping        you        are    willing          to
                                   Illinois                   Attorney              General                                    9                         me.



                  100     west            Randolph                    Street -                 13th           Floor           10       talk        to    me       about        what       happened            during        the       shakedown             at

                                   Chicago,                   Illinois                   60601                                11
                                                                                                                                       Big        Muddy        2014;          if    you     remember.               so     is    it    okay       if    I
                                                       312)      814-        3695                                             12       ask        you    some          questions           today?

                                                                                                                              13                   A           Absolutely.

                                                                                                                              14
                                                                                                                                                   Q           Okay,          can    you     please           state        and    spell       your

                                                                                                                              15       name        and       give        your       inmate        number?

                                                                                                                              16                   A           Deon       Alivinzston,                 D- e- o - n       A - 1 - i - v - i - n - z - 5- t-

                                                                                                                              17       o -   n.        Inmate          Number        R66235.


                                                                                                                              18                   Q           were       you       housed        at Big        Muddy           Correctional
                                                                                                                              19       Center           in     2014?

                                                                                                                              20                   A           Yes.


                                                                                                                              z1                   Q           And       do    you       recall        a facility - wide                shakedown?
                                                                                                                              22                   A           Yes.


                                                                                                                              z3                   Q           What       do       you    recall        from        that        shakedown?

                                                                                                                              24                   A           The       main       thing        that     I    recall           from    the


                                                                                                                          1                                                                                                                                 3


  1   BY    MR.      JAMES         DURAN:                                                                                          1
                                                                                                                                             shakedown is being stripped naked in front of a lot of
  2
              Q           My name             is       James    Duran (        phonetic)                and       I' m an          2
                                                                                                                                             people, which was really demoralizing.                                             And the pain
  3   attorney           for       the    state          of    Illinois.             I' m here               today       to        3         that you know,                    it was given to me from out of
  4   interview           you       about          a    shakedown           that     occurred                in    2014.           4
                                                                                                                                             handcuffs behind my back for so long.
  5   A lawsuit           has       been       filed          by inmates            that       were          housed                5
                                                                                                                                                   When they shook us down they took us to the
  6   at    Menard,           Illinois             River,       Big        Muddy     River          and                            6         kitchen,          the chow hall where                      we eat in and set us down
  7   Lawrence           Correctional                   Centers        against           certain                                   7         and had our backs with your head down.                                               We couldn' t
  s   individuals              working             for    I -DOC       arising           out       of    the                       8
                                                                                                                                             move, we couldn' t talk and we was basically stationed
  9   operation.                                                                                                                   9         in that position                 for hours.
 10               I' m   here       on    behalf          of    the        Defendants,              the                        10
                                                                                                                                                   Q          Okay. Is that the first facility -wide
 11   employees           of       the    I -DOC.             Certain        inmates           are       the       named       11            shakedown                 that you endured?

 12   Plaintiffs              in    this       case       and     are       represented                 by a law               12                  A          No, actually I was at the one here in ' 14
 13   firm,        Loevy &          Loevy.             The     lawsuit         is    a    class          action                13            and I was at another                         one in Western                  Correctional
 14   and    at     this       stage,          the       class        has    not     yet       been                            14            Center.

 15   certified           by the judge.                                                                                        15                             In ' 14?
                                                                                                                                                   Q
 16
                  Because          you    were          housed        at    Big     Muddy,          you       are    a         16                  A'          15.
 17   potential           class          member,          which        means        that       if       the       judge        17
                                                                                                                                                   Q          In ' 15, okay. Well, I am going to ask you
 18   certifies           a class,             you       would        be    represented                 by                     18            about that one when we are done.                                        So can you explain
      Plaintiff'                                          If    the        judge     certifies                a                19            to me how the --
 19                       s    attorneys.
                                                                                                                                                                                   the whole strip -search and shakedown
 zo   class,        your       interest                could    be     adverse           to    that          of    the         20            of   your        cell,      how that -- how that started                            and what
 21   Defendants.                                                                                                              21            happened?
 22
              You        are       of    course,          free        to    contact           an    attorney                   22                  A         Well you know the word goes around                                         to the
 23   before                                              But     I    would        like       to       interview              23
                     speaking            to    me.
                                                                                                                                             penitentiary and they let us know that they was there.
                                                                                                                               24
 24   you    to     get       a better             understanding              of     what          happened                                  And everybody was screaming, talking about," Oh,

                                                                                                                          2                                                                                                                                 4


                                                                                                                                                                                                                    Pages                1        to         4

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  1                                                                                              1
      Orange Crush here.                 It' s going to be real bad. They                                 Q     Okay. And where was your cellmate when you
  2   don' t have no respect,"              and all that.                                        2
                                                                                                      were being shaken down?
  3                                                                                              3        A     In the cell.    He was in the cell with me.
              So we see them coming through the window, you
  4                                                                                              4
      know, they come in with the batons and the shields and                                              Q     Okay.    Was he facing the wall?              Was     he
  5           know all that they had --             had where -- and they                        5
      you                                                                                             facing out? Was he looking at you or what; do you
  6               in and --                                                                      6
      come                     to a bunch of cells and have everybody                                  know?
  7   come to        the door. "                                                                 7        A     I can' t remember.        I can' t remember.           I
                                         Hey, you' re the man I' m getting,"
  8   you     know. "     Shut up.         Turn everything       off."    And whoo-              8    dont know.
  9                                                                                              9
      whoo, you know just talking real aggressive.                                                        Q     Okay, so after they strip- searched you, you
 10                                                                                             10
              Q     So how many people came to your cell?                                             were allowed      to put back on clothes.           What were you
 11           A                                                                                 11    allowed to put on?
                    I' m really not sure.          I think it was maybe
 12   two or more.                                                                              12        A     Just the blues.
 13                                                                                             13
              Q     Okay. And was it two men?                                                             Q     Okay. Your shirt and your pants, no
 14           A     I dont    remember.          I know some cells -- I                         14     underwear?

 15                                                                                             15        A     No undergarments,          no boxers,      no socks,        no t-
      remember specifically my cell.                  I know some cells was
 16   men,        some   cells     was    women.                                                16    shirts.

 17                                                                                             17
              Q     But yours was -- what was yours?                                                      Q     Okay. Were you able to wear shoes?
 18           A                                                                                 18
                    I can' t remember. Probably, men but I don' t                                         A(     Inaudible     00: 06: 01).      Yeah,   you could         put
 19   know.         I know for sure that in certain             cells where two                 19    your shoes    back on.
 20   men was at, there was a woman also present, in some                                       20
                                                                                                          Q     Okay, you could put your shoes on, too?
 21   cells.                                                                                    21        A     Yeah.
 22                                                                                             22
              Q     Okay. So what happened then when they came                                            Q     Okay.    And then --      so then they strip -
 23   to your cell?                                                                             23    searched your cellmate?

 24           A                                                                                 24        A     Yeah.
                    They come to the cell and tell us to strip,


                                                                                           5                                                                                        7


  1                                                                                              1                       And
      you know, be quiet, shut up, turn everything off, get                                                Q    Okay.           were    you --    did you watch            him get
  2                                               Shakedown --                                   2
      all your property             slips out.                         it' s going                     strip- searched or what did you do?
  3                                                                                              3        A
      to be a shakedown.                 They don' t want us to have no                                         Man,    I can' t remember.          I mean,     I' m not
  4                                                                                              4
      clothes, no undergarments.                   You can' t have on anything                         going to really look at another man, you know, being
  5   under the blues.              All we could     have on is blues,         no                5     naked.    So I don' t know      if they --    I am not sure if
  6   shirt, no boxers,            no socks.                                                     6
                                                                                                      they told us to turn around or you know, or just stand
  7                                                                                              7
              Q     Okay. So how did they do the strip -search?                                       to the back of the cell.         But we was both          in the cell
  8           A                                                                                  8
                    They do the strip -search, you come to the                                         getting strip- searched at the same time, but not
  9                                                                                              9
      strip -search they just basically tell you, " Hey, we                                            simultaneously.
 10                                                                                             10
      are     going to search you."              And you strip.       You ass                              Q    Okay.     But you don' t remember seeing your
 11   naked and you got to you know,                       spread,    cough,   spread,          11
                                                                                                       cellmate naked during the strip -search?
 12   cough,        spread    your cheeks.         Go do your hair, you know,                   12        A     If I did, I tried to erase it out of my
 13                                                                                             13
      gums and all that. Raise your balls up. And do your                                              memory.     This is something I didn' t want to see,
 14   cellmate, too.                                                                            14
                                                                                                       obviously, you know.
 15                                                                                             15
              Q     Okay. And where was your shakedown done,                                               Q    Okay.    Were --     you and your cellmate                were

 16   inside the cell         or   outside the     cell?    Your --    your                     16     both allowed to put on your blues and your shoes and
 17                                                                                             17    then were you cuffed         behind     your back?
      strip -search?
 18           A     I mean,        at the front, at the door or the                             18        A     Yeah, we was cuffed behind the back; cuffed
 19   cell.       Right in the door of the cell.                                                19
                                                                                                       up behind the back. I' m not sure if they double -
 20                                                                                             20
              Q     Okay.                                                                              locked or not. I know they don' t because there was a
 21           A     Because        a lot of them     don' t want to come            in          21     lot of guys -- when      we get to the chow            hall,   there      was
 22                                                                                             22
      the cell. I guess they feel that the door is nasty.                                              a lot of guys complaining about the cuffs too tight,
 23   So it' s like a borderline            inside of the cell and                              23     can you unloosen        the cuffs?
 24   outside the cell.                                                                         24
                                                                                                           Some guys, you know, I guess they took a liking

                                                                                           6                                                                                        8

                                                                                                                                                     Pages            5     to         8

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  1                                                                                             1
        to, they was loosening some cuffs up. Some guys, they                                          none of that. And you' re cuffed up and like I said
  2                                                                                             2
        was just letting them, you know, sit in pain.                                                  from  that point, you -- of people bumping into you
  3                                   how -- how were you walked from                           3
              Q       Okay,     so
                                                                                                       from the back that's how the cuffs getting tighter.
  4     your cell to the chow              hall?                                                4      So we said, " Hey, you know."
  5           A                                                                                 5
                      On each other heels. We were literally on                                            Q    How long did you remain at the table with
  6                                                                                             6      your head down?
        each other heels. There was no room for walking. You
  7     got to put your            head    on --    on someone else' s back.                    7           A       Man,      I couldn' t even      tell you.     It was over
  8                                                                                             8 --
        And looking down, you can' t have no physical contact.                                            it was over 90 minutes.               I' m for sure about that.
  9                                                                                             9
        I mean, no, you know, out of content looking at the                                                 Q       All right, and then after you left the chow
 10 (    inaudible          00: 07: 46).                                                       10      hall, did you return to your cell house?
 11           So you got to put your head on, with your hands                                  11           A      Yeah, returned to the cell house same way,
 12                                                                                            12
        to the back, and you got to put your head down walking                                         the same exact way.
 13                                                                                            13
        and march. Somebody stepping on you, you stepping on                                                Q       Handcuffed, head on the guy' s back?
 14                                                                                            14
        somebody. It's cold, no coat on. It might be                                                        A      Yeah.
 15                                                                                            15                   All right.     And then      when      you    arrived     back
        raining.       I think the time I was there, it was                                                 Q
 16                     Inaudible 00: 08: 01),                                                 16
        raining. (                                         it was raining.                             at your cell, did anything happen then or was it --
 17                              And how far -- were you bent over                             17
              Q       Okay.                                                                            the shakedown             over?
 18                                                                                            18
        real far with your head on the guy' s back?                                                         A      You know one thing that I really do
 19           A       I mean as far as you have to go to whereas                               19      remember, man,             because      it was --    like I said,      it was
 20                   to -- you know,          you got to put your head on                     20 --
        you     got
                                                                                                          they ain' t working with you as long the stink up is
 21                                                                                            21
        somebody else' s back.                                                                         demoralizing and humiliating. It was really
 22                   Could                                                                    22
              Q                 you --     could you stand up for a second                             humiliating.
 23                                                                                            23
        and show me, like turn kind of sideways                         and back up a                       And when           we got back to the cell,           the cell was
 24     little bit.     And how --         can you demonstrate               how you           24
                                                                                                       tore up, your property and everything.                       A lot of the

                                                                                          9                                                                                           11


  1
        were walking, like far did you have to bend over?                                              guys was complaining.               They break stuff, talking about
  2             A                                                                               2
                      I would say.                                                                     their TVs broke, things were missing.                     Their food was
  3                                                                                             3
                Q      Okay. And then can you walk back this way a                                     open,    you know,        a lot of things     of that nature.
  4                                                                                             4
        little bit, just sideways so I can see you. Okay, and                                              Clothes just throwed             out in the middle of the
  5     then your           head      was on someone           else' s back while       you     5
                                                                                                       gallery.     So when I got back in the cell, the cell was
  6                                                                                             6      tore up.      It was --    it was like a hurricane.
        were doing that, right?
  7             A                                                                               7
                      Tripping and you know then they stopped the                                          Q       All right. Do you remember not that any of
  8     line.                                                                                   8
                    Stop it, " Wait, hold           on,   stop."    And then the                       the correctional officers said during the shakedown?
  9     front of line,          you    know,       and    it was   like --   I don' t           9          A       A lot --    a lot of bad things.        A lot of bad
 10                                                                                            10                   Shut up, don' t talk."
        know if they was like to mess with us and test me                                              things. "                                    You know they got the
 11                                                                                            11
        because it was raining and you know, it' s in the cold,                                        sticks and really intimidating.              They saying all this,
 12     you know.                                                                              12       Don' t talk.     You     know,     this is our house       and we run
 13                                                                                            13                          do what
                Q     All right. And then at any point did any of                                      this and you                   we    say."    It was a bad
 14                                                                                            14
        the officers physically hit you?                                                               experience.         I' m serious,    man.
 15             A                                                                              15          A lot of guys got hurt and it was very --                  it' s
                      Not me, not me, but I seen some disciplinary
 16     things.        Not me.                                                                 16      just a lot of pain.        It' s a lot of pain,     it' s a lot of
 17                                                                                            17
                Q      Okay, so you were never hit?                                                    suffering, man, it seriously is; it' s just a lot of
 18             A     No.                                                                      18
                                                                                                       pain and suffering.           It's bad on your back. It's bad
 19                                                                                            19      on your shoulder.           I still got shoulder         problems      right
                Q     All right, well that' s good.                So then you
 20     were taken to the chow hall and you had to sit in the                                  20      now.

 21     chow        hall.     Explain      how you        had to sit?                          21                  All right.     Did you seek medical            attention
                                                                                                           Q
 22             A     You got to sit with your head down on the                                22      for those?
 23     table,      far down          on the table        like this and you can' t             23          A       Yeah, yeah.
 24                                                                                            24
        look up. You can' t look up. There is no talking or                                                Q       All right, I think I may have already asked

                                                                                         10                                                                                           12


                                                                                                                                                      Pages           9       to      12

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   1                                                                                      1
         you, but have you gone through any other facility - wide                              I remember from Western it was a guy ( inaudible
  2                                                                                       2
         shakedowns?                                                                           00: 14: 06) probably showed that place because they had
   3         A       At Western.                                                          3    him in --      in a position too long and he was constantly
  4                                                                                       4
             Q       Okay. And that was after this one, right?                                 asking to get removed.             And everybody was laughing at
   5         A                                                                            5
                     It was after.                                                             him, like it was a joke. And he was saying, " Man, my
  6                                                                                       6                                                                And the
             Q       Okay. And can you explain how the Western                                 shoulder       popping.     My shoulder popping."
   7     Illinois Correctional       Center shakedown        was?                         7
                                                                                               police came and grabbed him and put his arm up and he
  8          A                                                                            8              like, " Ahhh."
                     The same way.                                                             was                        And adding to his pain.
  9                                                                                       9                 Who was he?
             Q       When     was it, 2015,    you said?                                             Q
 10          A       2015.     I think it was either -- one of them                      10          A      Same cell, Darrell Brown ( phonetic).
 11 --      one of them was rain.            It was either here or                       11
                                                                                                     Q      Okay.
 12                                                                                      12          A
         Western, it was raining and it was wet and they was                                                And here, I think they was saying they
 13                                                                                      13
         playing with the line. They was keeping outside                                       dropped some guy on his face, busted his face all open
 14                                                                                      14
         longer, it don' t take that long to walk from the                                     and --      yeah.

 15                                                                                      15                 All right.    So when you were in the kitchen
         housing units to the chow hall and kitchen.                                                 Q
 16                                                                                      16
             They was playing.            You know stopping the line,                          at Western, how long did you remain in the kitchen?
 17                                                                                      17          A
         doing this, doing that, you know talking.                And being                                 Over 90 minutes. The same way.
 18      disrespectful.       Unprofessional,                                            18                 And were you taken back to your cell in the
                                                   they was -- they                                  Q
 19      weren' t professional.                                                          19    same manner as you were walked to the kitchen?
 20                                                                                      20
             Q       So what      happened    at the Western       Illinois                          A      Yeah,    walked    back from the kitchen        to the
 21      Correctional        Center shakedown?        Was it -- were you                 21
                                                                                               cell. The cell tore up and everything, you know.
 22                                                                                      22
         strip- searched      the same way?                                                    Everything everywhere, me and my cellmate' s stuff
 23          A                                                                           23
                     The same way.                                                             mixed up. Might be in the cell somebody you don' t
 24                                                                                      24
             Q       And then     how were you taken         out of your cell                  even get along with and you know, just caused a lot of

                                                                                    13                                                                                     15


  1      that time?                                                                       1    confusion.

  2          A                                                                            2
                     Strip- searched, butt naked, same way. You                                      Q       Do you remember anything that was said by
  3      know, no undergarments.             We got -- they put the cuffs                 3
                                                                                               any of the officers at the Western              Illinois
  4      on, head down, march forward.                                                    4    Correctional         Center?
  5                           No undergarments,       but                                 5          A
             Q       Okay.                                  you   wore --     you                           Same exact, everything.           I mean
  6      were allowed to wear your blues and your shoes?                                  6
                                                                                               unprofessional. They were unprofessional. They were
  7          A       Our blues and shoes.                                                 7    unprofessional.

  8                                                                                       8                 The search at your cell at Western, was that
             Q       And your shirt and your pants.         Okay, and                                Q
  9      then you were handcuffed behind you and your head and                            9
                                                                                               conducted by two men?
 10                                                                                      10          A      Like I say, it was like --   appeared         like the
         you were bent over walking again?
 11          A       Yeah.                                                               11    same thing.          I dont know --    I know it was women the
 12                  And where were you taken to there?                                  12
             Q                                                                                 vicinity.
 13          A     To the kitchen.        To the chow hall, the same                     13
                                                                                                     Q      Okay.
 14                                                                                      14          A
         spot. Same way. I was kind of mad because I end                                                    There was women in the vicinity. I can' t
 15                  interest two, you know -- yeah, I think that                        15
         running                                                                               remember specifically if it was women or men, but I
 16      was ' 15.     That was ' 15.                                                    16    remember it was three women in there, so I remember
 17                  All right.   And when you were placed          in the               17               I know that for sure.       So I don' t -- you know,
             Q                                                                                 that.

 18      kitchen there, how                                                              18    I know --       I know it wasn' t -- it wasn' t at no point
                                   were   you --   how were you sitting
 19      and where were you placed?                                                      19    that I know because I read a lot and I am informed                         and
 20          A                                                                           20
                   The same exact way. Your head won.                                          I know that.
 21                  Head on the table?                                                  21
             Q                                                                                       A woman is exposed just like the police they
 22          A       Yeah.                                                               22
                                                                                               doing or cops. A woman is not supposed to be for a
 23                                                                                      23                                   to -- a woman
             Q       Okay.                                                                     man, not supposed                               they called, they were
 24          A     As a matter of fact because         I remember       that.            24    female       ladies that do that, you know, to grope our


                                                                                    14                                                                                     16

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  1   breast.
  2         And I know a woman            not supposed       to see a man,
  3
      there were women around seeing men, so you know, on
  4   the -- on the scene.        I know        that for sure.
  5             Were --     was it women          that were      members    of
            Q
  6   the Tactical Team or correctional               officers?
  7         A   Yeah.      Women as correctional officers,
  8   members that was part of the Tactical Team, too.
  9
            Q   All right. During the Western shakedown,
 10   did   anyone   use    physical    force    on   you?   Did anyone hit
 11   you?

 12         A   I was pushed,      you know.          I was pushed,
 13
      brought out of line, pointed a finger in my face;
 14   things like that.
 15
            Q   Okay. No one ever hit you with the sticks?
 16         A   No. By the grace of God.
 17
            Q   Okay.
 18         A   There was a lot that obviously did it.
 19
            Q   Okay, but you          weren'   t one of them?      Okay,
 20
      thank you.     I' ve got nothing else.
 21                     End of interview)
 22

 23

 24



                                                                                 17


  1
            I, Audrey Marie Skaja, do hereby certify or
  2
      affirm that I have impartially transcribed the
  3
      foregoing from a digitally recorded statement of the
  4
      above- mentioned proceedings to the best of my,
  5

  6

  7

  8

  9

 10

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 24



                                                                                 18

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                 A                  10: 1                             Chicago                          5: 2 6: 3, 21 8: 10, 20                           G                 house
                                   bent                                1: 11                                 12: 10, 12 13: 14 15: 23                                       11: 10, 11 12: 12
A -l -i -v -i -n -z -s -t-                                                                                                               gallery
                                   9: 17 14: 10                       chow                             door                                                                housed
 3: 16                                                                                                                                    12: 5
                                   best                               4: 6 8: 21 9: 4 10: 20, 21       5: 7 6: 18, 19, 22                                                  2: 5, 16 3: 18
ability                                                                                                                                  gathering
                                    18: 4                                 11: 9 13: 15 14: 13          double -                                                            housing
 18: 4                                                                                                                                    3: 2
                                   better                             class                             8: 19                                                               13: 15
able                                                                                                                                     General
                                   2: 24                              2: 13, 14, 17, 18, 20            dropped                                                             humiliating
 7: 17                                                                                                                                    1: 9
                                   Big                                clothes                           15: 13                                                              11: 21, 22
above-     mentioned                                                                                                                     getting
                                   2: 6, 16 3: 11, 18                  6: 4 7: 10 12: 4                Duran                                                               hurricane
 18: 4                                                                                                                                    5: 7 8: 8 11: 3
                                   bit                                coat                             2: 1, 2                                                              12: 6
Absolutely                                                                                                                               give
                                   9: 24 10: 4                         9: 14                                                                                               hurt
 3: 13                                                                                                                                   3: 15
                                   blues                              cold                                            E                                                     12: 15
action                                                                                                                                   given
                                   6: 5, 5 7: 12 8: 16 14: 6, 7        9: 14 10: 11
 2: 13                                                                                                 eat                               4: 3
                                   borderline                         come
                                                                                                       4: 6                                                                                 I
                                                                                                                                         go
adding
                                   6: 23                               5: 4, 6, 7, 24 6: 8, 21                                                                             I -
                                                                                                                                                                             DOC
 15: 8                                                                                                 either                            6: 12 9: 19
                                   boxers                             coming                            13: 10, 11                                                         2: 8, 11 3: 3
adverse                                                                                                                                  God
                                   6: 6 7: 15                          5: 3                                                                                                I' m
 2: 20 3: 8                                                                                            else'   s                          17: 16
                                   break                              complaining                      9: 7, 21 10: 5                                                       2: 2, 3, 10 3: 9 5: 7, 11 8: 3
affirm                                                                                                                                   goes
                                    12: 1                              8: 22 12: 1                                                                                             8: 19 11: 8 12: 14
 18: 2                                                                                                 employees                         4: 22
                                   breast                             conducted
                                                                                                       2: 11
aggressive                                                                                                                               going                             I' ve
                                    17: 1                              16: 9                           endured                                                              17: 20
 5: 9                                                                                                                                    4: 17 5: 1 6: 2, 10 8: 4
                                   broke                              confusion
                                                                                                       4: 11                                                               Illinois
Ahhh                                                                                                                                     good
                                    12: 2                              16: 1                                                                                                1: 9, 11 2: 3, 6 13: 7, 20
 15: 8                                                                                                 erase                              10: 19
                                   brought                            consequences
                                                                                                        8: 12                                                                  16: 3
ain' t                                                                                                                                   grabbed
                                    17: 13                             3: 8
 11: 20                                                                                                everybody                          15: 7                            impartially
                                   Brown                              constantly                       4: 24 5: 6 15: 4                                                     18: 2
Alivinzston                                                                                                                              grace
                                    15: 10                             15: 3                                                                                               inaudible
 1: 5 3: 16                                                                                            exact                              17: 16
                                   bumping                            contact
allowed                                                                                                 11: 12 14: 20 16: 5              grope                              7: 18 9: 10, 16 15: 1
                                    11: 2                             2: 22 9: 8                       experience                                                          individuals
 7: 10, 11 8: 16 14: 6                                                                                                                    16: 24
                                   bunch                              content
                                                                                                       3: 2 12: 14                                                          2: 8
appeared                                                                                                                                 guess
                                   5: 6                                9: 9                                                                                                information
 16: 10                                                                                                explain                           6: 22 8: 24
                                   busted                             cops
                                                                                                       4: 18 10: 21 13: 6                                                   3: 2
arising                                                                                                                                  gums
                                    15: 13                             16: 22                                                                                              informed
 2: 8                                                                                                  exposed                           6: 13
                                   butt                               correctional
                                                                                                        16: 21                                                              16: 19
arm
                                                                                                                                         guy
                                    14: 2                             2: 7 3: 18 4: 13 12: 8 13: 7                                                                         inmate
 15: 7                                                                                                                                    15: 1, 13
                                                                          13: 21 16: 4 17: 6, 7                       F                                                     1: 6 3: 15, 17
arrived                                                                                                                                  guy' s
 11: 15                                             C                 cough
                                                                                                                                          9: 18 11: 13                     inmates
                                                                                                       face
                                   called
                                                                       6: 11, 12                                                                                            2: 5, 11 3: 5
asked                                                                                                   15: 13, 13 17: 13                guys
                                                                      course
 12: 24                             16: 23                                                                                               8: 21, 22, 24 9: 1 12: 1, 15      inside
                                                                                                       facility - wide
                                   can' t                             2: 22                                                                                                 6: 16, 23
asking                                                                                                 3: 21 4: 10 13: 1
                                   5: 18 6: 4 7: 7, 7 8: 3 9: 8       Crush                                                                                                interest
 15: 4                                                                                                 facing                                            H
                                         10: 23, 24 16: 14             5: 1                                                                                                 2: 20 14: 15
ass                                                                                                    7: 4, 5                           hair
                                                                      cuffed
 6: 10                             case
                                                                                                       fact                                                                interview
                                                                                                                                         6: 12
                                   2: 12 3: 3                          8: 17, 18, 18 11: 1                                                                                  1: 5 2: 4, 23 3: 6 17: 21
attention                                                                                               14: 24                           hall
                                                                      cuffs
 12: 21                            caused                                                              far                                                                 intimidating
                                                                                                                                         4: 6 8: 21 9: 4 10: 20, 21
                                    15: 24                             8: 22, 23 9: 1 11: 3 14: 3                                                                           12: 11
attorney                                                                                               9: 17, 18, 19 10: 1, 23                 11: 10 13: 15 14: 13
 1: 9 2: 3, 22                     cell
                                                                                                       feel                                                                it' s
                                                                                                                                         handcuffed
                                   4: 20 5: 10, 15, 23, 24                            D                                                                                     5: 1 6: 2, 23 9: 14 10: 11
attorneys                                                                                              6: 22                              11: 13 14: 9
 2: 19                                   6: 16, 16, 19, 19, 22, 23    D -e - o -n                      female                                                                  12: 15, 16, 16, 17, 18, 18
                                                                                                                                         handcuffs
AUDIO                                    6: 24 7: 3, 3 8: 7, 7 9: 4    3: 16                            16: 24                           4: 4
 1: 4                                    11: 10, 11, 16, 23, 23       Darrell                          filed                                                                                J
                                                                                                                                         hands
                                         12: 5, 5 13: 24 15: 10        15: 10
Audrey                                                                                                 2: 5                              9: 11                             James
 18: 1                                   15: 18, 21, 21, 23 16: 8     defend                           finger                                                               2: 1, 2
                                                                                                                                         happen
                                   cellmate                            3: 3                             17: 13                                                             joke
                                                                                                                                          11: 16
                 B                 6: 14 7: 1, 23 8: 11, 15           Defendants                       firm                                                                 15: 5
                                                                                                                                         happened
                                   cellmate' s                        2: 10, 21 3: 3                   2: 13                                                               judge
back                                                                                                                                     2: 24 3: 10 4: 21 5: 22
                                    15: 22                            demonstrate                      first                                                                2: 15, 17, 19
 4: 4 7: 10, 19 8: 7, 17, 18                                                                                                                   13: 20
                                   cells                               9: 24                           4: 10
      8: 19 9: 7, 12, 18, 21, 23                                                                                                         head
                                   5: 6, 14, 15, 16, 19, 21           demoralizing                     Floor
      10: 3, 5 11: 3, 13, 15, 23                                                                                                         4: 7 9: 7, 11, 12, 18, 20                          K
                                   Center                             4: 2 11: 21                       1: 10
      12: 5, 18 15: 18, 20                                                                                                                     10: 5, 22 11: 6, 13 14: 4
                                                                      Deon
                                                                                                                                                                           keeping
                                   3: 19 4: 14 13: 7, 21 16: 4                                         food
backs                                                                                                                                          14: 9, 20, 21                13: 13
                                   Centers                             1: 5 3: 16                       12: 2
 4: 7                                                                                                                                    heels                             kind
                                   2: 7                               didn' t                          force
bad                                                                                                                                      9: 5, 6                            9: 23 14: 14
                                   certain                             8: 13                            17: 10
 5: 1 12: 9, 9, 13, 18, 18                                                                                                               Hey                               kitchen
                                   2: 7, 11 5: 19                     digitally
balls                                                                                                  foregoing                         5: 7 6: 9 11: 4                   4: 6 13: 15 14: 13, 18
                                   certified                           18: 3                            18: 3
 6: 13                                                                                                                                   hit                                   15: 15, 16, 19, 20
                                   2: 15                              disciplinary                     forward
basically                                                                                                                                 10: 14, 17 17: 10, 15            know
                                   certifies                           3: 4 10: 15                      14: 4
 4: 8 6: 9                                                                                                                               hold                              4: 3, 22, 23 5: 4, 5, 8, 9, 14
                                   2: 18, 19                          disrespectful                    free
batons                                                                                                                                    10: 8                                5: 15, 19, 19 6: 1, 11, 12
                                   certify                             13: 18                          2: 22
 5: 4                                                                                                                                    hoping                                7: 6, 8 8: 4, 5, 6, 14, 20
                                    18: 1                             doing                            front
behalf                                                                                                                                   3: 9                                  8: 24 9: 2, 9, 20 10: 7, 9
                                   cheeks                              10: 6 13: 17, 17 16: 22         4: 1 6: 18 10: 9
 2: 10 3: 3                                                                                                                              hours                                 10: 10, 11, 12 11: 4, 18
                                   6: 12                              don' t
bend                                                                                                                                     4: 9                                  12: 3, 10, 12 13: 16, 17




                                                                                                                                                                                                            1


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      14: 3, 15 15: 21, 24         2: 17                             4: 2 9: 2 12: 16, 16, 18       raining                           seriously                         11: 20
      16: 11, 11, 17, 17, 18, 18   members                              15: 8                        9: 15, 16, 16 10: 11 13: 12       12: 17                          stop
      16: 19, 20, 24 17: 2, 3, 4    17: 5, 8                         pants                          Raise                             set                               10: 8, 8
      17: 12                       memory                            7: 13 14: 8                    6: 13                              4: 6                            stopped


                                   8: 13                             part                           Randolph                          shakedown                         10: 7
                 L                 men                                17: 8                          1: 10                             2: 4 3: 10, 21, 23 4: 1, 11     stopping
ladies                             5: 13, 16, 18, 20 16: 9, 15       participating                  read                                    4: 19 6: 2, 3, 15 11: 17    13: 16

 16: 24                                   17: 3                      3: 7                            16: 19                                 12: 8 13: 7, 21 17: 9      Street
                                   Menard                            penitentiary                   real                              shakedowns                        1: 10
laughing
 15: 4                             2: 6                              4: 23                          5: 1, 9 9: 18                      13: 2                           strip
law                                mess                              people
                                                                                                    really                            shaken                            5: 24 6: 10

 2: 12                              10: 10                           4: 2 5: 10 11: 2                4: 2 5: 11 8: 4 11: 18, 21        7: 2                            strip -
Lawrence                           middle                            phonetic                             12: 11                      shields                           7: 22

 2: 7                               12: 4                            2: 2 15: 10                    recall                             5: 4                            strip -search
lawsuit                            minutes                           physical                       3: 21, 23, 24                     shirt                             4: 19 6: 7, 8, 9, 17 8: 11

 2: 5, 13                           11: 8 15: 17                     9: 8 17: 10                    recorded                           6: 6 7: 13 14: 8                strip- searched
left                               missing                           physically                      18: 3                            shirts                            7: 9 8: 2, 8 13: 22 14: 2

 11: 9                             12: 2                              10: 14                        refuse                             7: 16                           stripped

                                   mixed                             place                          3: 8                              shoes                             4: 1
letting
 9: 2                               15: 23                            15: 2                         remain                             7: 17, 19, 20 8: 16 14: 6, 7    stuff


                                   move                              placed                          11: 5 15: 16                     shook                             12: 1 15: 22
liking
 8: 24                             4: 8                               14: 17, 19                    remember                           4: 5                            suffering
line                               Muddy                             Plaintiff' s                   3: 11 5: 14, 15, 18 7: 7, 7       shoulder                          12: 17, 18

 10: 8, 9 13: 13, 16 17: 13        2: 6, 16 3: 11, 18                2: 19                                8: 3, 10 11: 19 12: 7        12: 19, 19 15: 6, 6             supposed


                                                                     Plaintiffs                           14: 24 15: 1 16: 2, 15      show                              16: 22, 23 17: 2
literally
 9: 5                                               N                2: 12                                16: 16, 16                   9: 23                           sure


little                             naked                             playing                        removed                           showed                            5: 11, 19 8: 5, 19 11: 8

 9: 24 10: 4                       4: 1 6: 11 8: 5, 11 14: 2          13: 13, 16                     15: 4                             15: 2                                16: 17 17: 4
                                                                     please                         represented                       shut
locked                             name

 8: 20                             2: 2 3: 15                        3: 14                          2: 12, 18                          5: 8 6: 1 12: 10                                 T
                                                                     point                          respect                           sideways
Loevy                              named                                                                                                                               1-
 2: 13, 13                         2: 11                              10: 13 11: 2 16: 18           5: 2                               9: 23 10: 4                      7: 15
                                                                     pointed                        return
long                               nasty                                                                                              simultaneously                   table
 4: 4 11: 5, 20 13: 14 15: 3        6: 22                             17: 13                         11: 10                            8: 9                             10: 23, 23 11: 5 14: 21
                                                                     police                         returned                          sit
      15: 16                       nature                                                                                                                              tactical

longer                              12: 3                             15: 7 16: 21                   11: 11                            9: 2 10: 20, 21, 22              3: 1 17: 6, 8
                                                                                                    right
 13: 14                            never                             popping                                                          sitting                          take
look                                10: 17                            15: 6, 6                      6: 19 10: 6, 13, 19 11: 9          14: 18                           13: 14
 8: 4 10: 24, 24                   number
                                                                     position                             11: 15 12: 7, 19, 21, 24    Skaja                            taken
                                    1: 6 3: 15, 17                   3: 7 4: 9 15: 3                      13: 4 14: 17 15: 15          18: 1                            10: 20 13: 24 14: 12
looking
 7: 5 9: 8, 9                                                        potential                            17: 9                       slips
                                                                                                                                                                            15: 18
                                                                     2: 17                          River                              6: 2
loosening                                           0                                                                                                                  talk
 9: 1                                                                present                        2: 6, 6                           socks
                                                                                                                                                                        3: 9, 10 4: 8 12: 10, 12
                                   o -n

lot                                                                  5: 20                          room                               6: 6 7: 15
                                   3: 17                                                                                                                               talking
 4: 1 6: 21 8: 21, 22 11: 24                                         probably                       9: 6                              somebody                          4: 24 5: 9 10: 24 12: 1
                                   obviously
      12: 3, 9, 9, 9, 15, 16, 16                                     5: 18 15: 2                    run                                9: 13, 14, 21 15: 23                 13: 17
                                    8: 14 17: 18
      12: 16, 17 15: 24 16: 19                                       problems                        12: 12                           speaking                         Team
                                   occurred
      17: 18                                                          12: 19                        running                            2: 23                            17: 6, 8
                                   2: 4
                                                                     proceedings                     14: 15                           specifically                     tell
                                   offer
                                                                      18: 4                                                            5: 15 16: 15                     5: 24 6: 9 11: 7
                M                  3: 7
                                                                     professional                                      S              spell
                                                                                                                                                                       test
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                                                                 1        experience was.    I am gathering this information to
                                                                 2        defend the case on behalf of the Illinois Department
                                                                 3        of Corrections Defendants, but not for any

                       AUDIO TRANSCRIPTION                       4        disciplinary purpose against you or any other inmates.

                   Interview of Demond Barnes                    5            This interview is voluntary.    I am not in a

                      Inmate Number B40578                       6        position to offer you anything for participating and
                                                                 7        there will be no adverse consequences if you refuse to
                                                                 8        talk to me.   However, I’m hoping you are willing to
                                                                 9        talk to me about what happened during the shakedown at
                 Illinois Attorney General                       10       Menard in 2014; if you remember.   So is it okay if I
           100 West Randolph Street - 13th Floor                 11       ask you some questions?
                 Chicago, Illinois 60601                         12           A      Yes.
                      (312) 814-3695                             13           Q      Can you please state and spell your name for
                                                                 14       the record?
                                                                 15           A      My name is Demond, D-e-m-o-n-d; Barnes, B-a-
                                                                 16       r-n-e-s.   My number is B40578.
                                                                 17           Q      And where were you housed during April of
                                                                 18       2014?
                                                                 19           A      I was in the West House, 8 Gallery, Morning
                                                                 20       (phonetic) 15.
                                                                 21           Q      At Menard Correctional Center?
                                                                 22           A      At Menard Correctional Center.
                                                                 23           Q      Okay.   Do you recall a shakedown that
                                                                 24       happened that day?


                                                             1                                                                    3
 1    BY MR. JAMES DURAN:                                             1          A Yes.
 2        Q    My name is James Duran (phonetic) and I’m an           2          Q Can you explain what you remember? The
 3    attorney for the state of Illinois.   I’m here today to         3     first thing that happened concerning that shakedown?
 4    interview you about a shakedown that occurred in 2014.          4          A First thing you do -- well, the first thing
 5    A lawsuit has been filed by inmates that were housed            5     what happens is you hear them coming down the gallery
 6    at Menard, Illinois River, Big Muddy River and                  6     beating bars, they battalions against the bars. And
 7    Lawrence Correctional Centers against certain                   7     when they get to your cell, you know, you take -- you
 8    individuals working for I-DOC arising out of the                8     get up, come to the bars and your cellmate goes to the
 9    operation.                                                      9     back. They usually handcuff one, you go to the back.
 10       I’m here on behalf of the Defendants, the              10         And then they strip-search you.
 11   employees of the Illinois Department of Corrections.       11              Q Can you explain how the strip-search
 12   Certain inmates are the named Plaintiffs in this case      12         procedure happened on that day?
 13   and are represented by a law firm, Loevy & Loevy.    The   13              A Like I say, take off your clothes, give us
 14   lawsuit is a class action and at this stage, the class     14         clothes that you want wear out, the clothes that they
 15   has not yet been certified by the judge.                   15         told us to wear. In my case, I was in a striped
 16       Because you were housed at Menard, you are a           16         jumpsuit, so that’s all I could wear out at the cell
 17   potential class member, which means that if the judge      17         house. That’s what you had, so that’s what I gave
 18   certifies a class, you would be represented by             18         them.
 19   Plaintiff’s attorney.    If the judge certifies a class,   19              I strip-search, usual strip-search, you know,
 20   your interest could be adverse to the Defendants.          20         ears, in the back, bend over, all of that. And get
 21       You are of course, free to contact an attorney         21         dressed.
 22   before speaking to me.   But I would like to interview     22              Q Was that strip-search the same as you said,
 23   you to get a better understanding of what happened         23         the usual strip-search that they do every time?
 24   during the tactical operation, and what your               24              A When no one is crossed out. Usually it

                                                             2                                                                    4

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  1   wasn’t nothing too extreme of it and you know, bend       1   you know, I was a little bit heavier, you know, I was
  2   over, do spread your cheeks; just the usual.              2   232 pounds. So trying to bend over more with all the
  3       Q All right. And then did your cellmate have          3   heat so --
  4   the same type of strip-search?                            4       Q All right. Where were you walked to?
  5       A Yes.                                                5       A We walked to the chapel.
  6       Q And then after you were searched, you -- you        6       Q What happened when you arrived at the
  7   were allowed to put on some clothes?                      7   chapel?
  8       A Yeah, put on your clothes, then they                8       A When we arrived at the chapel, first line
  9   handcuff you. You go in the back and your cellmate        9   went in, had to put their head against the wall.
 10   gets strip-searched, then he be done, put his clothes    10   Second line had to come behind them. You had to put
 11   on and they put the handcuffs on you.                    11   your -- on the back of your, like basically, shoulder,
 12       Q Do you know what clothes you were allowed to       12   whatever. And that’s where you stood for the next two
 13   put back on?                                             13   hours.
 14       A My striped jumpsuit.                               14       Q Do you know how many inmates were in the
 15       Q All right. Did you have shoes, too?                15   chapel?
 16       A House shoes, no socks.                             16       A I know all the eight -- all the eight
 17       Q And then you were cuffed behind the back? Is       17   galleries. So it was 29 cells, like, I don't know,
 18   that what you were -- you were indicating?               18   probably about 30 or 40 guys. I can’t give you how
 19       A Yes, cuffed behind the back.                       19   many.
 20       Q All right, now what happened?                      20       Q Was this a shakedown of just your gallery or
 21       A Then after that you wait because then they         21   did they do the whole cell house?
 22   got to do the rest of the cells. And once of the         22       A They did the whole cell house.
 23   cells open, they open them all at one time so we don’t   23       Q So did they finish the lower galleries and
 24   just -- it’s not like one at a time. They open all       24   then they took all those guys out, put them in the

                                                          5                                                             7

  1   the doors at one time. Then you come out, CO gets         1   chapel, and sent them back? Or did they do the whole
  2   behind you and holds you, holds your handcuffs, then      2   cell house at once?
  3   the next CO, when my cellmate comes out, he’s behind      3       A No, no, they -- you know they did it in
  4   the officer and then they take you downstairs like        4   sections. They just couldn’t do one-by-one by
  5   that.                                                     5   everybody. They did gallery after gallery, do you
  6        Q Okay, so you are taken downstairs, held by         6   know what I’m saying?
  7   the cuffs from behind?                                    7       Q Okay. So the part of the shakedown that you
  8        A Yes.                                               8   were involved in was just when they did 8 Gallery?
  9        Q And then what happened when you got all the        9       A Yeah, 8 Gallery.
 10   way downstairs?                                          10       Q Do you know about what time they got to 8
 11        A Well then when you get downstairs, they put       11   Gallery?
 12   you in a line. So once you’re in line -- but as they     12       A I had -- they had to start at least in the
 13   tell you, you have to walk, with your hand -- you        13   morning time. It had to be like the morning because
 14   know, with your hands behind that, but you had to bend   14   you got about 7:00 or 8:00 o’clock in the morning.
 15   over. You had to keep your head down.                    15       Q Okay. Is that when they started at two or
 16        You couldn’t look up, period, at all. And then      16   did they start at the top?
 17   if you looked up, as we was walking, they tried to       17       A I don't know. They might be started --
 18   trip us, they slapped you in the back of the head.       18   because I think they did the other side the day before
 19   But they made sure to keep your head down.               19   and I think they was coming to get our side. They did
 20        Q Okay. And you made sure you kept your head        20   us, though, because, you know, stripers get the stripe
 21   down, right?                                             21   out of the way (phonetic), so I think that’s where
 22        A No, I got slapped behind the head, but I          22   they got us, like about that time.
 23   kept my head down for them, far. And if you raised it    23       Q Okay.
 24   up, I mean, just raising up trying to walk like that,    24       A Because you know, they like to get us out of

                                                          6                                                             8

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  1   the way, first.                                          1         I, Audrey Marie Skaja, do hereby certify or
  2       Q Okay. So you said when they -- they did            2    affirm that I have impartially transcribed the
  3   the other side the day before, was that the -- the       3    foregoing from a digitally recorded statement of the
  4   odd-numbered galleries?                                  4    above-mentioned proceedings to the best of my ability.
  5       A Yes, one --                                        5
  6       Q One, three, five, seven, nine? Okay. So            6
  7   they arrived there shortly after the 7:03 shift          7
  8   started?                                                 8
  9       A Right. Right after.                                9
 10       Q Okay. Do you know how long you had to              10
 11   remain in the chapel?                                    11
 12       A We was there for at least -- almost three          12
 13   hours. Were there almost three hours.                    13
 14       Q Were there any medical people around?              14
 15       A No. Nor was -- with the -- you know, they          15
 16   supposed to have the cameras? Normally, they invite      16
 17   our families.                                            17
 18       Q No, nobody video-taped anything. Do you            18
 19   remember anything else about that shakedown?             19
 20       A Well, the only thing that I remember, like I       20
 21   said, is the fact that you know other than standing up   21
 22   against that wall for two hours with your hands behind   22
 23   your back, guys was falling out.                         23
 24       They wasn’t -- they was making them get back up,     24


                                                          9                                                           11

  1   like man, there is nothing wrong with you. You
  2   standing there, that’s a long time, man, with your
  3   hands behind your back.
  4       Q Did they call medical for the guys that fell
  5   out?
  6       A No. They told them to get back up, ain’t
  7   nothing wrong with you.
  8       Q Okay. All right, thank you very much.
  9       A All right.
 10                (End of interview)
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                                                                  1        before speaking to me.   But I would like to interview
                                                                  2        you to get a better understanding of what happened
                                                                  3        during the tactical operation, and what your

                     AUDIO TRANSCRIPTION                          4        experience was.    I am gathering this information to

               Interview of Thomas Bartholomew                    5        defend the case on behalf of I-DOC Defendants, but not

                   Inmate Number 11B73502                         6        for any disciplinary purpose against you or any other
                                                                  7        inmates.
                                                                  8            This interview is voluntary.    I am not in a
                                                                  9        position to offer you anything for participating and
                 Illinois Attorney General                        10       there will be no adverse consequences if you refuse to
           100 West Randolph Street - 13th Floor                  11       talk to me.   However, I’m hoping you will be willing
                 Chicago, Illinois 60601                          12       to talk to me about what happened during the shakedown
                      (312) 814-3695                              13       in 2014; if you remember.   So is it okay if we ask you
                                                                  14       some questions?
                                                                  15           A      Sure.
                                                                  16           Q      All right.   Sir, would you state for the --
                                                                  17       for the record?
                                                                  18           A      My name is Thomas Bartholomew.
                                                                  19           Q      Okay.   Do you have an I-DOC number?
                                                                  20           A      Yes, it is 11B73502.
                                                                  21           Q      All right.   Now, we were talking a minute
                                                                  22       ago and I believe it’s correct that you were housed at
                                                                  23       Menard in 2014; is that right?
                                                                  24           A      Yes.


                                                              1                                                                    3
 1    BY MS. SUZANNA PRICE:                                            1         Q And in April 2014, do you remember where you
 2        Q    All right, let’s start.    Okay there, Mr.              2     were housed in Menard?
 3    Bartholomew, I’m Suzanna Price (phonetic) and I’m here           3         A Yes, I was -- I was on D Wing, Cell 80;
 4    with Jason Wegan (phonetic) and we’re attorneys for              4     excuse me, Cell 78.
 5    the state of Illinois.    We’re here today to interview          5         Q Now is that my understanding, correct,
 6    you about a shakedown that occurred in 2014.                     6     that’s on the hill at MSU?
 7         A lawsuit has been filed by inmates that were               7         A Yes, that would be the medium security unit.
 8    housed at Menard, Illinois River, Big Muddy River                8         Q All right. Now, were talking about the -- a
 9    Correctional Center and Lawrence Correctional Centers            9     shakedown that occurred with the Tactical Team in
 10   against certain individuals working for I-DOC arising       10         April 2014; do you remember that operation?
 11   out of the operation.                                       11             A Yes, I do, partially. Yes, I do.
 12       I’m here on behalf of the Defendants, the               12             Q Partially, all right. Well then I will just
 13   employees of the I-DOC.   Certain inmates are named         13         ask you some questions. What do you remember first
 14   Plaintiffs in this case and are represented by a law        14         about that day, how it started?
 15   firm, Loevy & Loevy.    The lawsuit is a class action       15             A Well, I maintain the short sum- up, but I
 16   and at this stage, the class has not yet been               16         guess you are going to ask me some specific questions.
 17   certified by the judge.                                     17         They -- there were probably 30, 40 officers that came
 18       Because you were housed at Menard in 2014, you          18         on the -- on the deck. They came about two to a cell.
 19   are a potential class member, which means that if the       19             And they basically had us take off the majority
 20   judge certifies the class, you would be represented by      20         of our clothes within our cell, our shirts and pants
 21   Plaintiff’s attorneys.    If the judge certifies the        21         and shoes and socks. They had us walk with underwear
 22   class, your interest could be adverse to that of the        22         over to the gym.
 23   Defendants.                                                 23             They also came in the cell, moved a few things
 24       You are of course, free to contact an attorney          24         around, was at first and then they had us, you know,

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  1   like I say, undress. And then they kind of hurried us     1   to do like some talking, you know, without getting
  2   all over to the -- to the gym and the chapel where        2   reprimanded by staff, you know, to say “shut up” or
  3   they had us all stand against the wall. And among         3   whatnot, right. Of course they did a lot of that you
  4   different orders from time to time here we had had to     4   know because once people feel they ought to be able to
  5   stand shoulder-to-shoulder, arm-to-arm, real close.       5   talk, communicate, they was one more quiet and
  6   They made sure we got real close.                         6   everything.
  7       They were saying basically, no elbow room, you        7       I mean we just -- you know part of the trouble
  8   know. Facing the wall. We kind of stood in certain        8   for what reason anyway? Because everybody in the gym
  9   areas a couple of hours, you know, until maybe there      9   in compliance with their nose against the wall,
 10   was so many of us in time as far as a further            10   basically, you know?
 11   shakedown cavity searches, et cetera.                    11       Q Okay. So it’s my understanding you were
 12       Of course there was a lot of -- a lot of staff.      12   strip-searched at some point in the day, right?
 13   Officers, sergeants, you know. Some inmates knew         13       A Yes.
 14   some. Some didn’t anyway, so some recognized voices      14       Q Okay. Tell me when you were strip-searched?
 15   and you know with mumbling a little bit and who was      15       A Technically knowing what you mean by strip-
 16   who and what was what since they thought they were       16   search, it seem like it was -- like through the whole
 17   getting injustice, you know to a degree.                 17   day, I mean, we took clothes off in the cell. They
 18       And some people was just trying to comply and        18   walked us over to the gym. They walked us outside
 19   trying to hit all orders and things that were said       19   with boxers on. Boxer underwear.
 20   here and there. They moved us, like I say, sometimes     20       Q Just boxers?
 21   from room-to-room. They -- they didn’t seem to have a    21       A Some -- some individual they, you know,
 22   lot of order at time.                                    22   wearing compliance. So some -- a few guys had some t-
 23       They would shake some down in the -- in the gym.     23   shirts on, no one’s didn’t, right. I guess maybe some
 24   And I saw once that one of the staff members that was    24   of the officers didn’t know fully how they should

                                                          5                                                                  7

  1   -- kind of, I guess disappeared, you know, didn’t want   1    probably even, you know, be doing their job. Quite a
  2   them to be done in the gym. So they got one line in      2    bit was new to the shakedown. I don't know. Some had
  3   the gym and then that line, I guess they wind up doing   3    t-shirts on. The majority had t-shirts on, t-shirts
  4   again because they were like the last line. They         4    and boxers.
  5   shouldn’t of been shook down in the gym. They wind up    5       No socks, bare-footed, you know. We got over to
  6   shaking a couple of lines ahead of them down in the      6    the gym. Like I said they -- they kept -- they kept a
  7   chapel.                                                  7    lot of us over there a couple of hours. You know,
  8       As we all got back we found out that the last        8    standing. Standing, no sitting.
  9   line, they shook them down again within the chapel.      9       We had to stand and we were basically in the long
 10   It was in the gym also they had us take down boxers,     10   haul balancing one another up, leaning on one another,
 11   whatnot, just to see if anybody carried anything over    11   you know. We were waiting because we were that close.
 12   again, pulled them back up.                              12   Of course I personally thought that was you know,
 13       We went in the chapel where they again had us        13   unnecessary. And you know --
 14   take everything off, you know. Had us turn around,       14      Q    Standing next to each other on the wall?
 15   bend over, do cavity looks and whatnot. And it was a     15      A    Nasty. We were able to see ones another and
 16   problem. They found out that there was some female       16   we had several officers you know, staff, being able to
 17   staff, you know, during these shakedowns, too, you       17   see all of us. You know, almost, you know, not in
 18   know, that one’s heard voices and whatnot in the --      18   full equivalence, but I mean you got 20 officers
 19   you know, them talking with their constituents, right,   19   looking at 20 to 40 inmates, you know.
 20   and these things.                                        20      Q    What do you mean when you say that?
 21       Q Let me ask you that. You said something            21      A    Well, we all standing up there, then. Like
 22   about female staff. When did you find out there were     22   I say with our boxers on and whatnot. When they moved
 23   females there?                                           23   us around to the chapel area, which they put us all in
 24       A During -- during shakedowns. We were able          24   all four corners of the chapel, also.

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  1       Like I said, they had -- then they had us take        1   -- while I was still in there, too. They -- I can’t
  2   off everything while they do the strip-search. Behind     2   really if it was right then or they herded out, like
  3   our ears, in our mouth, under our tongue, lift up our     3   half the guys was on the wall with me. They didn’t
  4   front scrotum and whatnot. Turn around, you know --       4   take us because that half kept on with some guys that
  5       Q So you are strip-searched in when -- you            5   already left out.
  6   start at the top and worked your way down your body?      6        They brought some more in, so instead of us
  7       A Overall, I guess they did. They do it               7   leaving out, too, we waited until they got done. And
  8   overall, yeah. So depending on who was doing what, he     8   this was with one particular guy so they -- you know
  9   would say -- each one would instruct different, you       9   like I say, seem like they had to get a little bit,
 10   know.                                                    10   you know, like it was sarcasm and -- and jokes about
 11       But you know, you may have three sets of officers    11   it, you know.
 12   doing 20 guys this way on this wall, you know. Like I    12        Q Sarcasm and jokes about what?
 13   say, it was -- it was shoulder-to-shoulder, you know,    13        A You know like having -- you know doing this
 14   it was a bunch of us. It looked like a gang of           14   cavity search twice and you know little stuff like
 15   roaches or something; insects.                           15   saying, “You know, I didn’t see it.” And the inmates
 16       They was times I was together, sad to say. I saw     16   saying, “You know, I did. You know, you just saw me.
 17   what I -- you know, and I don't know. I guess I could    17   I lifted them up.”
 18   just say unnecessary. I don't really know to say         18        So I remember a situation where the officers like
 19   “injustice” because I didn’t know anything legally       19   -- so -- so -- so one officer says to him, “You saying
 20   about it, right up. It just seemed so -- like I said,    20   he’s lying? He say he didn’t see it.” You know the
 21   they being real stern and firm with things and giving    21   other officer didn’t see it. So you’re saying he
 22   orders.                                                  22   lying? Well, he said, “Watch out, I’ll give you the
 23       You know, one guy or two, you know they would        23   order.”
 24   bend back over, you know, spread the butt cheeks         24        And the guy did, of course, write -- we were just

                                                          9                                                            11

  1   again. I didn’t see or something, just to be doing        1   -- I’m sure those who nasty and compliance over there,
  2   something. Make a little for, here and there, you         2   everybody is just one-on-one, just get it over with.
  3   know -- you know.                                         3   But seemed like the process was getting various or --
  4       Q Do you particularly remember any specific           4   or if it was getting adverse or anything, it was just
  5   interactions that you had with staff?                     5   because of the staff.
  6       A Pertaining to the shakedown itself?                 6        I mean, it was because they was instructed and
  7       A Yes.                                                7   how they were instructed and you know, like I said
  8       Q I tried to comply with all the -- that did          8   that guy, he had the -- he had to bend over twice, and
  9   take place in the -- and of course I did. It was --       9   that wouldn’t have been right. So you know --
 10   it was a bend over. I had -- I had one instant where     10        Q Do you remember what orders you were given
 11   it was like one officer started me and it was like the   11   that day other than to -- you mentioned “bend over”?
 12   other officer finished me, right.                        12        A It’s been -- you know, I guess --
 13       But they both was right there, so I basically was    13        Q A couple of years, yes.
 14   getting instructed by both of them. So I was kind of     14        A Fortunately and unfortunately, it has been
 15   like which move to make. I mean, you want the            15   several years. And I am older, too, I’m almost 50 and
 16   (inaudible 00:10:06)?                                    16   it doesn’t look like it.
 17       You want you know, the -- and at that point, I       17        Q No, it doesn’t look like it.
 18   was curious if -- if a voice I caught, only glass on     18        A I am getting up there. I don't want to say
 19   the other side of the door. It was a female, which it    19   something I didn’t want to for getting right, but it
 20   wind up being, right. And I was just curious of it,      20   was just I must say, I’m so glad to be out of Menard.
 21   but I didn’t really think -- like they coming to us,     21        I could really break down in tears right now, it
 22   right.                                                   22   was -- it was adverse down there, it really was. I
 23       That was -- like I say, I bent over, but I did       23   don't know, I don't want to ramble on. But if you can
 24   have a couple of inmates next to me here or there that   24   ask me some questions, maybe --

                                                         10                                                            12

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  1       Q But do you remember any other orders you                 1   live in the United States. I mean, I just, you know
  2   were given that day?                                           2   we are all familiar with. So I basically saw who wa
  3       A I can recall a couple of (inaudible                      3   on the job and I thought maybe when it came to these
  4   00:13:00) with staff, with some other inmates that was         4   type of shakedowns and whatnot, right. And these were
  5   right there, lined with me. But I can’t remember, I            5   Orange Crush type of shakedowns.
  6   remember one guy, they -- he kind of decided to take           6       Q When you say “Orange Crush” you mean the
  7   his stuff on and off. He’s like, this inmate, he was           7   Tactical Team?
  8   kind of like I’m over here for a shakedown anyway.             8       A Yeah, they wearing their tactical wear.
  9       He was under the impression that he could take             9   Like I say, and they were -- they were also rough
 10   his stuff off then. He did take -- take his stuff of,         10   stuff. Like I say, they were rough with my -- with my
 11   right. Instead of them really having him put it back          11   cellmate.
 12   on, they yanked him out of the line, they took him            12       Q You mentioned your cellmate got verbal?
 13   totally out of the gym.                                       13       A Yeah. He wasn’t -- like I say, he wasn’t
 14       Everybody was wondering what went on with this            14   really lectured against. He really was asking, you
 15   guy; what happened to him, you know.                          15   know, was their abruptness necessary? You know,
 16       Q You mean when he took his stuff off, you                16   surely they were there to do a job, is what I knew, so
 17   mean his clothing?                                            17   that’s why I was trying to get him to realize it.
 18       A Yeah.                                                   18       We just -- we just want to let them do the job,
 19       Q Okay.                                                   19   you know. I figured that way they would do nothing to
 20       A He took -- he took the boxers on down and               20   be working all over it. It happened, get it over
 21   whatnot, right. And he was giving the impression that         21   with. So we weren’t really sure when they all came in
 22   once you got on the wall, you know, the shakedown was         22   the cell house what all they were going to do.
 23   going here. There was like a rookie officer, you              23       Most time they shake our cells down, you know,
 24   could tell. You know this guy was rookie. He was              24   for little items. Bleach and different little things,

                                                               13                                                           15

  1   acting -- was going down here. I think he -- he                1   you know, see what they -- I guess some people keep
  2   misled this inmate, right. And this guy was one guy            2   knives and stuff like that, I mean. But up there,
  3   and it just seemed like he wanted to get it over with.         3   they -- you know they wouldn't. But --
  4      But the minute somebody saw he had -- took his              4       Q “Up there” you mean MSU?
  5   boxers down, took his shirt on off. They took him on           5       A Yeah, yeah.
  6   and out of the gym. So we never knew what even                 6       Q The medium security?
  7   happened with the guy. He probably was adverse.                7       A Yes, yes at the medium security unit. But
  8      Q    Okay. Do you remember about how long you               8   they -- they wind up getting a little rough, you know,
  9   spent in the gym?                                              9   they had us take things off. We thought we were
 10      A    The gym -- the gym itself, between the gym,           10   putting them back on, of course. And he was slow
 11   before going into the chapel, oh, like I say, probably        11   about his socks, I believe it was or something, right.
 12   -- probably close to two hours, if you would. Two             12   And I asked him to stay in compliance with them.
 13   hours, right. And we also put a good, you know, close         13       Like we -- we came out of the cell. They kind of
 14   to maybe a half-hour, 20 or 25 minutes, you know, on          14   roughed him up and whatnot, right there. They never
 15   the chapel part.                                              15   stopped me from trying to persuade him to let them do
 16      You were able to put less in the chapel then in            16   their job.
 17   the gym. But they kept the gym full. They kept a              17       And he never said no more after they roughed him
 18   rotation going. The only thing I -- I know for sure           18   up the second time and everything, had to take him to
 19   and I thought maybe -- I mean, I am a man. That was,          19   the ground and everything, put him to the wall. And
 20   like I say, females officers.                                 20   after that we went over to the -- like I say, to the
 21      I didn’t ever know her or you know I just -- I             21   gym. It’s all there. It’s like somebody like remind
 22   would thing that with a shakedown, I've always just           22   you that this here happened.
 23   known men to pat me down, anyway. They say, “women            23       Or because like I say the gentleman they took
 24   for women.” I mean just for what I am conscious of, I         24   out, they took all clothes off of, that happened like

                                                               14                                                           16

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  1   first. You know, like I say --                           1   handcuff situation because I mean I am no pro at this
  2        Q No, that’s fine. Do you have any medical          2   to me -- I wasn’t prone to just being able to complain
  3   permits like for your wrists or shoulders or anything    3   against them because I want to put some things behind,
  4   like that?                                               4   too.
  5        A At the time -- at the time, my -- my back         5       You know, I’m not really into going against the
  6   was bothering me at the time.                            6   staff. They got pay taxes, you know. I’m for this
  7        Q But medical permits? Do you have any of           7   (inaudible 00:19:45) with them, I mean, because they
  8   those?                                                   8   got to go to a job, you know. I should go to prison,
  9        A For lower bunk. You mean like because of --       9   you know. But --
 10   because of the injury and whatnot, yeah. I have a       10       Q And so it is my understanding, correct, what
 11   possible seizure because of my subdural hematoma,       11   you just told me sir, that you’ve had -- there had
 12   right, going in, so I keep a lower bunk.                12   been a couple of times you were shaken down at Menard
 13        Q At the time?                                     13   and you -- you --
 14        A Yeah, yeah, yeah. And I was -- I was seeing      14       A Yeah, I've had rough handcuffs, really,
 15   a doctor every day. I was having lower back --          15   really hurting to where I am seeing that the -- the
 16        Q Any issues with hand -- your wrists?             16   (inaudible 00:20:07). You have the guy, too, with his
 17        A Well, naturally, I mean it was -- I could        17   cuffs. But then he said he ain’t doing no more.
 18   say similar to some -- you know some pinching, a lot.   18       And I’m sitting up there, man, like I ain’t
 19   You know like carpal tunnel type of thing as far from   19   saying -- right, I mean, they killing me. You know, I
 20   the cuffs being very, very tight and they extend you.   20   took you know, scars for a long period of time. I
 21   Not just tight, but just how they rough they embrace    21   mean I think I've even tried to clear march through
 22   them, putting them on quick. I mean --                  22   the years, you know, just why -- why use lotions and
 23        Q What do mean, got (inaudible 00:18:23)?          23   everything, you know?
 24        A (Inaudible 00:18:23). I've been front and        24       Q The -- the time that you were shaken down in

                                                        17                                                            19

  1   back, tell me. But at that time, that shakedown, we      1   the pit, I think you were saying you were also shaken
  2   were handcuffed in the back. Like I say, a couple of     2   down in the pit in the maximum security?
  3   hours, a long period of time. I think surely for         3       A Yes.
  4   something that we were just standing. You know, no       4       Q Do you recall whether that shakedown
  5   orders given. You know, standing.                        5   occurred before or after the time you were shaken in
  6       It was like they was just having time spans in       6   the MSU in April 2014?
  7   increments or something, you know. Just keeping us       7       A You know what, that was the ones after the
  8   there before they took us back. But yeah, I have had     8   MSU. That one was after the MSU.
  9   the handcuff situation.                                  9       Q Do you recall about when it was?
 10       Q So while you were in -- in the gym or the         10       A That one was -- that one would be -- that
 11   chapel, is it your understanding that the cells were    11   was the end -- that was at the end of March, first of
 12   shaken down? That’s when they went through your         12   April of 2016. I think I left there the 27th for
 13   cells?                                                  13   court.
 14       A Yeah, yeah, they did go through them. They        14       Q Okay.
 15   did go through them. And as I say, I know -- like I     15       A And me and John Dinibe (phonetic) were
 16   say, I was in the -- in the pit, also. I was in the     16   cellmates.
 17   chapel and in the pit, too.                             17       Q So in the second shakedown when you were in
 18       Q What do you mean by that? You mean in a           18   the pit, you mentioned that you felt similarly or
 19   different shakedown?                                    19   couldn't recall the handcuffs issue, which one was
 20       A In the max. In the max facility.                  20   attached to which shakedown.
 21       Q And then during the --                            21       A Actually, all of them was always. They
 22       A In the max and in the medium. So I know you       22   never -- when they came -- when Orange Crush come in,
 23   were talking you know about what transpired at the      23   they never come in and put their -- put their
 24   MSU. I kind of get a little when I think about the      24   handcuffs on until -- if they have a standard link.

                                                        18                                                            20

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  1   Which I don't know what it’s called, but their           1        A I can’t really say. I was trying to push
  2   standard link that I have been arrested from the         2    on. I felt it. We were in -- we had a hallway to
  3   police officer is then I've had handcuffs put on me by   3    come through, we come through another hallway, you
  4   law enforcement of some sort.                            4    know, coming into the gym area. I mean, I've been
  5        And whenever Orange Crush put them on, they never   5    through quite -- quite a bit in I-DOC, so I know the
  6   stop at any particular link. They squeeze them on,       6    thing is probably trying you know, get along and obey,
  7   all the way on. It’s just period, whether they are       7    you know. Don’t break any rules.
  8   rookie officers, correctional officers. When they --     8        And that -- that would be to go. And that there,
  9   they on that tactical team, bam, they put everything     9    I didn’t fully know how they were doing or what it was
 10   on.                                                      10   about. So I was sure in compliance, witnessing some
 11        Everything is on tight, period. You know,           11   things. Like I say, some (inaudible 00:24:31), you
 12   whether you twisted elbow, or whatever, whatever. A      12   know to recall.
 13   wrist, whatever going on, you are going to have to       13       Q Do you recall any medical staff being
 14   endure whatever scrape, pain, whatever go through        14   present?
 15   right now. That’s always, that’s all I ever say to my    15       A None.
 16   history of deals, (inaudible 00:22:28).                  16       Q None.
 17        Q Okay.                                             17       A None. It was majority male officers,
 18        A Yeah, they do that. I mean, I don't want to       18   majority. But male and female officers, a couple of
 19   say anything that -- you know, my goal is not just       19   sergeants that we were really not in all the scope of
 20   being against them, you know. I may have had an          20   things, couldn’t turn around or whatever.
 21   injustice. I am no lawyer or anything.                   21       We were not to turn around, so just in the
 22        I don't want to say they beat me up or they did,    22   process of coming in before we really got put on
 23   it’s not about lies. They were rough. They were          23   walls, we could see, like I said different inmates,
 24   rough with cuffs. They were rough with holding guys      24   you know different staff.

                                                         21                                                            23

  1   by the arm, you know, pushing guys, you know had their   1        Q Uh-hum.
  2   right.                                                   2        A Is what the officers or sergeant will tell
  3       Q Let me ask you that. So in the April 2014          3    you. And we could tell a lot of different in there
  4   shakedown, you mentioned that they were always rough     4    and you could tell who was who and like I say.
  5   with handcuffs. Were they -- did anyone physically       5        Q You could --
  6   touch you other than that?                               6        A So that’s how it here. You hear somebody
  7       A Just -- officers just -- I’d use the term, I       7    say, “Well, that’s (inaudible 00:25:12), Sergeant so-
  8   guess, “hurting”. It seemed like we all went down.       8    and-so.” And then that’s the officers are hearing
  9   You know, they pushed one along sometime, you know       9    this and at this time we ain’t just, you know, shut-up
 10   what happened, right, as if once you can’t walk, you     10   fool. It’s just a you know, keep it down.
 11   know.                                                    11       And then once they put us all up on the wall, you
 12       Q You to you? That happened to you?                  12   know like I said, they don’t want nobody saying
 13       A Oh yeah, I was touched. Oh yeah, I was             13   anything. Everybody is standing shoulder-to-shoulder,
 14   touched.                                                 14   arm-to-arm, you know, in handcuffs.
 15       Q With the hand?                                     15       Q Did you -- was it my understanding that you
 16       A No doubt, yeah. No doubt, no doubt. They           16   said that some people -- some of the staff could be
 17   had on all their gloves and had their stick in the       17   identified?
 18   other hand, you know, and mighty fact. In one stance,    18       A Yeah, but not -- not as if they didn’t have
 19   I got a stick pushed in my lower back after another      19   on their tactical wear or whatever. Their voices were
 20   guy had a stick pushed in him.                           20   very familiar to a lot of inmates because they, you
 21       And I am looking, I ain’t think they testing me      21   know, socialize, fraternize; you know, they all had to
 22   because I am going right on behind him, but he helped    22   be pulled. (Inaudible 00:25:55) was a lot of inmates.
 23   push me on.                                              23   So -- and some individuals met at MSU, you know as
 24       Q Did it hurt really badly?                          24   well as the maximum. Periods of time, over periods of

                                                         22                                                            24

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  1   time.                                                    1         I, Audrey Marie Skaja, do hereby certify or
  2       Q Do you remember anything that staff said,          2    affirm that I have impartially transcribed the
  3   any specific thing that they said to you during the      3    foregoing from a digitally recorded statement of the
  4   April 2014 shakedown at MSU?                             4    above-mentioned proceedings to the best of my ability.
  5       A To myself as far as being disrespectful or         5
  6   whatnot, I can’t -- I cannot say. I just remember        6
  7   like I say it was a lot of them in line. And you         7
  8   would pick -- if it was 20 of us in line, it’s 60 of     8
  9   them standing right behind us giving all of us orders.   9
 10       So if once you like -- say you turn around and       10
 11   you look at them. I got him giving an order. I got       11
 12   you give an order and both or you are in front of me,    12
 13   right? And it’s -- it’s got like you say, a one-man      13
 14   job or something you could say, right?                   14
 15       But -- so once they lift our scrotum and do this,    15
 16   then you might say the same thing again. You know,       16
 17   like I say it was individual (inaudible 00:27:06).       17
 18   They tell them, you know, bend over and see your         18
 19   scrotum, again. You know, and it was -- it was verbal    19
 20   stuff said.                                              20
 21       You know, boy that’s a big one there. And this       21
 22   or that, you know, like I say, sarcasm and you know      22
 23   unnecessary humor. I guess -- I guess that’s what        23
 24   they want to call it right out. But I’m sure it was      24


                                                         25                                                           27

  1   humiliating to some of these individuals, you know.
  2   Like I say, it’s all kind of fact.
  3       I did experience it. Like I say, it was some are
  4   not fully registered, anyway. Some things may come
  5   out, like you all do by asking questions. You know, I
  6   don't know how, you know, how benefitting I will be.
  7       Q You’ve done great. And actually, I don't
  8   have any more questions for you.
  9       A Okay, yeah, I don’t want to ramble no more.
 10       Q No, you were just fine.
 11       A It’s just unfortunate anyway, right, and
 12   people make mistakes. These officers, whomever, you
 13   know. These inmates, they make mistakes, too, and
 14   you’re patient. And that’s just how it is.
 15       I guess that’s why this transpired, so that we
 16   can get justice, I guess, and try to equate things.
 17   But I don't know if the things I did say that they
 18   could be helpful, anyway. I guess maybe you took
 19   quite a few notes.
 20       Q Uh-hum.
 21       A Other than you know, tape recorder. So I
 22   just hope I am helpful, anyway.
 23       Q You are very helpful.
 24                  (End of interview)

                                                         26

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                                                                  1        happened during the tactical operation, and what your
                                                                  2        experience was.    I am gathering this information to
                                                                  3        defend the case on behalf of I-DOC Defendants, but not

                        AUDIO TRANSCRIPTION                       4        for any disciplinary purposes against you or any other

                     Interview of Ollie Boose                     5        inmates.

                       Inmate Number 893601                       6            This interview is voluntary.    I am not in a
                                                                  7        position to offer you anything for participating and
                                                                  8        there will be no adverse consequences if you refuse to
                                                                  9        talk to me.   However, I’m hoping you will talk to me
                 Illinois Attorney General                        10       about what happened during the shakedown at Menard
           100 West Randolph Street - 13th Floor                  11       2014; if you remember.   So is it okay if I ask you
                 Chicago, Illinois 60601                          12       some questions today?
                      (312) 814-3695                              13           A      Yes, sir.
                                                                  14           Q      Okay, can you state and spell your name for
                                                                  15       the record?
                                                                  16           A      Ollie Boose, O-l-l-i-e B-o-o-s-e.   Number,
                                                                  17       ID number 893601.
                                                                  18           Q      Okay.   And do you remember the shakedown
                                                                  19       that occurred at Menard in 2014?
                                                                  20           A      Yes, I do.
                                                                  21           Q      What do you remember about the shakedown?
                                                                  22           A      I remember waking up to a lot of noise,
                                                                  23       hearing the bars slam, said it was a shakedown.     They
                                                                  24       was banging against the bars with the (inaudible


                                                              1                                                                     3
 1    BY MR. JAMES DURAN:                                              1     00:02:01) and we had to get up. They told us to stand
 2        Q       All right, for the record, my name is James          2     up in front of the door and strip-searched us. We had
 3    Duran (phonetic) and I’m an attorney for the state of            3     to be strip-searched.
 4    Illinois.   I’m here today to interview you about a              4         We come out, with handcuffs we come out, had to
 5    shakedown that occurred in 2014.   A lawsuit has been            5     have your head down. They marched you us all the way
 6    filed by inmates that were housed at Menard, Illinois            6     over to the chapel. If your head raises up, you will
 7    River, Big Muddy River and Lawrence Correctional                 7     get beat. They will beat you down or trip you anytime
 8    Centers against certain individuals working for I-DOC            8     your head up; get your head down.
 9    arising out of the operation.                                    9         Once we got over to the chapel, we had to have
 10       I’m here on behalf of the Defendants, the               10         our heads touch the wall. If you had to use the
 11   employees of the I-DOC.   Certain inmates are the named     11         bathroom, you would have to suffer or you use it on
 12   Plaintiffs in this case and are represented by a law        12         yourself until they tell you that you can go. And
 13   firm, Loevy & Loevy.   This lawsuit is a class action       13         certain studs had used the bathroom and as they
 14   and at this stage, the class has not yet been               14         searched us it was falling out.
 15   certified by the judge.                                     15             And if you did complain, you still would get
 16       Because you were housed at Menard, you are a            16         beaten. Like those the days I have, those stand out
 17   potential class member, which means that if the judge       17         when I was at Menard.
 18   certifies a class, you would be represented by              18             Q Okay. I want to start at the beginning.
 19   Plaintiff’s attorneys.    If the judge certifies a          19         You said you were strip-searched. Did that happen in
 20   class, your interest could be adverse to the                20         your cell?
 21   Defendants.                                                 21             A Yeah, they just strip-searched us before we
 22       You are of course, free to contact an attorney          22         come out.
 23   before speaking to me.    But I would like to interview     23             Q Do you know who strip-searched you?
 24   you in order to get a better understanding of what          24             A I couldn't tell you who strip-search because

                                                              2                                                                     4

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  1   they don’t want -- most of them have helmets on. So       1   after you were strip-searched, you put your clothes
  2   once you get strip-searched, the two officers that        2   back on?
  3   strip-search, one’s got the helmet, you got strip-        3       A Yeah, yeah, yeah. But some -- not to allow
  4   searched, the other two, you don’t see no face. They      4   your shoes. They make you put your house shoes on,
  5   only thing they got that you see is orange and black.     5   you can’t put no boots.
  6       Q Were they men or women that strip-searched          6       Q Okay.
  7   you?                                                      7       A Your shower shoes, you got to walk over
  8       A I can’t tell you the truth, I can’t tell if         8   there with your shower shoes, no socks on.
  9   it was a male or -- they just was all they got was        9       Q Okay. So all your clothes, but no socks and
 10   orange and black. I can’t remember if they were man      10   -- and your shower shoes?
 11   or a woman, it was so many of them.                      11       A Yeah, yeah, your shower shoes. Yeah, your
 12       Q Okay.                                              12   shower shoes. You ain’t going -- you can’t wear no
 13       A Yeah, I know a woman’s in there, but I can’t       13   boots or no gym shoes over there. Nothing but your
 14   -- do you know what I’m saying? I can’t tell you,        14   bare foot.
 15   identify who removed the face, who really you know       15       Q And were you cuffed? Were you cuffed in the
 16   strip-searched me and everything. They got the           16   front or in the back?
 17   helmets on them, so you can barely really see their      17       A In back. In the back. They want to be
 18   face.                                                    18   holding you in the back. Had to have your head down
 19       Q Do you know the names of any of the                19   while you be going down. He walks you down the aisle.
 20   individuals that did any of the shakedown?               20   You have line everybody back up, one of them got -- in
 21       A I couldn’t tell you. No, I couldn't tell           21   the back they got you cuffed and you had to keep your
 22   you none of that. I am being honest, I can’t tell you    22   head down and march you over to the chapel.
 23   no name.                                                 23       Q Okay. And then you were marched all the way
 24       Q All right. When you’re -- can you explain          24   to the chapel?

                                                          5                                                             7

  1   how the strip-search was performed?                       1       A Yep.
  2       A The strip-search was performed, they take           2       Q With an individual officer holding your cuff
  3   your clothes, you’re stripped. Everything off, get        3   and pushing your head down?
  4   naked and your cellmate step in the back. Once step       4       A Yeah.
  5   back to the back, turn around, face your walls. The       5       Q All right. When you arrived at the chapel,
  6   other come forth, get handcuffed.                         6   what happened there?
  7       First you take your clothes, get hanger for your      7       A At the chapel we was told to go to the -- to
  8   shoes, hang your shoes, your shirt, pants, underwear.     8   the right side of the wall. Wherever there was walls
  9   Take and strip, open your -- raise your hands up, look    9   at, everybody go -- go to the wall. Line up by the
 10   both sides of them. Then you got to lift your feets      10   wall, put your forehead to the wall, no talking. Put
 11   up, bend over and squat for a minute. Then raise back    11   your forehead -- this is how we was lined up; do you
 12   up, put your clothes back on, step back in the back of   12   know what I’m saying?
 13   the cell.                                                13       Q Yes.
 14       The other one comes up forward, the other -- you     14       A This is exactly how -- we was like this
 15   cellmate. He go through the same routine. Then we        15   here. First we were bent down, once we get down, you
 16   handcuffed. Everybody line up. All the cell guys got     16   had to bend down to the ground and keep our heads
 17   to get -- they get enough on the guys, and then they     17   down. Some of us were standing up. Some of us stand.
 18   all march us over, they always tell you “Keep your       18       The old-time, they like let you stand up. But
 19   head down.”                                              19   your head got to stay against the wall. And if you
 20       Q Okay, I want to back you up for a little bit       20   get caught talking or if your head raises when you’re
 21   here. What clothes were you wearing that day, if you     21   leaving, you’re going to get hit. They will hit you.
 22   remember? Was it your dress blues like you have on?      22   Yeah, and that’s how the procedure was. I mean, they
 23       A Yes, state blues, just like you said, yeah.        23   just lined us up.
 24       Q Okay. And those are the blues you put on           24       Q No one hit you, did they?

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  1        A Yeah, huh?                                         1      We’re all lined up, they march us back the same
  2        Q No one hit you during this procedure?              2   way. They have the line, or it was a line from the
  3        A No, I was just pushed, you know, because I         3   chapel all the way to the cell house, to the south
  4   (inaudible 00:06:37) cough, but you know, just told       4   house. We was all lined up. And they take us all
  5   keep my head down. If I raised my head up, I am going     5   back the same way. The same way, they brought us back
  6   to get whooped. So I had to get out of (inaudible         6   saying, “Keep your head down.” Your head get raised
  7   00:06:43) and so I just got lucky.                        7   up, you are going to get beat.
  8        Q All right. So what time did the initial            8      Q    When you arrived at your cell, did it appear
  9   search start?                                             9   that your cell had been shaken down?
 10        A It was in the morning. It had to be --            10      A    Yeah. Cell was tore up.
 11   during the morning right before breakfast. I believe     11      Q    Okay, was anything taken?
 12   it was between seven -- was somewhere between the        12      A    No, I don't remember nothing taken. I can’t
 13   first shift. It was early in the morning, first shift    13   remember, to be honest, I can’t remember nothing
 14   time be having.                                          14   taken. But it was tore up, it was ransacked. It was
 15        Q Okay. The first shift starts at seven?            15   definitely tore up.
 16        A Yeah, about seven o’clock. It was on the          16      Q    It looked like somebody shook it down?
 17   first shift.                                             17      A    Yeah, it was tore up. Everything was all
 18        Q Okay. So it was shortly after seven?              18   out of order on my side. My cellmate had -- my stuff
 19        A Yeah, somewhere -- yeah, it was before noon.      19   you know was all tore up.
 20   It was on the first shift. I can’t tell you the exact    20      Q    Do you remember anything being broken in
 21   time.                                                    21   your cell?
 22        Q Do you know about how long you were ordered       22      A    No, I don't remember nothing being broken.
 23   to stay in the chapel?                                   23   Was nothing broken.
 24        A Yeah, we stayed in the position for hours.        24      Q    Okay. Do you remember anything else about

                                                          9                                                                11

  1       Q Do you know how many hours?                         1   the shakedown that we didn’t talk about?
  2       A At least about four or five hours. Four or          2       A The name calling. The name calling. Like I
  3   five. People were falling out. We stayed in that          3   said, the only thing I -- you know, you be so
  4   position about four or five hours.                        4   intimidated, you know, you can’t really too much seek
  5       Q Was there any medical personnel around?             5   out -- you raise your head, you going to get hit.
  6       A No, no, nothing but officers and lieutenant,        6       You know, so I just got lucky. That was the only
  7   white-shirt. No medical staff was there. Only time        7   thing, I was really threatened. If you raise your
  8   the medical staff come by unless somebody fall out.       8   head, you going to go get beat on. That was an
  9   And they called them over there and then they take        9   intimidation thing. Your head come off that wall, you
 10   them to the hospital. That’s the only time medical       10   are going to get beat.
 11   staff appear there. There was never no medical staff     11       Q What name calling?
 12   around.                                                  12       A All type of names. They call you, you know,
 13       Q After you left the chapel, did you go back         13   I ain’t going to say no here, what they was saying.
 14   to your cell then?                                       14   They was just calling “eff” inmates, you dumb inmates.
 15       A We always march back.                              15   You know, just names -- just keeping you low life, you
 16       Q And how did you march back?                        16   know, trying to degrade you. You know, yeah.
 17       A Yeah, they march us -- they set out for a          17       Keep your head down, just keep your head down or
 18   while. They give us about three or four hours            18   you going to get beat now. I said, “Okay.” So it is
 19   standing up. They make us sit down after about four      19   an intimidation thing, man, so you ain’t trying to
 20   hours, usually.                                          20   look up.
 21       It been a while, you sit down to -- they got         21       You know, you got to do what they say. You can’t
 22   through with everybody in the first cell. They stand     22   win. It was intimidating. It was very intimidating.
 23   us back up, we was always caught up by and then we all   23       Q Okay. I’d like to thank you very much for
 24   marched back over.                                       24   your participation.

                                                         10                                                                12

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   1         A    Okay, I appreciate it.
   2                  (End of Interview)
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  1         I, Audrey Marie Skaja, do hereby certify or
  2    affirm that I have impartially transcribed the
  3    foregoing from a digitally recorded statement of the
  4    above-mentioned proceedings to the best of my ability.
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                                                                  1        interview you to get a better understanding of what
                                                                  2        happened during the tactical operation, and what your
                                                                  3        experience was.       I am gathering this information to

                       AUDIO TRANSCRIPTION                        4        defend the case on behalf of I-DOC Defendants, but not

                    Interview of Bobby Borsey                     5        for any disciplinary purposes against you or any other

                      Inmate Number N34213                        6        inmates.
                                                                  7             A      Right.
                                                                  8             Q      This interview is voluntary.       I am not in a
                                                                  9        position to offer you anything for participating and
                 Illinois Attorney General                        10       there is no adverse consequences if you refuse to talk
           100 West Randolph Street - 13th Floor                  11       to me.   However, I’m hoping you are willing to talk to
                 Chicago, Illinois 60601                          12       me about what happened during the shakedown at Big
                      (312) 814-3695                              13       Muddy 2014; if you remember.
                                                                  14            And you've indicated that you are willing to talk
                                                                  15       to me and that we have this on camera?
                                                                  16            A      Right, yes.
                                                                  17            Q      Okay, can you state and spell your name and
                                                                  18       give your inmate number?
                                                                  19            A      B-o-b-b-y B-o-r-s-e-y, N34213.
                                                                  20            Q      All right, and you are currently
                                                                  21       incarcerated at Big Muddy River Correctional Center?
                                                                  22            A      Yes.
                                                                  23            Q      And you were an inmate in 2014 at Big Muddy;
                                                                  24       is that correct?


                                                              1                                                                       3
 1    BY MR. JAMES DURAN:                                              1        A     Yes, I was.
 2        Q    My name is James Duran (phonetic) and I’m an            2        Q     And do you remember a shakedown that were
 3    attorney for the state of Illinois.   I’m here today to          3     talking about?
 4    interview you about a shakedown that occurred in 2014.           4        A     Vaguely.
 5    A lawsuit has been filed by inmates that were housed             5        Q     Okay. Was there -- what happened
 6    at Menard, Illinois River, Big Muddy River and                   6     differently in that shakedown than what normally
 7    Lawrence Correctional Centers against certain                    7     happens, if anything?
 8    individuals working for I-DOC arising out of the                 8        A     Well, see I didn’t get a chance to see that
 9    operation.                                                       9     because my -- my daughter and my grandson had passed,
 10       I’m here on behalf of the Defendants, the               10         so they had me in suicide watch. So when they came
 11   employees of the Illinois Department of Corrections.        11         in, they came in and made me get, get against the
 12   Certain inmates are the named Plaintiffs in this case       12         wall, man, with my face against the wall, man, and
 13   and are represented by a law firm, Loevy & Loevy.   The     13         shook the room down. And then they left.
 14   lawsuit is a class action and at this stage, the class      14            Q     Did they shake you down at all?
 15   has not yet been certified by the judge.                    15            A     They shook me down, but I was already
 16       Because you were housed at Big Muddy, you are a         16         completely naked because I had -- I was in the suicide
 17   potential class member, which means that if the judge       17         watch. They had me there because I had -- kind of
 18   certifies a class, you would be represented by              18         broke down when my grandchild died.
 19   Plaintiff’s attorneys.   If the judge certifies a           19            Q     Okay. So after you were searched and your
 20   class, your interest could be adverse to that of the        20         cell was shaken down, what happened, anything?
 21   Defendants.                                                 21            A     Well after I was searched and my cell was
 22       A    Right.                                             22         shake down, they held me.
 23       Q    You are of course, free to contact an              23            Q     Okay. And is that all that happened with
 24   attorney before speaking to me.   But I would like to       24         you?

                                                              2                                                                       4

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  1        A That’s all that happened to me.                 1
  2        Q Okay. All right.                                2         I, Audrey Marie Skaja, do hereby certify or
  3        A And I stayed in there. See I was in the         3    affirm that I have impartially transcribed the
  4    cell, a one-man’s cell downstairs when it happened.   4    foregoing from a digitally recorded statement of the
  5        Q What cell house were you in?                    5    above-mentioned proceedings to the best of my ability.
  6        A I was in “Receiving”.                           6
  7        Q Okay.                                           7
  8        A Uh-hum. We had just -- we had just got          8
  9    here; transferred from Statesville.                   9
 10        Q Okay, so nothing unusual happened to you        10
 11    during that shakedown, then?                          11
 12        A No, they made me --                             12
 13        Q Just a regular?                                 13
 14        A Just a regular. Made me go up against the       14
 15    wall, pushed my head against the wall just a little   15
 16    bit, not really hurt me, just as I said.              16
 17        Q Okay. And how long did it take?                 17
 18        A I think two months. A little bed rest and       18
 19    everything, around two -- about three weeks.          19
 20        Q Okay, and that was it?                          20
 21        A That was it.                                    21
 22        Q All right. Is that all you remember about       22
 23    the shakedown?                                        23
 24        A That’s all I seen.                              24


                                                        5                                                             7

   1        Q    Okay, thank you very much.
   2        A    Okay.
   3        Q    Nice meeting you.
   4        A    Okay.
   5        Q    All right.
   6        A    Thank you.
   7                   (End of Interview)
   8
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60601
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           7

           8
814-3695
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                                                                 1        during the tactical operation, and what your
                                                                 2        experience was.    I am gathering this information to
                                                                 3        defend the case on behalf of I-DOC Defendants, but not

                        AUDIO TRANSCRIPTION                      4        for any disciplinary purposes against you or any other

                    Interview of Jon Bosomworth                  5        inmates.

                       Inmate Number S07769                      6            This interview is voluntary.    I am not in a
                                                                 7        position to offer you anything for participating and
                                                                 8        there will be no adverse consequences if you refuse to
                                                                 9        talk to me.   However, I’m hoping you are willing to
                 Illinois Attorney General                       10       talk to me about what happened to you during the
           100 West Randolph Street - 13th Floor                 11       shakedown at Big Muddy 2014; if you remember.   So is
                 Chicago, Illinois 60601                         12       it okay if I ask you some questions?
                      (312) 814-3695                             13           A      Yes, sir.
                                                                 14           Q      Can you please state and spell your name and
                                                                 15       give your inmate number?
                                                                 16           A      My name is Jon Bosomworth, J-o-n B-o-s-o-m-
                                                                 17       w-o-r-t-h, S07769 is my number.
                                                                 18           Q      Okay.   And at some time in 2014 were you
                                                                 19       housed at Big Muddy River?
                                                                 20           A      Yes, sir.
                                                                 21           Q      What housing unit were you in?
                                                                 22           A      I was in 1-C.
                                                                 23           Q      All right, and do you remember any facility-
                                                                 24       wide shakedowns at Big Muddy while you were there?


                                                             1                                                                    3
 1    BY MR. JAMES DURAN:                                             1          A Yes, sir, I do.
 2        Q    My name is James Duran (phonetic) and I’m an           2          Q All right. And what do you remember about
 3    attorney for the state of Illinois.   I’m here today to         3     that facility-wide shakedown? Can you tell me what
 4    interview you about a shakedown that occurred in 2014.          4     happened, the first thing of that day that you
 5    A lawsuit has been filed by inmates that were housed            5     remember?
 6    at Menard, Illinois River, Big Muddy River and                  6          A Well, they came in beating on the doors.
 7    Lawrence Correctional Centers against certain                   7     They come, run around beating on the doors, you know
 8    individuals working for I-DOC arising out of the                8     telling us to get -- get ready or whatever. We were
 9    operation.                                                      9     being shaken down, the doors were opened. They went
 10       I’m here on behalf of the Defendants, the              10         to each cell. They came up to my cell and they
 11   employees of the I-DOC.   Certain inmates are the named    11         stripped us down to make sure that we didn’t have
 12   Plaintiffs in this case and are represented by a law       12         anything on us. They stripped us down.
 13   firm, Loevy & Loevy.   The lawsuit is a class action       13              Q How many officers came to your cell?
 14   and at this stage, the class has not yet been              14              A There was one at the door and one standing
 15   certified by the judge.                                    15         behind him.
 16       Because you were housed at Big Muddy, you are a        16              Q Okay. And then were they both men?
 17   potential class member, which means that if the judge      17              A Yes, sir. They were both men.
 18   certifies a class, you would be represented by             18              Q Okay, so then they --
 19   Plaintiff’s attorneys.    If the judge certifies a         19              A That I could tell. I mean, they had their
 20   class, your interest could be adverse to that of the       20         stuff on, but I am pretty sure they were men.
 21   Defendants.                                                21              Q Okay. And then they -- they strip-searched
 22       You are of course, free to talk to an attorney         22         you and your cellmate?
 23   before speaking to me.    But I would like to interview    23              A Yes, sir.
 24   you to get a better understanding of what happened         24              Q Okay. And how was that strip-search

                                                             2                                                                    4

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  1   performed?                                               1    that. I don't recall if they hit anybody or pushed
  2       A We were just told to drop our boxers, you          2    anybody at that point in time, but there was sort of
  3   know, drop, drop, bare skin. Bend over, cough. Kind      3    like -- kind of felt like you better get going or you
  4   of the typical routine that we do around here.           4    might -- or something like that might happen, you
  5       Q Okay. So it was a typical strip-search like        5    know.
  6   they do in the Department of Corrections?                6        Q Okay. So at no point during this time you
  7       A Right, there was no hands-on. They didn’t          7    were pushed or hit, were you?
  8   touch us or anything like that, you know. We just --     8        A I personally was not contacted, no.
  9   and then we put our -- we were allowed to put our        9        Q Okay, okay. And do you remember any
 10   shorts back on. Like gym shorts and then they cuffed     10   statements, any particular statements that anyone on
 11   us behind our back and they walked us out.               11   the security staff said?
 12       Q And where did they walk you to?                    12       A I can’t remember anything.
 13       A They walked us out of the wing, out of the         13       Q All right. And now since that shakedown at
 14   house, and then we went to dietary, which was a little   14   Big Muddy, have you gone through more shakedowns?
 15   bit a ways.                                              15       A Yeah, we’ve had a few here at Jacksonville.
 16       Q Okay. Was there anything unusual about the         16       Q Okay. Can you explain, what’s the
 17   walk from your housing unit to dietary?                  17   difference between the one that happened at Big Muddy
 18       A They were a little brisk, you know, a little       18   and the ones at Jacksonville?
 19   rough with some of the guys, you know, it was like if    19       A Well here the one we -- they -- they
 20   you weren’t putting your down, you know, they were       20   escorted us to the gym and we stood the -- that time.
 21   kind of pushing and shoving sometimes. Keep -- you       21   But I mean, they didn’t line up -- we didn’t like run
 22   were supposed to have your head on the next person in    22   through a lineup or anything like that.
 23   front of you, you know, and that’s kind of hard to do    23       They basically handled this with, you know, they
 24   when you’re walking and cuffed and everything.           24   had a guard in front and back, you know, a couple of

                                                          5                                                             7

  1       But if you didn’t, there was some times where        1    guys in front and back, but at no time were we like
  2   they would kind of push you and shove you, but I         2    going through them, like we were going to be mauled or
  3   didn’t personally get pushed and shoved, myself. But     3    something. It was kind of a feeling I had at Big
  4   I noticed that some did.                                 4    Muddy when we were going through the lineup. I just
  5       Q Okay. And then when you arrived at the             5    kind of felt like they were like tigers, you know,
  6   dietary, what happened there?                            6    ready to pounce on you, you know.
  7       A They just proceeded to seat us as -- from          7         Q so are they a lot less harsh?
  8   back to front, kind of, you know as the seats and we     8         A Yeah, here was a lot less harsh. I mean, it
  9   sat there for -- basically sat at the tables, the        9    was strict, but it didn’t have that same feel. I
 10   round tables with our hands behind our backs the whole   10   didn’t feel as -- like I was going to like get beat up
 11   time.                                                    11   or something, you know.
 12       And we just -- for about two hours or an hour-       12        There, when I did go through I kind of felt like
 13   and-a-half, something like that. About two hours or      13   you know if I slipped and fall, who knows what’s going
 14   something, it felt like forever, but --                  14   to happen to me. Not necessarily fear for my life,
 15       Q All right. And then after you sat at the           15   but you know, I didn’t know what was going to happen,
 16   tables for a couple of hours, what did you do?           16   you know, just -- but here, I didn’t, you know, I
 17       A Well they came in and they escorted us back        17   didn’t feel that at all. It was handled I think -- I
 18   out, you know, from -- they started from the front to    18   felt like it was handled better.
 19   the back. And then we just all basically lined and       19        Q Okay. And that happened twice here like
 20   went back out.                                           20   that?
 21       We went through a line of -- there was Orange        21        A We've had one time that we -- I only
 22   Crush guys on both sides. It was kind of like a          22   remember one, one real big one that we went to the
 23   hallway, you know, that they had made. You know, and     23   gym. The other times we just -- they just got us out
 24   they were yelling, hollering at us and stuff like        24   of the rooms and stuff. It wasn’t really a big one.

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  1   It was kind of hit-and-miss. I mean, hit all the
  2   rooms. I think it was training. What I heard it was
  3   just them training. So that’s my memory of that.
  4       Q Okay. All right, thank you very much, I've
  5   got no further questions.
  6                (End of Interview)
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  1        I, Audrey Marie Skaja, do hereby certify or
  2   affirm that I have impartially transcribed the
  3   foregoing from a digitally recorded statement of the
  4   above-mentioned proceedings to the best of my ability.
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                                                                 1        happened during the tactical operation, and what your
                                                                 2        experience was.      I am gathering this information to
                                                                 3        defend the case on behalf of I-DOC Defendants, but not

                        AUDIO TRANSCRIPTION                      4        for any disciplinary purposes against you or any other

                   Interview of Michael Burnside                 5        inmates.

                       Inmate Number B75249                      6              This interview is voluntary.       I am not in a
                                                                 7        position to offer you anything for participating and
                                                                 8        there will be no adverse consequences if you refuse to
                                                                 9        talk to me.     However, I’m hoping you are willing to
                 Illinois Attorney General                       10       talk to me about what happened to you during the
           100 West Randolph Street - 13th Floor                 11       shakedown at Big Muddy 2014; if you remember.           So is
                 Chicago, Illinois 60601                         12       it okay if I ask you some questions?
                      (312) 814-3695                             13             A      Yeah.   Yeah, I had forgot a few things, too,
                                                                 14       and like where it happened.       I will just get done and
                                                                 15       go.
                                                                 16             Q      Okay.   Can you first state and spell your
                                                                 17       name?
                                                                 18             A      Michael Burnside, ID # B75249.      Name, M-i-c-
                                                                 19       h-a-e-l, B-u-r-n-s-i-d-e.
                                                                 20             Q      All right, and you were housed at Big Muddy
                                                                 21       River during the shakedown in 2014?
                                                                 22             A      Yes.
                                                                 23             Q      And do you remember that shakedown?
                                                                 24             A      Yes.


                                                             1                                                                            3
 1    BY MR. JAMES DURAN:                                             1           Q   Starting at the beginning of the shakedown,
 2        Q    My name is James Duran (phonetic) and I’m an           2     what you remember, what happened?
 3    attorney for the state of Illinois.   I’m here today to         3           A   Beginning, they was real aggressive, real
 4    interview you about a shakedown that occurred in 2014.          4     aggressive when they was speaking to us.
 5    A lawsuit has been filed by inmates that were housed            5           Q   Who did the shakedown?
 6    at Menard, Illinois River, Big Muddy River and                  6           A   Orange Crush.
 7    Lawrence Correctional Centers against certain                   7           Q   And do you know how many Orange Crush
 8    individuals working for I-DOC arising out of the                8     officers there were?
 9    operation.                                                      9           A   It was like about 50 or 100, there was a lot
 10       I’m here on behalf of the Defendants, the              10         of them.
 11   employees of the I-DOC.   Certain inmates are the named    11               Q   Okay. And you said they were aggressive.
 12   Plaintiffs in the case and are represented by a law        12               A   Yeah, they was aggressive.
 13   firm, Loevy & Loevy.   The lawsuit is a class action       13               Q   What were they doing that was aggressive?
 14   and at this stage, the class has not yet been              14               A   The way they was talking to us, do you know
 15   certified by the judge.                                    15         what I mean? Professionals are hot supposed to talk
 16       Because you were housed at Big Muddy, you are a        16         like the way they were speaking.
 17   potential class member, which means that if the judge      17               Using profound language, do you know what I mean?
 18   certifies a class, you would be represented by             18         “Hurry up, mother fucker,” and you know I was just --
 19   Plaintiff’s attorneys.    If the judge certifies a         19         like they had a bad day, do you know what I mean, came
 20   class, your interest could be adverse to that of the       20         into work. And all of them.
 21   Defendants.                                                21               Q   Okay, they all had a bad day at once?
 22       You are of course, free to contact an attorney         22               A   Sure, all of them. They came. They was in
 23   before speaking to me.    But I would like to interview    23         roll-call. We going have a bad day with you guys.
 24   you in order to get a better understanding of what         24               Q   All right, so what happened? Did some

                                                             2                                                                            4

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  1   officers come up to your cell?                            1       A To the kitchen, dining room.
  2        A Yeah, two officers.                                2       Q And was there anything that happened on your
  3        Q Okay, were they men or women?                      3   way from the cell to the kitchen that was different or
  4        A It was men.                                        4   unusual?
  5        Q And were they black or white?                      5       A Oh, guys being hit with the stick in their
  6        A They was white.                                    6   back.
  7        Q All right. And what happened?                      7       Q Okay. Can you tell me your experience, what
  8        A They asked us to strip. Asked my cellmate          8   you went through?
  9   to step to the back of the cell, turn around, face the    9       A I was in front of a guy and he was in front
 10   wall. And they asked me to strip. So I did the           10   of another guy and he -- the officer there was on the
 11   strip-search. The strip-search not good enough the       11   side. They had officers in front and back, side-to-
 12   first time.                                              12   side, like we’re in the Army somewhere.
 13        So he had me -- because I had wild -- my hair was   13       And they was making sure we really get shoulder
 14   like if you can get braids and big afro, he want me to   14   to shoulder on these guys. You know what I mean?
 15   keep playing in my hair, this way, that way. Man, not    15   Just picking with us knowing that if you bump up too
 16   anything in my hair, man. We had medium masks on,        16   close to a guy, he going to turn around and say
 17   there ain’t nothing going on, guys.                      17   something to you. “Man, what you on, man, get up off
 18        He didn’t like the way I was talking to him, so     18   me.” You know what I mean?
 19   he just really -- didn’t like me, so he got two          19       We ain’t handcuffed or nothing. Was he
 20   (inaudible 00:03:37); do you know what I mean? But       20   handcuffed? I don't even thing we was handcuffed. I
 21   when I got back in the cell, my stuff was mixed at the   21   can’t remember that part. I don't know. He might
 22   bottom bunk, because my cellmate at the bottom bunk.     22   have turned around and stole on me. You know what I
 23        All our stuff mixed together, letters opened up,    23   am saying?
 24   slung everywhere. Couldn’t find out who was who, what    24       I don't remember that part, being handcuffed on

                                                          5                                                             7

  1   was what. So we had to just thrown basically half our     1   mine; I can’t remember. But we went to the kitchen.
  2   family mail away. But that’s besides the point.           2   Barely made it to the kitchen. Get in the kitchen.
  3       Q Okay. So let’s go back to the -- the strip-         3   After we sitting there so long with your heads on the
  4   search. Can you explain how the strip-search was          4   dining room table.
  5   performed? What they did?                                 5       Q How long were you sitting with your head on
  6       A Take off your -- it was playing in your             6   the table?
  7   hair, playing in your hair behind your ears. Open up      7       A Like two or three hours. Like they just was
  8   your mouth, lift your nuts, turn around, spread your      8   taking forever to shakedown our -- that one cell
  9   cheeks. Lift your feets up, wiggle your toes.             9   house. Because it’s like four wings in the building.
 10       Q Okay. So was that a normal strip-search or         10       Q Okay. And then after -- after you sat with
 11   was there something different about that then what is    11   your head on the table for two to three hours you were
 12   normally done?                                           12   then taken back to the cell house?
 13       A They was -- it was normal, basically. They         13       A No, we was escorted outside.
 14   all do the same thing, the same thing.                   14       Q Okay. And the outside, what happened?
 15       Q Okay. And then so at that point, were you          15       A That’s where the men began, once again with
 16   allowed to put clothes back on, then?                    16   the sticks. People getting hit in the back with the
 17       A Yeah.                                              17   sticks.
 18       Q What clothes were you --                           18       Q All right. And then -- so that’s while you
 19       A A blue shirt, blue pants and some boots.           19   were lining up to go back to the cell house?
 20       Q Okay. And were you allowed to wear an              20       A Yeah, we was lining up then after that.
 21   undershirt or underwear or anything?                     21       Q And were you hit at that time by anyone?
 22       A No.                                                22       A Me, was I hit?
 23       Q Okay. And then where were you taken from           23       Q Yes.
 24   your cell?                                               24       A No. Only going into the building.

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  1       Q Okay. So after you left your cell on the
  2   way to the -- to the chow hall, you were hit. Where
  3   were you hit?
  4       A I wasn’t hit.
  5       Q Okay.
  6       A It’s the guy that was in front of me. In
  7   front of me got hit with the stick.
  8       Q Okay.
  9       A He got hit with the stick. And he started
 10   to stay on the police, but you know we calmed him
 11   down, “Dude, it ain’t worth it; no, don’t. It’s just
 12   chill out, man, it ain’t worth it.”
 13       Q Okay. Do you remember anything in
 14   particular that was said by any of the Tactical Team?
 15       A No.
 16       Q Okay, I have no further questions.
 17       A All right.
 18       Q Thank you.
 19                (End of Interview)
 20
 21
 22
 23
 24

                                                          9

  1        I, Audrey Marie Skaja, do hereby certify or
  2   affirm that I have impartially transcribed the
  3   foregoing from a digitally recorded statement of the
  4   above-mentioned proceedings to the best of my ability.
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                                                                  1        during the tactical operation, and what your
                                                                  2        experience was.   I am gathering information to defend
                                                                  3        the case on behalf of I-DOC Defendants, but not for

                       AUDIO TRANSCRIPTION                        4        any disciplinary purposes against you or any other

                  Interview of Jovanie Carrillo                   5        inmates.

                   Inmate Number (not given)                      6            This interview is voluntary.     I am not in a
                                                                  7        position to offer you anything for participating and
                                                                  8        there will be no adverse consequences if you refuse to
                                                                  9        talk to me.   However, I’m hoping you will be willing
                 Illinois Attorney General                        10       to talk to me about what happened to you during the
           100 West Randolph Street - 13th Floor                  11       shakedown in 2014; if you remember.    So is it okay if
                 Chicago, Illinois 60601                          12       we go through (inaudible 00:10:33)?
                      (312) 814-3695                              13           Okay, now if you could just go back with the CBN.
                                                                  14       So you were in -- during this shakedown, you were in
                                                                  15       Sutton (phonetic)?
                                                                  16           A      Segregation.
                                                                  17           Q      Segregation, okay.    And if you could just
                                                                  18       take us through kind of what happened when the team
                                                                  19       came in?
                                                                  20           A      Well, they came in.   They made a lot of
                                                                  21       noise.   They were hitting the doors with their batons,
                                                                  22       kind of all told us -- that once we sat up, told us
                                                                  23       get to the wall so they could handcuff us.    So they
                                                                  24       handcuffed us one-by-one and then pulled us all and


                                                              1                                                                     3
 1    BY MR. JASON WEGAN:                                              1     kind of walked us through the hallway and told us to
 2        Q       All right, Mr. Carrillo, my name is Jason            2     keep your head on the -- keep looking down.
 3    Wegan (phonetic).   I’m an attorney for the state of             3         Don’t look around, keep your head on the person
 4    Illinois.   I’m here today to interview you about a              4     in front of you. And then they escorted us to
 5    shakedown that occurred in 2014.   A lawsuit has been            5     receiving. And once we got to receiving, they
 6    filed by inmates that were housed at Menard, Illinois            6     stripped us down and told us to get on our knees and
 7    River, Big Muddy River and Lawrence Correctional                 7     stay at the -- at the wall and not to look at them,
 8    Centers against certain individuals working for I-DOC            8     not to look up.
 9    arising out of the operation.                                    9         Q Okay. And you -- you had been strip-
 10       I’m here on behalf of the Defendants, the               10         searched and they told you to get on your knees. Were
 11   employees of the I-DOC.   Certain inmates are the named     11         you still -- you had already -- you were still
 12   Plaintiffs in this case and are represented by a law        12         stripped down?
 13   firm, Loevy & Loevy.   The lawsuit is a class action        13             A Yes.
 14   and at this stage, the class has not yet been               14             Q Okay. They didn’t let you put anything back
 15   certified by the judge.                                     15         on, then, or anything like that?
 16       Because you were housed at Big Muddy, you are a         16             A No.
 17   potential class member, which means that if the judge       17             Q Okay. And when they -- when they searched
 18   certifies a class, you would be represented by              18         you, they had you check your mouth and everything like
 19   Plaintiff’s attorneys.    If the judge certifies a          19         that?
 20   class, your interests will be or could be adverse to        20             A Yeah.
 21   the Defendants.                                             21             Q How did they do that? Did they -- I mean,
 22       You are of course, free to contact an attorney          22         just what was the process?
 23   before speaking to me.    But I would like to interview     23             A Okay. They had us all stand up in front of
 24   you to get a better understanding of what happened          24         them and we had to go through the process. Like,

                                                              2                                                                     4

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  1   okay, lower your bottom lip. Lift up your top lip.          1   in front of us.
  2   Check the sides and tell us, “All right, turn around.       2       Q Okay.
  3   Show us the bottom of your feet.” And that like that.       3       A And if we looked up or looked to the sides
  4   Tell it like they knew, (inaudible 00:03:09) that.          4   or anything, they pushed our heads against the wall.
  5       Q Okay. So you did your mouth and then they             5       Q Okay. And was it like just kind of like a
  6   had you bend over?                                          6   guiding push?
  7       A Yeah.                                                 7       A No.
  8       Q Okay. And then what happened next? You                8       Q Or was it like a forceful --
  9   guys were on your knees and how long did that last?         9       A It was a forceful push.
 10       A About 20 minutes.                                    10       Q Okay. And did that cause any problems as
 11       Q Twenty minutes, okay. And then what was the          11   far as -- I mean, I don't know, did it happen to you
 12   next thing they had you do?                                12   or --
 13       A They walked us off our thresholds.                   13       A Well, when -- that’s been happening to all
 14       Q Okay. Now, you were -- you were handcuffed           14   of us when we first walked out the cell.
 15   during the entire process. And was there --                15       Q Right.
 16       A Well, they took it -- they told us -- they           16       A But then when we got to receiving, there was
 17   -- well, when they came and stripped us down, told us      17   a couple, I don't want to say “kids”, but they were
 18   to strip down, we had to you know like --because we        18   younger. They got their heads put into the wall and
 19   had jumpsuits. It wasn’t really hard to get stripped       19   that, you know, shoving. (Inaudible 00:05:14).
 20   down, you know?                                            20       Q And did you -- when they pushed you, did it
 21       Q Uh-hum.                                              21   leave any kind of a mark or did you get cut or
 22       A They kept us in the handcuffs the whole time         22   anything like that?
 23   until we come back into the cells.                         23       A No.
 24       Q Okay. So how did that work when they strip-          24       Q Did you see anyone who was in there?

                                                             5                                                           7

  1   searched you while you were handcuffed?                    1         A The two that got thrown into the wall, yeah.
  2      A   The jumpsuits that we have, you got -- you          2         Q Okay. And that was after you were already
  3   go the top part.                                           3    in receiving?
  4      Q    Okay.                                              4         A When we were in receiving, yeah. Because
  5      A   The top part, you just put over your head           5    they were looking up.
  6   and then the bottom, you just took off.                    6         Q Okay. And that’s how -- you said your
  7      Q    Okay, okay. So it wasn’t like what you have        7    glasses?
  8   on today, these blues? It’s a separate type of --          8         A No.
  9      A   No, no, it was a brown -- a brown suit.             9         Q What happened, your glasses were back in the
 10      Q    A brown suit.                                      10   cell?
 11      A   It’s the same almost.                               11        A Yeah.
 12      Q    The same format, basically?                        12        Q Okay. Because you said the officer threw
 13      A   Except for (inaudible 00:04:13).                    13   them?
 14      Q    Okay. And then was there anybody that you          14        A Yeah, he took -- he just threw them like in
 15   noticed that had any medical during this process?          15   the cell, like he threw them back, threw them back in
 16      A   No.                                                 16   the cell.
 17      Q    Had any medical problems? Were there nurses        17        Q And you -- you’re near-sighted; is that -- I
 18   or any medical staff around that you noticed?              18   mean, like you can’t see things far away?
 19      A   No.                                                 19        A Right.
 20      Q    Okay. And did you or anyone around you get         20        Q Okay. And as far as while the searches were
 21   physically touched or hit with anything or were they       21   going on, were there any females officers around that
 22   pushing anybody; anything of that nature?                  22   you could tell? Or could you tell by the voice?
 23      A   When we initially come out of the cells,            23        A You can’t -- you can’t tell by what -- with
 24   they grabbed our heads and pushed them onto the person     24   all the stuff they have on.

                                                             6                                                           8

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  1       Q Okay.                                             1        A No.
  2       A You can’t tell.                                   2        Q Okay. And was anything torn up, I mean any
  3       Q And you couldn’t tell by -- if you heard          3    of your clothes torn up?
  4   their voice whether they were male or female?           4        A No.
  5       A No.                                               5        Q Was anything, you know, look like it had
  6       Q Could you tell if they were anybody you           6    been purposefully --
  7   recognized?                                             7        A No, it was all thrown in the middle of the
  8       A No, they are all yelling. You can’t really        8    room.
  9   see nothing besides this little spot right here.        9        Q Okay. And after you got it all taken back
 10       Q Okay.                                             10   apart and straighten out did -- was there anything
 11       A You know.                                         11   that you thought was missing?
 12       Q So all you can see is their eyes. And their       12       A No.
 13   voices are usually distorted?                           13       Q Okay. And what about your cellmate, what
 14       A Well, not really distorted. But unless you        14   there anything?
 15   really know that person, you know, you ain’t going to   15       A No, we were both good.
 16   know who that is.                                       16       Q Okay. Did you hear anything from any of the
 17       Q Okay. And could you tell if it were anybody       17   other inmates around you that things had been taken?
 18   that’s usually around your cellblock or that you had    18       A No.
 19   had interactions with?                                  19       Q Or destroyed?
 20       A No.                                               20       A No.
 21       Q Not even from like the build or the --            21       Q Okay. I think that’s about it. Unless
 22   anything like that?                                     22   there was anything else you wanted to add?
 23       A Uh-huh.                                           23       A No.
 24       Q All right. Now, you said your glasses were        24                (End of Interview)

                                                         9                                                           11

  1   fine when you got back to your cell; is that right?     1         I, Audrey Marie Skaja, do hereby certify or
  2       A Yeah.                                             2    affirm that I have impartially transcribed the
  3       Q Okay. And as far as the movement, when you        3    foregoing from a digitally recorded statement of the
  4   guys were going back and forth?                         4    above-mentioned proceedings to the best of my ability.
  5       A It’s the same thing.                              5
  6       Q You just kept your head down the entire           6
  7   time?                                                   7
  8       A Yeah.                                             8
  9       Q All right. And when you got back to your          9
 10   cell, other than your glass, which we talked about,     10
 11   how was the rest of your property?                      11
 12       A It was thrown around.                             12
 13       Q Okay. Was anything missing?                       13
 14       A No, it was just they put mine and my              14
 15   cellmate’s stuff all in one big pile and we had to      15
 16   sort it out.                                            16
 17       Q Okay.                                             17
 18       A That was pretty much it.                          18
 19       Q Like what would that have really been, like       19
 20   laundry and other personal items?                       20
 21       A Yeah, your clothes, there’s no commissary,        21
 22   so it was just very minimum.                            22
 23       Q Okay, yeah. So there wasn’t a lot -- there        23
 24   weren’t a lot of personal items, if any?                24


                                                        10                                                           12

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                                                                  1        during the tactical operation, and what your
                                                                  2        experience was.    I am gathering this information to
                                                                  3        defend the case on behalf of I-DOC Defendants, but not

                        AUDIO TRANSCRIPTION                       4        for any disciplinary purposes against you or any other

                    Interview of Miguel Chacon                    5        inmates.

                       Inmate Number R47870                       6            This interview is voluntary.    I am not in a
                                                                  7        position to offer you anything for participating and
                                                                  8        there will be no adverse consequences if you refuse to
                 Illinois Attorney General                        9        talk to me.   However, I’m hoping you are willing to
           100 West Randolph Street - 13th Floor                  10       talk to me about what happened during the shakedown at
                 Chicago, Illinois 60601                          11       Big Muddy 2014; if you remember.    So is it okay if I
                      (312) 814-3695                              12       ask you some questions?
                                                                  13           A      Yes, sir.
                                                                  14           Q      Okay, can you please state and spell your
                                                                  15       name and give your inmate number?
                                                                  16           A      My name is Miguel Chacon, M-i-g-u-e-l C-h-a-
                                                                  17       c-o-n.   My ID number R47870.
                                                                  18           Q      Okay.   And were you housed at Big Muddy in
                                                                  19       2014?
                                                                  20           A      Yes, sir.
                                                                  21           Q      All right.   Do you recall a facility-wide
                                                                  22       shakedown?
                                                                  23           A      Yes.
                                                                  24           Q      What’s the first thing you remember about


                                                              1                                                                     3
 1    BY MR. JAMES DURAN:                                              1     that shakedown?
 2        Q    My name is James Duran (phonetic) and I’m an            2          A Well, the did house by house, like they
 3    attorney for the state of Illinois.   I’m here today to          3     didn’t do every house at the same -- on the same day.
 4    interview you about a shakedown that occurred in 2014.           4     So I know when they did ours, they came in.
 5    A lawsuit has been filed by inmates that were housed             5          Q What house were you in?
 6    at Menard, Illinois River, Big Muddy River and                   6          A Three.
 7    Lawrence Correctional Centers against certain                    7          Q All right. And what house did they do
 8    individuals working for I-DOC arising out of the                 8     first?
 9    operation.                                                       9          A One house.
 10       I’m here on behalf of the Defendants, the               10              Q And then two?
 11   employees of the I-DOC.   Certain inmates are the named     11              A Two. And then three.
 12   Plaintiffs in this case and are represented by a law        12              Q Then three. So you were the third day of
 13   firm, Loevy & Loevy.   This lawsuit is a class action       13         shakedowns?
 14   and at this stage, the class has not yet been               14              A Yeah, yeah.
 15   certified by the judge.                                     15              Q Okay. So by that time you had known or you
 16       Because you were housed at Big Muddy, you are a         16         would know that -- what was going on?
 17   potential class member, which means that if the judge       17              A They are coming, yeah, they’re coming. That
 18   certifies a class, you would be represented by              18         they are going to do our building, too. So they came
 19   Plaintiff’s attorneys.    If the judge certifies a          19         in, you know, strip-searched me with my cellmate in
 20   class, your interest could be adverse to that of the        20         the room.
 21   Defendants.                                                 21              Q Can you explain how the strip-search
 22       You are of course, free to contact an attorney          22         happened?
 23   before speaking to me.    But I would like to interview     23              A They just came busting in, loud, knocking on
 24   you to get a better understanding of what happened          24         doors with their sticks and do, do, do, do, do. You

                                                              2                                                                     4

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  1   know, and open our doors like, “Strip down,” you know?        1   am kind of a big guy. And the handcuffs were so tight
  2       Q Who came in? did they come into your cell?              2   on me and my shoulders was hurting me, you know.
  3       A Huh?                                                    3       I am way up here, you know, handcuffed for two
  4       Q Did they come into your cell?                           4   hours. That’s a lot to take. So the nurse asked for
  5       A Yeah, they come in. They messed the cell                5   another handcuff and they said we don’t have no extra
  6   up. They come search the cell, yeah.                          6   ones.
  7       Q Right. But when they first got there for                7       So they put me back on the handcuffs and then he
  8   the strip-search, did they come into the cell?                8   sat me on the floor next to the -- next to the wall by
  9       A Yeah, they are right there at the door. You             9   the door so I can breathe better, you know. And I
 10   know, they open the door and they are right there in         10   stayed there.
 11   front of the door watching us.                               11       Q Okay.
 12       Q How many officers?                                     12       A That’s where they had me at.
 13       A It was one.                                            13       Q All right.
 14       Q Okay. And was it a man or a woman?                     14       A Calling us pussies and you’re a pussy, whoo-
 15       A A man.                                                 15   whoo because now other people were starting to
 16       Q Okay. And strip-searched us and then we put            16   complain, you know, so -- I was the first one that it
 17   our stuff back on and they handcuffed us. And then           17   happened to, you know the first one to go across.
 18   they -- they walked us outside in a straight line,           18       Q So you got relieved and then the other guys?
 19   like a train and had us bent over. It was raining at         19       A Yeah, I was for a little bit. Yeah, the
 20   that time to walk to the kitchen.                            20   other guy’s started complaining and right now
 21       And when I’m bent over, they are telling us stop-        21   everybody aiming to get that treatment.
 22   and-go. Why you bend over? So you’re walking like            22       Q Okay. But at least the provided you an
 23   this on each other’s back like this. And when you’re         23   accommodation?
 24   bent over, they made me walk for a second or two and         24       A Yeah, they did.

                                                               5                                                            7

  1   then they tell you stop.                                     1        Q Okay, well that’s good. And then after you
  2          So then you were bumping into each other with         2    were in the chow hall for a while, were you taken back
  3   handcuffs and everything, like boom, boom, boom, boom.       3    to the cell at some time?
  4   And then you know there was old people there that look       4        A Yes, we got -- after the chow hall, we went
  5   up or something, you know, and bam, smack one of them        5    back to the cell. Our cells was all beat up, messed
  6   in the head, you know.                                       6    up, you know. Took stuff, whatever they took, you
  7          Q   Okay. Did anyone hit you in the head at           7    know. They even like -- they even like pulled stuff
  8   all?                                                         8    off the wall that you know what I am saying? We
  9          A   No. I've never been hit in the head.              9    didn’t know what was in there like wires and old cable
 10          Q   Good.                                             10   wires.
 11          A   But I seen it, you know. And so then we go        11       And I got wrote up a ticket for that, you know
 12   to the kitchen. They had us sitting around at a              12   for a cable wire that was out, you know? And I am
 13   kitchen table for like two hours, wearing handcuffs.         13   beating it, you know, because that wasn’t -- that was
 14   But I didn’t -- I didn’t -- handcuffed for two hours         14   an extra cable wire that they just pulled out of the
 15   straight because I was getting nauseated, so I told          15   wall.
 16   them you feel good.                                          16       Q Okay. Did they take any of your property?
 17          I don’t feel good, you know? So they sent me          17       A Yeah, probably did. I don't remember after
 18   across -- across the hall that has a -- the medic, the       18   two years. They probably yeah, took some pictures and
 19   ladies, the nurses.                                          19   stuff.
 20          Q   Okay.                                             20       Q Did you get -- did you get a shakedown slip
 21          A   So they took the handcuffs off me and they        21   for anything?
 22   gave me some water. Chilled for a little bit, for a          22       A No.
 23   few, for about five minutes. And the nurse asked for         23       Q Okay. When you were -- how would you
 24   extra handcuffs for me because I got short arms and I        24   describe the walk from your cell to the dining area?

                                                               6                                                            8

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  1   How did you walk? You’re cuffed behind your back?               1       Q When was that? Was it before or after this
  2         A    Yeah, cuffed behind my back with your head           2   one?
  3   down and walking the same way we walked there, we               3       A This is way before.
  4   walked back. Same thing it was stop-and-go, stop-and-           4       Q Danville was way before?
  5   go.                                                             5       A Yeah, yeah, way before, you know. I mean I
  6         Q    Okay. And you had your head on the guy’s             6   didn’t get treated like the way I got treated here,
  7   back?                                                           7   you know.
  8         A    The next person’s back, yeah. Because you            8       Q Okay.
  9   are -- everybody is bent over like this. They want              9       A East Moline, you know.
 10   your head down and bent over like this, you know. So           10       Q And was East moline before this one, too?
 11   everybody was bent over and it was raining at the time         11       A Yeah, yeah, way before. This is my last
 12   so they were telling us, stop, go, stop. You know              12   dig.
 13   like go.                                                       13       Q Okay. When you were taken out of your cell
 14         And then they would tell us to stop, so the whole        14   after you were strip-searched, you were allowed to put
 15   -- it’s like a train wreck. Everybody is like this             15   clothes back on, right?
 16   with the handcuffs on us, you know? To me I said that          16       A Yeah.
 17   was boss, so why do we have to do that? You know what          17       Q What clothes?
 18   I am saying, I don't understand how they treat us              18       A My blues.
 19   because the pedophile joint, but everybody is not a            19       Q Okay. And blues and shoes?
 20   pedophile there.                                               20       A I think I was in my blues. Yeah, I had
 21         And you know what I mean, disciplinary act, why          21   shoes, yeah. I think I put on my blues or my regular,
 22   do you send me there? I don't know. I am in a work             22   I don't remember or recall. I don't remember.
 23   camp now, I am not a pedophile. So I guess for some            23       Q Okay. Do you remember any statements that
 24   reason why they treated it like that or something. Bu          24   any of the officers made during the shakedown?

                                                                 9                                                           11

  1   I know when they went to 4 House, they didn’t do that,         1        A No, they just came right in, just boom,
  2   you know, what they did to us. Because I guess they            2    boom, boom. Hitting their sticks against the doors,
  3   had got in trouble already when they did 3 House.              3    you know. “Get up, get out. Get undressed.” You
  4       Q Was 4 house the day after yours?                         4    know, start opening the doors. Strip-searched us,
  5       A Yeah.                                                    5    watched us, and they get dressed, come on, handcuffed
  6       Q And what did -- what happened at 4 House?                6    and they sent us on our way to the chow hall.
  7       A And well, I think they were in handcuffs,                7        Q Okay. Do you recall anything else that
  8   but they wasn’t, you know, or they wasn’t handcuffed.          8    happened during that shakedown?
  9   I don't remember. But they didn’t get treated like us,         9        A No, the only thing I seen was like some
 10   though, like we went walking nice. I don't think they          10   people got smacked over the head, you know, and stuff
 11   even got a handcuff, that I remember, you know.                11   like that.
 12       Q Okay.                                                    12       Q But not you?
 13       A If they were good, I guess they got yelled               13       A No, I never got smacked over the head, no.
 14   at for how they treated us.                                    14       Q Okay, okay. Thanks, that’s all I got.
 15       Q All right. Did you -- did you see them                   15       A All right.
 16   walking?                                                       16                (End of interview)
 17       A Yeah, yeah, because my window is on that                 17
 18   side of the joint. And I seen them going. That I               18
 19   really, they were like -- they were straight, you              19
 20   know. There are older people over there, though, too.          20
 21       Q All right. Have you experienced any other                21
 22   facility-wide shakedowns in the Department of                  22
 23   Corrections?                                                   23
 24       A I actually have. Danville.                               24


                                                                10                                                           12

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  1        I, Audrey Marie Skaja, do hereby certify or
  2   affirm that I have impartially transcribed the
  3   foregoing from a digitally recorded statement of the
  4   above-mentioned proceedings to the best of my ability.
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                                                                 1        during the tactical operation, and what your
                                                                 2        experience was.   I am gathering this information to
                                                                 3        defend the case on behalf of I-DOC Defendants, but not

                     AUDIO TRANSCRIPTION                         4        for any disciplinary purposes against you or any other

                    Interview of Mr. Colm                        5        inmates.

                    Inmate Number R55305                         6            This interview is voluntary.    I am not in a
                                                                 7        position to offer you anything for participating and
                                                                 8        there will be no adverse consequences if you refuse to
                                                                 9        talk to me.   However, I’m hoping you are willing to
                Illinois Attorney General                        10       talk to me about what happened to you during the
          100 West Randolph Street - 13th Floor                  11       shakedown at Big Muddy 2014; if you remember.    So is
                Chicago, Illinois 60601                          12       it okay if I ask you some questions?
                     (312) 814-3695                              13           A      Yes.
                                                                 14           Q      Can you please state and spell your name and
                                                                 15       give your inmate number?
                                                                 16           A      My name is Colm, C-o-l-m. R55305.
                                                                 17           Q      All right.   And where were you housed in
                                                                 18       2014?
                                                                 19           A      I was housed in 2.
                                                                 20           Q      Okay, Unit 2 at Big Muddy?
                                                                 21           A      That is correct.
                                                                 22           Q      All right, and do you   really a facility-
                                                                 23       wide shakedown that happened?
                                                                 24           A      That is correct.


                                                             1                                                                     3
1    BY MR. JAMES DURAN:                                              1          Q What do you really about the facility-wide
2        Q    My name is James Duran (phonetic) and I’m an            2     shakedown?
3    attorney for the state of Illinois.   I’m here today to          3          A Basically, the Orange Crush came in,
4    interview you about a shakedown that occurred in 2014.           4     yelling, and then we showed up, but I didn’t know what
5    A lawsuit has been filed by inmates that were housed             5     was going on. We look at the choke hold and a bunch
6    at Menard, Illinois River, Big Muddy River and                   6     of Orange Crush came in. They told me to strip naked.
7    Lawrence Correctional Centers against certain                    7          Q Okay. Did you have a cellmate?
8    individuals working for I-DOC arising out of the                 8          A Yes, I do.
9    operation.                                                       9          Q All right, and when they came to your cell,
10       I’m here on behalf of the Defendants, the               10         was it -- how many officers came to your cell?
11   employees of the I-DOC.   Certain inmates are the named     11              A It was one officer, Orange Crush.
12   Plaintiffs in this case and are represented by a law        12              Q Okay. And was it a male?
13   firm, Loevy & Loevy.   This lawsuit is a class action       13              A Yes.
14   and at this stage, the class has not yet been               14              Q And what happened when he arrived at your
15   certified by the judge.                                     15         cell? What did he tell you when he saw you?
16       Because you were housed at Big Muddy, you are a         16              A He told me to take my clothes off, lifts my
17   potential class member, which means that if the judge       17         nuts, sorry, up, cough. Put my clothes on. He
18   certifies a class, you would be represented by              18         grabbed my head, he pushed it out, like facedown, and
19   Plaintiff’s counsel.   If the judge certifies a class,      19         walk out to the door.
20   your interest could be adverse to those of the              20              Q Okay. And was your cellmate shaken down
21   Defendants.                                                 21         first or was he second?
22       You are of course, free to contact an attorney          22              A I was -- I was first, he was second. He was
23   before speaking to me.    But I would like to interview     23         behind me.
24   you to get a better understanding of what happened          24              Q All right.

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1       A    He was Chinese.                                    1       A No, piss on my fucking toilet. That’s what
2       Q    All right. All right, and where was he when        2   they did, piss on it.
3    you were strip-searched?                                   3       Q They did?
4       A    In the cell block.                                 4       A Yeah, that was right there.
5       Q    And was he facing you or did they have him         5       Q Okay. What else did they do? What did you
6    face the wall?                                             6   notice when you arrived back at your cell?
7       A    He was facing a -- a wall.                         7       A That it was all turned up; everything.
8       Q    Okay. And then -- so they did your strip-          8       Q All your property was?
9    search. And then had you coughed and had you come out      9       A Yeah. Mixed up with my cellmate.
10   of the cell and then they did his strip-search?           10       Q All right, and did you receive a shakedown
11      A    Yeah, they had him, too, yeah.                    11   slip?
12      Q    Okay, and where were you when he was strip-       12       A Yes, I did.
13   searched?                                                 13       Q And what was on the shakedown slip?
14      A    I was getting cuffed up from behind.              14       A Find nothing.
15      Q    Okay. All right, and then what happened           15       Q No contraband?
16   after you were cuffed up?                                 16       A Nope.
17      A    They take me to the dietary, tell me to sit       17       Q When you were strip-searched was it inside
18   own, face down, and don’t move.                           18   your cell?
19      Q    All right. And did anything unusual occur         19       A It was inside my cell, that’s correct.
20   when you were taken from your cell to the dietary?        20       Q And were any females watching you when you
21      A    That’s all. Everyone was getting shaken           21   were strip-searched?
22   down from there. I don't know what happened after         22       A It was all male.
23   that.                                                     23       Q Had you been involved in any facility-wide
24      Q    Okay. So you walked to the dietary and they       24   shakedowns since then?

                                                           5                                                        7

 1   told you to sit down and don’t move?                       1      A Cook County Jail.
 2       A Yup.                                                 2      Q Okay. Have you been in any in the Illinois
 3       Q All right. How long did you remain in the            3   Department of Corrections since then?
 4   dietary?                                                   4      A I've been in Pinckneyville. I've been beat
 5       A For at least 30 or 40 minutes.                       5   up by COs.
 6       Q Thirty or forty minutes?                             6      Q Okay. But was it a facility-wide shakedown?
 7       A Then I was looking up and he told me to put          7      A Yeah.
 8   your fucking heads down. My head, that’s what I did.       8      Q At Pinckneyville?
 9       Q Okay. Did anyone hit you with a stick in             9      A Yeah.
10   the head?                                                 10      Q And when was that?
11       A No.                                                 11      A This is, I think I was there for over six --
12       Q You were smart enough not to keep your head         12      Q Oh, 2006?
13   up, right?                                                13      A Yeah.
14       A Yep.                                                14      Q So it was a long time ago.
15       Q Okay. So after 30 or 40 minutes, you were           15      A Yeah.
16   in the dietary and then were you taken back to your       16      Q Okay, but none after -- none after the Big
17   cell?                                                     17   Muddy ones?
18       A That’s correct.                                     18      A No, no.
19       Q All right. And how were you taken back to           19      Q Okay. I have no further questions.
20   the cell?                                                 20      A Okay. This is -- this is --
21       A Same way, but you know, try to look up, he          21      Q Okay.
22   put my head like face down, don’t fucking move.           22              (End of Interview)
23       Q Okay. Do you remember anything that any of          23
24   the officers said besides what you've already said?       24


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1         I, Audrey Marie Skaja, do hereby certify or
2    affirm that I have impartially transcribed the
3    foregoing from a digitally recorded statement of the
4    above-mentioned proceedings to the best of my ability.
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                                                                 1        during the tactical operation, and what your
                                                                 2        experience was.     I am gathering this information to
                                                                 3        defend the case on behalf of I-DOC Defendants, but not

                      AUDIO TRANSCRIPTION                        4        for any disciplinary purposes against you or any other

                   Interview of Carl Durall                      5        inmates.

                     Inmate Number S09777                        6             This interview is voluntary.       I am not in a
                                                                 7        position to offer you anything for participating and
                                                                 8        there will be no adverse consequences if you refuse to
                                                                 9        talk to me.      However, I’m hoping you are willing to
                Illinois Attorney General                        10       talk to me about what happened during the shakedown at
          100 West Randolph Street - 13th Floor                  11       Big Muddy 2014; if you remember.        So is it okay if I
                Chicago, Illinois 60601                          12       ask you some questions?
                     (312) 814-3695                              13            A       Yes.
                                                                 14            Q       Okay, can you please state and spell your
                                                                 15       name and give your inmate number?
                                                                 16            A       Carl Durall, C-a-r-l D-u-r-a-l-l, S09777.
                                                                 17            Q       All right.   And you were housed at Big Muddy
                                                                 18       in 2014; is that correct?
                                                                 19            A       Yes.
                                                                 20            Q       All right, what cell house were you in?
                                                                 21            A       One House, A Wing, 68.
                                                                 22            Q       All right.   And do you recall a facility-
                                                                 23       wide shakedown that occurred in 2014?
                                                                 24            A       Yes.


                                                             1                                                                         3
1    BY MR. JAMES DURAN:                                              1        Q      What’s the first thing you remember that
2        Q    My name is James Duran (phonetic) and I’m an            2     day?
3    attorney for the state of Illinois.   I’m here today to          3        A      Being handcuffed in the chow hall, having my
4    interview you about a shakedown that occurred in 2014.           4     head about that high in from the table about two
5    A lawsuit has been filed by inmates that were housed             5     positions away from a torture pose.
6    at Menard, Illinois River, Big Muddy River and                   6        Q      Okay. So how -- let me back you up a little
7    Lawrence Correctional Centers against certain                    7     bit. What’s -- when the shakedown started, do you
8    individuals working for I-DOC arising out of the                 8     remember how it started?
9    operation.                                                       9        A      They come on the wing as normal, hitting the
10       I’m here on behalf of the Defendants, the               10         batons against the door telling everyone, “Get
11   employees of the I-DOC.   Certain inmates are the named     11         dressed. Get dressed. Get dressed.” Calling
12   Plaintiffs in this case and are represented by a law        12         people’s names.
13   firm, Loevy & Loevy.   This lawsuit is a class action       13            Q      Okay. And you said they come on the wing as
14   and at this stage, the class has not yet been               14         normal.
15   certified by the judge.                                     15            A      Yeah.
16       Because you were housed at Big Muddy, you are a         16            Q      How many times have you had them come on the
17   potential class member, which means that if the judge       17         wing and do that?
18   certifies a class, you would be represented by              18            A      I was in Graham in 2009. Yeah, 2009, when
19   Plaintiff’s attorneys.    If the judge certifies a          19         they came by, so I already knew what I was in store
20   class, your interest could be adverse to that of the        20         for when they can come by. But that time they did it
21   Defendants.                                                 21         with, I believe it was with the cadets from
22       You are of course, free to contact an attorney          22         Springfield.
23   before speaking to me.    But I would like to interview     23            And it went all smooth, but then I get the one --
24   you to get a better understanding of what happened          24         the shakedown down there with Orange Crush, with the

                                                             2                                                                         4

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 1   Tactical Team and it was completely different. Their      1       A It was like -- about that -- that close.
 2   entire demeanor, the actions, everything was totally      2       Q Your head was that close to the other guy’s
 3   different.                                                3   shoulder blades and frame?
 4        Q All right. So were you in your cell when           4       A Yes. And he -- the guy behind me was that
 5   they first arrived?                                       5   close. I could -- I had to pull my hands up from
 6        A Yes.                                               6   being cuffed because we were standing so close, my
 7        Q And what happened?                                 7   hands would have been touching his genitalia, which
 8        A When as normal, face -- face the wall, get         8   puts stress on my -- on my shoulders.
 9   dressed. And then they pulled people out. And I’m         9       Q All right. So then where were you taken?
10   standing there, they are strip-searching me. They        10       A The chow hall. We were set on the dietary
11   have the door open.                                      11   tables and we were told, “Don’t look. Don’t look
12        They are strip-searching me here in front of the    12   around. Look straight down. Don’t move, no talking.”
13   door and I was able to look out and see everyone else    13       Q Okay. And how long?
14   getting strip-searched. There was no privacy for         14       A I don't know, there was no clock. Probably
15   other individuals.                                       15   hour-and-a-half, two hours.
16        Q And were you strip-searched by a man or a         16       Q Okay. And what were you going to say before
17   woman?                                                   17   that? You were looking like you were going to measure
18        A By I believe a man because I’m not sure. I        18   something?
19   believe it was a man. But with the mask on, coming       19       A Oh, no. My head was about -- probably about
20   all the way down, and we were told not to look at        20   this high from the table.
21   faces.                                                   21       Q Okay. And actually, I’m going to ask you to
22        Q All right. So you were strip-searched and         22   do that again, if I can -- okay.
23   then were you allowed to put clothes back on?            23       A It was this. I remember this, yeah. And it
24        A Yes. We were able just to put pants, shirt,       24   was about this high the whole time for about two

                                                         5                                                                 7

 1   and shoes. No underwear, no t-shirt, no socks.            1   hours.
 2       Q Okay. Then you were cuffed?                         2      Q     Okay. All right. And then after -- after
 3       A Then we were cuffed and mine were tight, but        3   you sat like that for two hours, what happened?
 4   I don't -- you say anything about it.                     4      A     Then they took us back to the cell house
 5       Q Okay. So then did you -- were you taken out         5   row-by-row. And then they took a whole bunch of stuff
 6   of the cell house at some point?                          6   and I don't know why the took.
 7       A We were taken out of the house. There was           7      My cellmate had two boxes of Star Crunches or I
 8   Orange Crush here, Tactical here and here. And the        8   think it was oatmeal cream pies. And there was four
 9   whole line, they’re all just repeating, “Step out of      9   wrappers in the sink that were empty. All the boxes
10   line. Do it. Let us -- let us mess you up.”              10   were open.
11       Q All right, so at that point, you were              11      Q     Okay.
12   probably were smart enough to not step out of line?      12      A     We had -- there was food that was opened,
13       A Yeah.                                              13   dumped in boxes. There was soap opened up, dumped in
14       Q All right. So at any point did any of the          14   boxes. I've seen -- I heard about people who had
15   officers hit you?                                        15   their detergent or soap dumped in there and poured
16       A No, nothing.                                       16   away.
17       Q All right. So then how were you -- how did         17      Q     All right. Did you receive any shakedown
18   you walk over?                                           18   receipts or shakedown slips?
19       A Nut to butt.                                       19      A     Yes, I received a shakedown slip, but the
20       Q All right, and why do you say --                   20   officer that wrote on it wrote so light, I couldn't
21       A My head on -- like this -- this far from           21   read anything on it because it is a carbon copy; it’s
22   dude in front of me shoulder blades.                     22   three sheets.
23       Q Okay. And can you turn your head sideways          23      Q     Okay. And was -- did it say that there was
24   and do that just so that I can see it with the camera?   24   contraband or no contraband or could you even tell?

                                                         6                                                                 8

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1       A     I couldn't even tell. I know the CO wrote            1   anyone.
2    down because each one wrote down what joint they were         2      A No, I was not, no.
3    from, what facility. And I think the one that did             3      Q Okay. Very good. Thank you, very much,
4    mine was from Centralia. Because I had it wrote up in         4   that’s all I have.
5    the corner.                                                   5                  (End of interview)
6       Q     All right. Do you know the identity of any           6
7    of the individuals who did the shakedown?                     7
8       A     No, because we were told to look down and if         8
9    we were to turn our heads to look, I've seen -- I've          9
10   seen a couple of guys end up on the ground because           10
11   they were pulled out of line and thrown on the ground.       11
12      Q     All right. So if you -- if you didn’t obey          12
13   the --                                                       13
14      A     Yes.                                                14
15      Q     -- the command, they pulled you out of line         15
16   and threw you on the ground?                                 16
17      A     Basically, yes.                                     17
18      Q     All right. Have you undergone I facility-           18
19   wide shakedowns since that time?                             19
20      A     Yes.                                                20
21      Q     Where?                                              21
22      A     In this facility in Jacksonville.                   22
23      Q     Okay, and when was that?                            23
24      A     I don't know the actual dates, but I know I         24

                                                              9                                                          11

 1   can tell you it was completely different.                    1         I, Audrey Marie Skaja, do hereby certify or
 2        Q And complete different, how?                          2    affirm that I have impartially transcribed the
 3        A We were told to go to the gym. We were                3    foregoing from a digitally recorded statement of the
 4   handcuffed. Stand up, the COs kept telling us, “Don’t        4    above-mentioned proceedings to the best of my ability.
 5   lock your knees.” We were there for about two hours          5
 6   and then the last time that we got them come through,        6
 7   they walked us to the gym, no handcuffs.                     7
 8        They had the bleachers pulled out and we were           8
 9   able to sit on the bleachers. Hands, you know, in            9
10   front of us, behind us, wherever and we were allowed         10
11   to use the bath -- the bathrooms.                            11
12        And they said nothing about heads down except for       12
13   when we were walking from house to gym. So it was a          13
14   complete 180 of the previous two experiences.                14
15        Q Okay. And did this happen on two separate             15
16   times here?                                                  16
17        A Yes.                                                  17
18        Q Okay. During the shakedown at Big Muddy, do           18
19   you remember any other statements being made by the          19
20   officers besides what you already said?                      20
21        A Honestly, I was more concerned about not              21
22   stepping out of line and getting thrown. Because I've        22
23   -- I've seen people bloodied by Orange Crush.                23
24        Q Okay, and luckily you weren’t bloodied by             24


                                                             10                                                          12

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                                                                1        during the tactical operation, and what your
                                                                2        experience was.     I am gathering this information to
                                                                3        defend the case on behalf of I-DOC Defendants, but not

                       AUDIO TRANSCRIPTION                      4        for any disciplinary purposes against you or any other

                   Interview of Martin Flores                   5        inmates.

                      Inmate Number M19139                      6            This interview is voluntary.     I am not in a
                                                                7        position to offer you anything for participating and
                                                                8        there will be no adverse consequences if you refuse to
                                                                9        talk to me.    However, I’m hoping you are willing to
                Illinois Attorney General                       10       talk to me about what happened to you during the
          100 West Randolph Street - 13th Floor                 11       shakedown at Big Muddy 2014; if you remember.
                Chicago, Illinois 60601                         12           So is it okay if I ask you some questions?
                     (312) 814-3695                             13           A      Okay.
                                                                14           Q      All right, can you please state and spell
                                                                15       your name and give your inmate number?
                                                                16           A      My name is Martin Flores and I am 2014 at
                                                                17       the hearing.
                                                                18           Q      What’s your -- is your inmate number M --
                                                                19           A      M19139.
                                                                20           Q      19139?
                                                                21           A      M19139.
                                                                22           Q      And it is Martin Flores, F-l-o-r-e-s?
                                                                23           A      Yes.
                                                                24           Q      All right and you were at BigMuddy in 2014,


                                                            1                                                                     3
1    BY MR. JAMES DURAN:                                             1     right?
2        Q    My name is James Duran (phonetic) and I’m an           2         A Yes.
3    attorney for the state of Illinois.   I’m here today to         3         Q Okay, and do you remember the shakedown?
4    interview you about a shakedown that occurred in 2014.          4         A Yeah, I remember this day. I -- it’s
5    A lawsuit has been filed by inmates that were housed            5     something wrong with that. A couple of times, making
6    at Menard, Illinois River, Big Muddy River and                  6     a lot of noise with the bar that hold -- with the
7    Lawrence Correctional Centers against certain                   7     bridge. Who -- who knock at the door. Before you
8    individuals working for I-DOC arising out of the                8     know what happened, where they go in there, check it
9    operation.                                                      9     out and everybody put their -- take off all their
10       I’m here on behalf of the Defendants, the              10         clothing, everything like that. And turn around, my
11   employees of the I-DOC.   Certain inmates are the named    11         cell mate, he watch from other side, but no watching
12   Plaintiffs in this case and are represented by a law       12         when they taking off their clothing. They remove me
13   firm, Loevy & Loevy.   The lawsuit is a class action       13         to the laundry room. But when he moving into the
14   and at this stage, the class has not yet been              14         cell, two days. Anyway, two hours to (inaudible
15   certified by the judge.                                    15         00:02:46). You know, letting people watching nothing
16       Because you were housed at Big Muddy, you are a        16         and they led them out, front to another person. I
17   potential class member, which means that if the judge      17         remember that next to me, he got shoelaces nor a tie.
18   certifies a class, you would be represented by             18         He come alone. This is what I -- like cross measure
19   Plaintiff’s attorneys.    If the judge certifies a         19         along and he don’t --
20   class, your interest could be adverse to that of the       20                       (End of Interview)
21   Defendants.                                                21
22       You are of course, free to contact an attorney         22
23   before speaking to me.    But I would like to interview    23
24   you to get a better understanding of what happened         24


                                                            2                                                                     4

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1         I, Audrey Marie Skaja, do hereby certify or
2    affirm that I have impartially transcribed the
3    foregoing from a digitally recorded statement of the
4    above-mentioned proceedings to the best of my ability.
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adverse             day                   I’m                    Menard          River
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affirm              days                  Illinois               moving          room
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Anyway              defend                impartially            Muddy
                                                                                                  Yeah
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couple              hours                 mate                   remember        What’s



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                                                                1        during the tactical operation, and what your
                                                                2        experience was.     I am gathering this information to
                                                                3        defend the case on behalf of I-DOC Defendants, but not

                      AUDIO TRANSCRIPTION                       4        for any disciplinary purposes against you or any other

                  Interview of Kuentin Getty                    5        inmates.

                     Inmate Number M42745                       6            This interview is voluntary.     I am not in a
                                                                7        position to offer you anything for participating and
                                                                8        there will be no adverse consequences if you refuse to
                                                                9        talk to me.   However, I’m hoping you are willing to
                Illinois Attorney General                       10       talk to me about what happened during the shakedowns
          100 West Randolph Street - 13th Floor                 11       at Illinois River and Big Muddy River 2014; if you
                Chicago, Illinois 60601                         12       remember.   So is it okay if I ask you some questions?
                     (312) 814-3695                             13           A       Yes, sir.
                                                                14           Q       Okay.   Can you please state and spell your
                                                                15       name and give your inmate number?
                                                                16           A       Okay, my name is Kuentin Getty, K-u-e-n-t-i-
                                                                17       n G-e-t-t-y, Number M42745.
                                                                18           Q       All right and Mr. Getty, you were house at
                                                                19       both Illinois River and Big Muddy River in 2014; is
                                                                20       that correct?
                                                                21           A       Yes, sir.
                                                                22           Q       All right.   And we attempted to start this
                                                                23       interview a second ago and just for the record, I just
                                                                24       wanted to put it on this record that the video camera


                                                            1                                                                      3
1    BY MR. JAMES DURAN:                                             1     battery ran out. So we are starting this interview
2        Q    My name is James Duran (phonetic) and I’m an           2     over again, but I did read this statement to you when
3    attorney for the state of Illinois.   I’m here today to         3     we started the video the first time; is that correct?
4    interview you about a shakedown that occurred in 2014.          4          A Yes, sir.
5    A lawsuit has been filed by inmates that were housed            5          Q Okay. And you gave me some answers, but we
6    at Menard, Illinois River, Big Muddy River and                  6     are going to go over all this stuff again.
7    Lawrence Correctional Centers against certain                   7          A That’s fine.
8    individuals working for I-DOC arising out of the                8          Q So can you tell me what you remember about
9    operation.                                                      9     the Illinois River shakedown?
10       I’m here on behalf of the Defendants, the              10              A Before we were in our cells, you know, they
11   employees of the I-DOC.   Certain inmates are the named    11         -- throughout the camp, they were doing the whole --
12   Plaintiffs in this case and are represented by a law       12         every house in the institution. They got the
13   firm, Loevy & Loevy.   The lawsuit is a class action       13         receiving lines, they came in, you know they do their
14   and at this stage, the class has not yet been              14         little run thing around, hit the doors. Everybody
15   certified by the judge.                                    15         gets up and running, come to the door.
16       Because you were housed at Illinois River and Big      16              When I get to the door they tell one of you all
17   Muddy River, you are a potential class member, which       17         step in the back and one to the front and you get
18   means that if the judge certifies a class, you would       18         completely nude. You squat, cough, do all that stuff,
19   be represented by Plaintiff’s attorneys.   If the judge    19         but you can wipe -- when you lift, you got to lift
20   certifies a class, your interest could be adverse to       20         your testicles, stuff like that.
21   that of the Defendants.                                    21              Then they proceed to check your mouth after the
22       You are of course, free to contact an attorney         22         fact that you squat, coughed, checked, moved your
23   before speaking to me.    But I would like to interview    23         testicles and then put your hands in your mouth.
24   you to get a better understanding of what happened         24              We stayed completely nude underneath your

                                                            2                                                                      4

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 1   jumpsuit or your blues. You get to keep your shoes       1       Q So were you walked back from the basketball
 2   on. Then from that point, you step out of your cell,     2   court in the same manner you were walked out?
 3   put your head against the wall until your cellmate is    3       A Same manner that you came out, you were --
 4   done. And then he does the same, same process.           4   you were led back in.
 5       And then as I said, put your head on the guy’s       5       Q And you said they put your -- they had you
 6   ass in front of you. You stand in a straight line.       6   put your head on the guy’s ass in front of you or in
 7   As you’re walking, you walk with your head down, your    7   his ass or whatever.
 8   hands cuffed. And they proceeded to take us through      8       A Yeah, that was their words.
 9   -- back through “seg” (phonetic).                        9       Q “Put your head in his ass?”
10       Take us to the “seg” yard, the basketball court     10       A Yeah.
11   where they had us all stand and it’s like the big       11       Q Obviously, your head wasn’t in his ass.
12   square. Well they are going to be on our back, our      12       A Obviously, yeah.
13   heads down, our heads to the fence up. If anybody       13       Q But you were -- you were leaned over very
14   moved or talked, nothing like that, there was verbal    14   far in?
15   and also physical repercussions of that.                15       A Yep. Well, we’re close enough, you run into
16       We stood out in the “seg” yard for about two --     16   the guy -- literally, you run into his ass in front of
17   two-and-a-half hours while they did their shakedowns.   17   you with as close as you get, you know?
18       Q Okay. I want to ask you about the                 18       Q Okay.
19   individuals that came to your cell. The correctional    19       A Because people are stumbling, trying to walk
20   officers, were they men?                                20   with their head down, handcuffed (inaudible 00:05:37).
21       A No, they were men, yes, sir. But there was        21       Q All right. Did you have leg shackles on or
22   -- there was women present in the Orange Crush.         22   anything?
23       Q Okay. But the ones that came to your unit         23       A Not the leg shackles.
24   and strip-searched you were men?                        24       Q Okay, and you were cuffed behind your back?

                                                        5                                                             7

 1       A Were men; yes, sir.                                1       A Just cuffed behind your back.
 2       Q All right. And you were in receiving,              2       Q Did they have you bend over like at a 90
 3   correct?                                                 3   degree angle, almost?
 4       A Yep.                                               4       A Yep.
 5       Q Okay, and that’s why you got a jumpsuit            5       Q Okay, so you were very far bent over?
 6   instead of the dress blues?                              6       A Very far bent over.
 7       A Right.                                             7       Q Okay. And then you went back to your cell?
 8       Q Okay, so when you left the cell after you          8       A Yep.
 9   were strip-searched, you were allowed to put your --     9       Q And what happened there?
10   your jumpsuit back on with no underwear, right?         10       A They had one guy go to the back and one get
11       A With nothing on underneath it. No socks, no       11   -- so you -- one guy in the front. One guy had to
12   nothing. You were allowed your shoes and your           12   have his head on the wall to get handcuffed. You got
13   jumpsuit.                                               13   to the back of the cell, put your hands on the back of
14       Q Okay. And then after the -- after you were        14   your head, the same with your cellmate and they shut
15   at the basketball court facing the fence for a couple   15   the door.
16   of hours, what happened?                                16       Q Okay.
17       A We stood. We just stood there until they          17       A And that was it for that.
18   were finished, which it was really cold. It was still   18       Q Now what was the condition of your cell when
19   cold, then, you know it was raining.                    19   you arrived at it?
20       And of course, then, like I said I had the          20       A It was tore up, completely tore apart. Like
21   jumpsuit, but my belt there was broken so my jumpsuit   21   I was in receiving, I had nothing. You know, other
22   kept on falling down. And I was eventually half-naked   22   than then -- they -- they took one of my bars of soap.
23   out in the middle of the cold weather. I believe it     23   I had a brand new bar of soap, it was in the toilet
24   was in March.                                           24   for no apparent reason.

                                                        6                                                             8

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 1      Shampoo was dumped out. My bed was completely              1       Q Okay. And what was on your shakedown slip?
 2   throw apart, sheets were on the floor. All my clean           2       A Just on file, their names.
 3   boxes of shirts were all over the floor. It was a             3       Q No contraband?
 4   mess, just a complete, a complete mess.                       4       A No contraband, no.
 5      Q     And do you remember anyone saying anything           5       Q Okay.
 6   during the shakedown?                                         6       A Their signature, badge number; stuff like
 7      A     It was very funny. They thought was very             7   that.
 8   humorous to do what they were doing. They were making         8       Q All right. And then can you explain how you
 9   some -- there was monkey comments made, which were            9   were walked from the cell house at Big Muddy, where
10   intended to be racist. Basically, we have our -- have        10   did you go?
11   their -- basically they said our lives were in their         11       A We went to the -- the dining hall.
12   hands.                                                       12       Q Okay.
13      Q     Do you know the names of any of the                 13       A In the same manner. The head in the back of
14   individuals that participated in that shakedown?             14   the guy in front of you. Actually, I had my head up
15      A     Officers?                                           15   too high at one point and I was struck in the back of
16      Q     Yes.                                                16   the head with one of their clubs.
17      A     No, I do not. Not that I don't remember.            17       Q Did you receive medical attention ?
18      Q     Okay. All right, and is that the first              18       A It wasn’t enough to receive medical
19   facility-wide shakedown that you had to go through?          19   attention, no. But there was people in front of me
20      A     Yes, sir. I was transported right from              20   that were thrown down. Some people got their
21   here. I housed here but went there, and then as soon         21   shoulders messed up and they had to receive medical
22   as I got back here, they were here.                          22   attention.
23      Q     Okay. So you had the misfortune of arriving         23       Q Okay. But you didn’t receive medical
24   at -- at Big Muddy River when they were doing the            24   attention?

                                                              9                                                          11

 1   shakedown?                                                   1        A I didn’t, no.
 2       A Yeah.                                                  2        Q So you were walked to the dining area?
 3       Q How long after the Illinois River one was              3        A The dining hall, yeah.
 4   that?                                                        4        Q Okay. And what happened when you got to the
 5       A It was about a week, a week-and-a-half.                5    dining hall?
 6       Q So a week later, you show up here and what             6        A We were sat with our hands cuffed at the
 7   happened during the shakedown?                               7    table. There are four-man tables with our head down
 8       A The same -- same routine. Get naked, squat,            8    and our hands cuffed, silent. We can’t talk. There
 9   cough. I had my blues this time, I didn’t have a             9    was no talking. Anybody that talked, there was verbal
10   jumpsuit.                                                    10   and physical repercussion.
11       Q Okay. Was the strip-search the same                    11       Q All right. And did you suffer any verbal or
12   procedure as the one before?                                 12   physical repercussions?
13       A Same exact procedure, yes.                             13       A Nope, other than that one time getting
14       Q And then the only difference this time was             14   struck in the back of the head.
15   you were allowed to put your blues on because you            15       Q Okay. And how long did you remain in the
16   weren’t in a jumpsuit?                                       16   dining hall with your head on the table?
17       A I wasn’t in a jumpsuit, yep.                           17       A About two hours, two-and-a-half hours, same
18       Q All right. Was it the same case where two              18   amount.
19   individuals came to your cell to shake you down?             19       Q And then after that, where did you go?
20       A Yep, they were from Vandalia. I actually               20       A Same procedure, walked back to the cell
21   have my shakedown slip from them. It was two officers        21   house just like we've been because we were led back to
22   from Vandalia.                                               22   the cell. Then get uncuffed. One cellmate was in the
23       Q Did you know them?                                     23   back and then they uncuffed you. They shut the door
24       A No, I did not know them.                               24   and that was it.

                                                             10                                                          12

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1        Q You know can I have you just stand up and        1         I, Audrey Marie Skaja, do hereby certify or
2    put your hands behind your back and show me how you    2    affirm that I have impartially transcribed the
3    were leaned -- leaned over to do the walk?             3    foregoing from a digitally recorded statement of the
4        A Just like this.                                  4    above-mentioned proceedings to the best of my ability.
5        Q Can you walk a little further away from the      5
6    camera so I can see?                                   6
7        A Yep.                                             7
8        Q Okay. Now turn sideways some. Okay, and          8
9    that’s how you had to walk?                            9
10       A Yeah, the whole time.                            10
11       Q Okay, thank you.                                 11
12       A Yes, sir.                                        12
13       Q You can sit down. Have you had to go             13
14   through any other facility-wide shakedowns since the   14
15   one at Big Muddy?                                      15
16       A No, sir.                                         16
17       Q Okay, so it was only those two?                  17
18       A Yes.                                             18
19       Q You had all the luck?                            19
20       A Yeah, that was enough.                           20
21       Q All right. Do you remember anything that         21
22   was said by the officers during the shakedown at Big   22
23   Muddy?                                                 23
24       A Not -- not off the top of my head, no. It        24


                                                      13                                                           15

 1   is a little bit nicer here than it was at Illinois
 2   River.
 3       Q How so?
 4       A Just the verbal stuff, not as vulgar towards
 5   people.
 6       Q And when the officers came into your cell at
 7   Big Muddy, I am not sure if we covered this already,
 8   but was it two males officers you had?
 9       A Yeah, two male officers.
10       Q Okay. I have no further questions for you.
11       A Okay.
12       Q Thank you, very much.
13       A Yeah, thank you.
14                   (End of interview)
15
16
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            A              6:23                    complete                3:2                     handcuffed                 keep
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 15:4                      6:21                    completely              11:8                    hands                      kept
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 3:23                      2:6,16 3:11,19 5:11     correct                 6:22                    heads                       2:12
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 12:18                     14:1                    cough                   5:13 6:15               hit                         2:5,13
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                                                                1        during the tactical operation, and what your
                                                                2        experience was.   I am gathering this information to
                                                                3        defend the case on behalf of the Illinois Department

                     AUDIO TRANSCRIPTION                        4        of Corrections Defendants, but not for any

                  Interview of Darnell Gray                     5        disciplinary purposes against you or any other

                    Inmate Number B58568                        6        inmates.
                                                                7            This interview is voluntary.    I am not in a
                                                                8        position to offer you anything for participating and
                Illinois Attorney General                       9        there will be no adverse consequences if you refuse to
          100 West Randolph Street - 13th Floor                 10       talk to me.   However, I’m hoping that you are willing
                Chicago, Illinois 60601                         11       to talk to me about what happened during the shakedown
                     (312) 814-3695                             12       at Illinois River Correctional Center in 2014; if you
                                                                13       remember.   So is it okay if I ask you some questions?
                                                                14           A       Absolutely.
                                                                15           Q       Can you please state and spell your name and
                                                                16       give me your inmate number?
                                                                17           A       Darnell Gray, Darnell Gray; Number B58568.
                                                                18           Q       And you were housed at the Illinois River
                                                                19       Correctional Center in April of 2014; is that correct?
                                                                20           A       Yes, sir.
                                                                21           Q       And do you recall a shakedown that occurred
                                                                22       that day?
                                                                23           A       Yes, sir.
                                                                24           Q       Can you explain what you remember occurred


                                                            1                                                                     3
1    BY MR. JAMES DURAN:                                             1     during the shakedown starting at the beginning?
2        Q    My name is James Duran (phonetic) and I’m an           2         A Starting at the beginning, well, they came
3    attorney for the state of Illinois.   I’m here today to         3     to the cell, they made us strip, touch ourselves,
4    interview you about a shakedown that occurred in 2014.          4     spread ourselves, go inside our mouths and (inaudible
5    A lawsuit has been filed by inmates that were housed            5     00:02:15) and they had us put our clothes on, pants,
6    at Menard, Illinois River, Big Muddy River and                  6     no drawers, of course, blue shirt and slippers.
7    Lawrence Correctional Centers against certain                   7         They led us out to the hallway where there was
8    individuals working for Illinois Department of                  8     other guys, then we was led down to -- with heads
9    Corrections arising out of the operation.                       9     down, and they made us, it was sort of like a train.
10       I’m here on behalf of the Defendants, the              10         Made us all you know, get close together.
11   employees of the I-DOC.   Certain inmates are the named    11             We had our heads down, hands behind your back, of
12   Plaintiffs in this case and are represented by a law       12         course cuffed. And the guys waiting (inaudible
13   firm, Loevy & Loevy.   The lawsuit is a class action       13         00:02:44) going to happen to us. It was threats.
14   and at this stage, the class has not yet been              14         They had a few threats in between if a guy had, you
15   certified by the judge.                                    15         know, not saying the guys wasn’t complying because
16       Because you were housed at Illinois River              16         everyone complied.
17   Correctional Center, you are a potential class member.     17             But just the mere fact of trying to walk with
18   That means that if the judge certifies a class, you        18         your head down was -- that was kind of tough. You
19   would be represented by Plaintiff’s attorneys.    If the   19         know, trying to keep as little space in between your
20   judge certifies a class, your interest could be            20         body and the other individual as possible. So that
21   adverse to that of the Defendants.                         21         was -- that was pretty tough.
22       You are of course free to contact an attorney          22             Q Did any of the officers use physical force
23   before speaking to me.    But I would like to interview    23         on you during the incident?
24   you to get a better understanding of what happened         24             A Me personally, I wasn’t. I saw there were

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 1   guys who were; yeah.                                      1       Q What was damaged?
 2       Q You were walked out of the cell house and           2       A Magazines, clothing, they went through
 3   then you were taken to where?                             3   dumping the stuff all over. Crap, clothes, and all
 4       A To the gym.                                         4   sorts of things, yeah.
 5       Q All right, and what happened when you               5       Q Were you given any tickets or any shakedown
 6   arrived at the gym?                                       6   slips for anything in your cell?
 7       A Well, we was at the gym, we -- they lined           7       A No.
 8   everyone up. They didn’t -- the never loosened the        8       Q Okay, I have nothing further, thank you.
 9   cuffs. They never took the cuffs off or put the cuffs     9       A Yes, sir.
10   on in front, you know, like other shakedowns where       10                 (End of Interview)
11   that’s what happened.                                    11
12       We stood up there with our heads on the wall for     12
13   approximately three hours. You know, we had asked to     13
14   loosen the cuffs. We were told to shut up. Don’t         14
15   talk, keep your head on the wall, you know straight      15
16   forward.                                                 16
17       We had guys that had to use the bathroom and         17
18   because we didn’t have any water. They turned the        18
19   water and things off and then -- so we had guys that     19
20   was doing what they can from pissing on themselves and   20
21   what have you. We had guys who had medical issues        21
22   that was falling out.                                    22
23       And we had other guys who just asked me,             23
24   (inaudible 00:04:14).                                    24


                                                         5                                                             7

 1       Q When you left the gym, did you return to the       1         I, Audrey Marie Skaja, do hereby certify or
 2   cell house?                                              2    affirm that I have impartially transcribed the
 3       A Yeah.                                              3    foregoing from a digitally recorded statement of the
 4       Q And how were you brought back to the cell          4    above-mentioned proceedings to the best of my ability.
 5   house?                                                   5
 6       A In the same fashion.                               6
 7       Q All right. When you arrived at your cell,          7
 8   did you notice anything that was wrong?                  8
 9       A Yeah, it was all totally (inaudible                9
10   00:04:40). Yeah, everything was just -- I don't know,    10
11   I can’t even describe it. It was a hurricane. If         11
12   there was such thing as a hurricane coming through,      12
13   just it was terrible.                                    13
14       Q Were you missing anything from your cell?          14
15       A I wasn’t. I wasn’t missing anything, but           15
16   other guys, I don't know if I should speak on their      16
17   behalf. One or two other guys that was missing           17
18   jewelry. We had guys that was missing -- we had guys     18
19   that was missing things.                                 19
20       Q And you weren’t missing anything?                  20
21       A Me personally, no. They went through my            21
22   stuff, anyhow.                                           22
23       Q Was any of your property damaged?                  23
24       A Yeah, it was.                                      24


                                                         6                                                             8

                                                                                                    Pages 5 to 8
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Absolutely                class                                 F                        I                      M            4:21
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                                                                 1    happened during the tactical operation, and what your
                                                                 2    experience was.       I am gathering this information to
                                                                 3    defend the case on behalf of I-DOC Defendants, but not

                       AUDIO TRANSCRIPTION                       4    for any disciplinary purposes against you or any other

                   Interview of Jereoy Grines                    5    inmates.

                     Inmate Number R540131                       6        This interview is voluntary.          I am not in a
                                                                 7    position to offer you anything for participating and
                                                                 8    there will be no adverse consequences if you refuse to
                                                                 9    talk to me.       However, I’m hoping that you are willing
                Illinois Attorney General                        10   to talk to me about what happened during the shakedown
          100 West Randolph Street - 13th Floor                  11   at Big Muddy River 2014; if you remember.             So is it
                Chicago, Illinois 60601                          12   okay if we ask you some questions today?
                     (312) 814-3695                              13       A       Yeah.
                                                                 14       Q       Okay, can you please state and spell your
                                                                 15   name and give your inmate number?
                                                                 16       A       Jereoy Grines, J-e-r-e-o-y G-r-i-n-e-s.
                                                                 17       Q       What’s your inmate number?
                                                                 18       A       R540131.
                                                                 19       Q       And you’re currently at Pontiac Correctional
                                                                 20   Center, right?
                                                                 21       A       Correct.
                                                                 22       Q       All right.    Do you remember the shakedown
                                                                 23   that happened in the -- in 2014 between April and July
                                                                 24   at Big Muddy River?


                                                             1                                                                         3
1    BY MR. JAMES DURAN:                                          1        A     Yes.
2        Q      Hello, my name is James Duran (phonetic) and      2        Q     Okay. And you were housed at Big Muddy at
3    I’m an attorney for the state of Illinois.   I’m here        3    that time?
4    today to interview you about a shakedown that occurred       4        A     Correct.
5    in 2014.   A lawsuit has been filed by inmates that          5        Q     All right. How many facility-wide
6    were housed at Menard, Illinois River, Big Muddy River       6    shakedowns have you been involved in since you were
7    and Lawrence Correctional Centers against certain            7    incarcerated?
8    individuals working for I-DOC arising out of the             8        A     Like three.
9    operation.                                                   9        Q     Okay.
10       I’m here on behalf of the Defendants, the               10        A     Like three of them, three, at least three.
11   employees of the I-DOC.   Certain inmates are the named     11        Q     All right. And you said there was one
12   Plaintiffs in this case and are represented by a law        12    recently at Pontiac?
13   firm, Loevy & Loevy.   This lawsuit is a class action       13        A     There was one recently here at Pontiac.
14   and at this stage, and at this stage the class has not      14        Q     Okay. All right. First I want to talk to
15   yet been certified by the judge.                            15    you about the one that happened during the period of
16       Because you were housed at Big Muddy River,             16    April to July of 2014 down at Big Muddy River. What
17   you’re a potential class member, which means that if        17    do you recall about that shakedown?
18   the judge certifies a class, you would be represented       18        A     It was very inappropriate tactics from
19   by Plaintiff’s attorneys.   If the judge certifies a        19    officers pretending to the well-being of inmates,
20   class, your interest could be adverse to the                20    mentally and physically.
21   Defendants.                                                 21        Q     Can you tell me the first thing that you di
22       You are of course, free to contact an attorney          22    that you remember when the Tact Team came in to do the
23   before speaking to me.    But I would like to interview     23    shakedown?
24   you in order to get a better understanding of what          24        A     When they came in they was doing some kind

                                                             2                                                                         4

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 1   of check, like waving the head forward, pushing the      1       A Correct.
 2   head forward and screaming some kind of chant. And       2       Q All right, and you don’t know if it was two
 3   people -- and other inmates was saying that that was     3    men or a man and a woman that came to your cell and
 4   Hitler, some Nazi-Hitler stuff that they were doing.     4    shook you -- and strip-searched you?
 5       Q Did officers arrive at your cell and do a          5       A No, I’m not quite sure.
 6   shakedown?                                               6                (End of Interview)
 7       A Yes, they did.                                     7
 8       Q What happened when the officers arrived at         8
 9   your cell?                                               9
10       A They came to my cell and took me and my            10
11   cellmate. They strip-searched me and strip-searched      11
12   him, my cellmate. First they strip-searched me while     12
13   my cellmate was standing there and then they strip-      13
14   searched my cellmate while I was right there. And        14
15   then they took us -- then they strip-searched other      15
16   people and they took all of us to the chow hall.         16
17       Q All right, let me stop you for one second          17
18   there. When they did the strip-search, how did they      18
19   perform it? Was it a normal strip-search that is         19
20   normally done in the Department of Corrections?          20
21       A They was just -- they was telling people,          21
22   “Take off your clothes, strip naked, squat, spread       22
23   your butt.” Things of that nature.                       23
24       Q Okay. Did they have you open your mouth,           24


                                                         5                                                             7

1    move your tongue around?                                 1         I, Audrey Marie Skaja, do hereby certify or
2        A Open you’re your mouth, move your tongue,          2    affirm that I have impartially transcribed the
3    whip both of your ears, put your fingers in your ears,   3    foregoing from a digitally recorded statement of the
4    stuff like that.                                         4    above-mentioned proceedings to the best of my ability.
5        Q All right. Do you know who the officers            5
6    were that came into your cell?                           6
7        A The officers that specifically shook me            7
8    down?                                                    8
9        Q Yes.                                               9
10       A I don't know.                                      10
11       Q Do you know the race of the officers who           11
12   shook you down?                                          12
13       A Caucasian, white men, white.                       13
14       Q Okay, were they both white?                        14
15       A Yes.                                               15
16       Q As there any black officers involved?              16
17       A It was a white man and a white woman and a         17
18   white -- two white men.                                  18
19       Q All right, was there any black officers that       19
20   took part in the operation?                              20
21       A That took part in the operation, to my             21
22   specific knowledge, like one or two black officers.      22
23       Q Okay. So out of the whole -- out of the            23
24   whole Tact Team, there was one or two black officers?    24


                                                         6                                                             8

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ability                  clothes                  give                   Lawrence                  perform                    shook
 8:4                      5:22                     3:15                   2:7                       5:19                       6:7,12 7:4
above-mentioned          consequences             Grines                 lawsuit                   period                     Skaja
 8:4                      3:8                      1:5 3:16               2:5,13                    4:15                       8:1
action                   contact                                         Loevy                     phonetic                   speaking
 2:13                     2:22                                H           2:13,13                   2:2                        2:23
adverse                  Correct                  hall                                             physically                 specific
 2:20 3:8                 3:21 4:4 7:1             5:16                            M                4:20                       6:22
affirm                   Correctional             happened               man                       Plaintiff’s                specifically
 8:2                      2:7 3:19                 3:1,10,23 4:15 5:8    6:17 7:3                   2:19                       6:7
April                    Corrections              head                   Marie                     Plaintiffs                 spell
 3:23 4:16                5:20                     5:1,2                 8:1                        2:12                       3:14
arising                  course                   Hello                  means                     please                     spread
 2:8                      2:22                     2:2                   2:17                       3:14                       5:22
arrive                   currently                Hitler                 member                    Pontiac                    squat
 5:5                      3:19                     5:4                   2:17                       3:19 4:12,13               5:22
arrived                                           hoping                 men                       position                   stage
 5:8                                D              3:9                   6:13,18 7:3                3:7                        2:14,14
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AUDIO                    Department                                      mouth                     proceedings                statement
                                                  I-DOC
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                                                  I’m
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                         digitally                                       Muddy                     pushing                    Street
                                                  Illinois
           B              8:3                                            2:6,16 3:11,24 4:2,16      5:1                        1:11
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                         disciplinary                                                              put                        strip
behalf                                            impartially
                          3:4                                                       N               6:3                        5:22
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                         doing                                                                                                strip-
best                                              inappropriate          naked
                          4:24 5:4                                                                             Q               5:13
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                         don’t                                                                     questions                  strip-search
better                                            incarcerated           name
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                         Duran                                                                     quite                      strip-searched
Big                                               individuals            named
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                                                                                                                              stuff
black                                             information            nature
                                   E                                                                           R               5:4 6:4
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                                                                                                                              sure
butt                     ears                     inmate                 Nazi-Hitler               R540131
                                                                                                                               7:5
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                          2:11                     2:5,11 3:5 4:19 5:3    5:19                      6:11                                 T
           C
                         experience               interest               normally                  Randolph                   Tact
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                                                   4:6 6:16                          O              8:3                        4:18
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                                                                                                   refuse                     Take
cellmate                 filed                                           occurred
                                                                J                                   3:8                        5:22
 5:11,12,13,14            2:5                                             2:4
                                                                                                   remember                   talk
Center                   fingers                  J-e-r-e-o-y            offer
                                                                                                    3:11,22 4:22               3:9,10 4:14
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                                                                                                   represented                Team
Centers                  firm                     James                  officers
                                                                                                    2:12,18                    4:22 6:24
 2:7                      2:13                     2:1,2                  4:19 5:5,8 6:5,7,11,16
                                                                                                   right                      tell
certain                  first                    Jereoy                    6:19,22,24
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certifies                foregoing                July                   open
                                                                                                                               4:21
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                                                                                                               S              Things
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                                                                                                                               5:23
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                                                                                                                              three
chant                    free                     kind                   order                      5:3
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                                                                                                                              time
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Chicago                  G-r-i-n-e-s              knowledge              part                       5:14
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                                                  law                                                                          8:2
                                                                                                   shakedowns


                                                                                                                                                   1
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                                                                1        during the tactical operation, and what your
                                                                2        experience was.   I am gathering this information to
                                                                3        defend the case on behalf of I-DOC Defendants, but not

                       AUDIO TRANSCRIPTION                      4        for any disciplinary purposes against you or any other

                   Interview of Roberto Guzman                  5        inmates.

                      Inmate Number M36795                      6             This interview is voluntary.     I am not in a
                                                                7        position to offer you anything for participating and
                                                                8        there will be no adverse consequences if you refuse to
                                                                9        talk to me.   However, I’m hoping you are willing to
                Illinois Attorney General                       10       talk to me about what happened to you during the
          100 West Randolph Street - 13th Floor                 11       shakedown at Big Muddy 2014; if you remember.
                Chicago, Illinois 60601                         12            So is it okay if I ask you some questions?
                     (312) 814-3695                             13            A     Yes.
                                                                14            Q     Can you please state your name and give your
                                                                15       inmate number?
                                                                16            A     Guzman, Roberto, M36795.
                                                                17            Q     And you were housed at Menard Correctio
                                                                18       Center, April of 2014; is that correct?
                                                                19            A     Yes.
                                                                20            Q     And you recall a shakedown that happened at
                                                                21       Menard?
                                                                22            A     Yes.
                                                                23            Q     Can you explain to me what happened at that
                                                                24       time shakedown starting at the beginning, the first


                                                            1                                                                   3
1    BY MR. JAMES DURAN:                                             1     thing you remember?
2        Q    My name is James Duran (phonetic) and I’m an           2         A The first thing I remember I was laying down
3    attorney for the state of Illinois.   I’m here today to         3     and heard a bunch of noise. I heard, they were
4    interview you about a shakedown that occurred in 2014.          4     hitting bars with clubs. They were -- I am assuming
5    A lawsuit has been filed by inmates that were housed            5     there was clubs, I didn’t see them, but I heard it.
6    at Menard, Illinois River, Big Muddy River and                  6     They were stomping their feet, came to my cell and
7    Lawrence Correctional Centers against certain                   7     started yelling and they were real aggressive with me.
8    individuals working for Illinois Department of                  8     They were aggressive with everyone that was around my
9    Corrections arising out of the operation.                       9     area. Told me to strip down and told me to touch all
10       I’m here on behalf of the Defendants, the              10         my private areas and then after that told me to put m
11   employees of the Illinois Department of Corrections.       11         hands in my mouth. Show then that I didn’t have
12   Certain inmates are the named Plaintiffs in this case      12         nothing inside my mouth. And put my hands on my hair.
13   and are represented by a law firm, Loevy & Loevy.    The   13         From there they cuffed me up real tight.
14   lawsuit is a class action and at this stage, the class     14             Q I’m going to back you up for one second.
15   has not yet been certified by the judge.                   15         When they -- when they did the strip-search that was
16       Because you were housed at Menard, you are a           16         at our cell; is at that time right?
17   potential class member, which means that if the judge      17             A Yeah.
18   certifies a class, you would be represented by             18             Q And was it done by male or female?
19   Plaintiff’s attorneys.   If the judge certifies a          19             A Male.
20   class, your interest could be adverse to the               20             Q Okay, and continue on. You were handcuffed
21   Defendants.                                                21         behind your back?
22       You are of course, free to contact an attorney         22             A Yeah, real tight, though.
23   before speaking to me.   But I would like to interview     23             Q Were you -- after you were strip-searched,
24   you to get a better understanding of what happened         24         were you allowed to put on clothes?

                                                            2                                                                   4

                                                                                                               Pages 1 to 4
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 1        A Yes.                                              1    And people were complaining about that, also, and they
 2        Q What clothes did you put on?                      2    were being real rude, talking real tough to us.
 3        A Sweat -- they -- they allowed me to put on        3        Q What were they saying?
 4   either shorts or sweat pants and one t-shirt. Put on     4        A Just pretty much, “Get your ass in line.
 5   some sweatpants and a shirt and my sandals, my shower    5    You shouldn’t obtain jail or prison.” Just cursing at
 6   shoes. And they cuffed me up. They cuffed me up real     6    certain individuals.
 7   tight. And I told them it was real tight and they        7        Q Okay, thank you very much.
 8   just act like they didn’t hear me. Walk me to the        8        A All right.
 9   chapel. And when we got to the chapel, they told us      9                  (End of Interview)
10   to put our head against the wall.                        10
11        Q All right, how were you walked to the             11
12   chapel?                                                  12
13        A Cuffed -- in a line cuffed up. They just          13
14   grabbed me from behind. And when we got to the           14
15   chapel, they told us to put our heads against the        15
16   wall. And a lot of people started complaining because    16
17   it felt like hours that we were there.                   17
18        We didn’t know how long we were in there, we        18
19   didn’t have no watch, you know. And our necks started    19
20   hurting and I had to use the washroom. I told them I     20
21   had to use the washroom and he told me -- he told me,    21
22   “Shut the fuck up and keep your head against the         22
23   wall.”                                                   23
24        After all that was done, they took us back to the   24


                                                         5                                                             7

 1   cell and they -- man, they ran through everything.        1
 2   Opened food up, spilled it all on the floor, crushed      2        I, Audrey Marie Skaja, do hereby certify or
 3   my headphones, my pictures were crushed. I was            3   affirm that I have impartially transcribed the
 4   missing an address book.                                  4   foregoing from a digitally recorded statement of the
 5       Took a whole bunch of cable that I -- cables that     5   above-mentioned proceedings to the best of my ability.
 6   I had for my TV. Extra headphone extensions.              6
 7   Everything was everywhere. It took me about two hours     7
 8   to put everything together.                               8
 9       And I got a shakedown slip, but it said nothing       9
10   found, what I -- everything they took. Chess pieces      10
11   were missing. Cards I had, playing cards, there was      11
12   cards missing. And that was it.                          12
13       Q When asked to go to the bathroom and were          13
14   not allowed to use it, did you hold it and wait until    14
15   you went back into your cell to go to the bathroom?      15
16       A Yeah.                                              16
17       Q At any time during this shakedown, did any         17
18   of the officers beat you?                                18
19       A No, no. They didn’t beat me, but I                 19
20   witnessed some grabbing people from their hair. When     20
21   people were complaining about their necks, they          21
22   grabbed their head and put it against the wall. And      22
23   they made -- they also made us, when we were going to    23
24   the chapel, get real close to each other, real close.    24


                                                         6                                                             8

                                                                                                    Pages 5 to 8
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                                                                1        during the tactical operation, and what your
                                                                2        experience was.    I am gathering this information to
                                                                3        defend the case on behalf of I-DOC Defendants, but not

                      AUDIO TRANSCRIPTION                       4        for any disciplinary purposes against you or any other

                   Interview of Brandon Hall                    5        inmates.

                     Inmate Number R33922                       6            This interview is voluntary.    I am not in a
                                                                7        position to offer you anything for participating and
                                                                8        there will be no adverse consequences if you refuse to
                                                                9        talk to me.   However, I’m hoping you are willing to
                Illinois Attorney General                       10       talk to me about what happened to you during the
          100 West Randolph Street - 13th Floor                 11       shakedown at Big Muddy 2014; if you remember.    So is
                Chicago, Illinois 60601                         12       it okay if I ask you some questions   today?
                     (312) 814-3695                             13           A      Sure.
                                                                14           Q      Okay, can you state and spell your name and
                                                                15       give your inmate number?
                                                                16           A      Brandon Hall, B-r-a-n-d-o-n H-a-l-l, ID
                                                                17       number R33922.
                                                                18           Q      And you were housed at Big Muddy in 2014; is
                                                                19       that correct?
                                                                20           A      Correct.
                                                                21           Q      Do you remember a shakedown that happened in
                                                                22       2014?
                                                                23           A      Yes, sir.
                                                                24           Q      What do you remember about that shakedown?


                                                            1                                                                     3
1    BY MR. JAMES DURAN:                                             1         A The shakedown basically came out of the
2        Q    My name is James Duran (phonetic) and I’m an           2     blue. Orange Crush came on the wings, came to the
3    attorney for the state of Illinois.   I’m here today to         3     doors, instructed everybody to get to the back of
4    interview you about a shakedown that occurred in 2014.          4     their cells. I recognized a few of the officers from
5    A lawsuit has been filed by inmates that were housed            5     a previous penitentiary.
6    at Menard, Illinois River, Big Muddy River and                  6         All the cell doors were unlocked at that time.
7    Lawrence Correctional Centers against certain                   7     Me as well as my cellmate were ordered to strip in
8    individuals working for I-DOC arising out of the                8     front of each other. Then we were then -- we dressed
9    operation.                                                      9     back into our clothes. We were secured by handcuffs,
10       I’m here on behalf of the Defendants, the              10         ordered out of the cell and basically at that time we
11   employees of the Illinois Department of Corrections.       11         were instructed to hold our heads down, you know, be
12   Certain inmates are the named Plaintiffs in this case      12         like leaned in a line formation with our head on the
13   and are represented by a law firm, Loevy & Loevy.    The   13         person in front of us backs.
14   lawsuit is a class action and at this stage, the class     14             Stated, you know, I had some back issues and that
15   has not yet been certified by the judge.                   15         I couldn’t bend down like that. Basically, they told
16       Because you were housed at Big Muddy, you are a        16         me to do it or I would be forced to do it. They would
17   potential class member, which means that if the judge      17         force me to do it. And I was housed in dietary and
18   certifies a class, you would be represented by             18         chow hall for -- to me sounded like an unsubstantial
19   Plaintiff’s attorneys.   If the judge certifies a          19         amount of time with my head having to be on the table
20   class, your interest could be adverse to those of the      20         and having some physical ailments of not being able to
21   Defendants.                                                21         do that.
22       You are of course, free to contact an attorney         22             Q What physical ailments did you have?
23   before speaking to me.   But I would like to interview     23             A I have a degenerative bone disease in my
24   you to get a better understanding of what happened         24         back.

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 1       Q You said you recognized some of the                 1   stayed at the foot of the door and just basically gave
 2   officers. Who did you recognize?                          2   out commands.
 3       A I forgot their names, but they were                 3       Q Okay. Were they men or women?
 4   employees of Vienna Correctional Center and that’s        4       A I recall men, but there were women present
 5   where I was housed before I came here. I’d recognize      5   in the general areas while the strip-search was taking
 6   them if I see them again; I just don’t remember their     6   place.
 7   names.                                                    7       Q All right. And during -- at any time during
 8       Q You were -- you said that you were ordered          8   the strip-search or the shakedown, did anyone forcibly
 9   to move to the back of your cell and then you were --     9   hit you at all?
10   were you stripped inside your cell?                      10       A No.
11       A Yes.                                               11       Q Do you remember anyone saying anything in
12       Q And can you explain the strip-search               12   particular at all to you or did you guys -- did you
13   procedure that was used on you?                          13   say anything back?
14       A Basically, I was told to get naked. The            14       A Initial contact with Orange Crush, you know,
15   normal, you know, show your gums, mouth, brush your      15   I’m standing at the door, basically yelled and I
16   hair, check behind the ears, lift your scrotum, and      16   spittle from them yelling through a choke-hold
17   then turn around and bend over and cough. And that       17   (phonetic) to get back. You know I felt like I was
18   was done right in front of my cellmate.                  18   going home, so I’m like, “What the fuck are you
19       Q Was your cellmate facing you or was he             19   talking about?” You know, they’re like, “Get the fuck
20   facing the wall?                                         20   back.” And that’s when I realized, “Hey, I know you,
21       A He was basically just like facing me because       21   you know.” I didn’t know that it was that aggressive
22   there is really nowhere to face. They didn’t -- they     22   type of setting, you know?
23   instructed us to turn around and face the wall. It       23       Q Have you had shakedowns since then?
24   was, you know, get naked, strip, and that was it,        24       A No, this was my first actual shakedown and

                                                         5                                                             7

 1   basically.                                                1   any type of dealing with Orange Crush on there. Never
 2        Q All right. And after you were stripped, you        2   had an Orange Crush before this.
 3   were allowed to put on clothes, right?                    3       Q And not since, either?
 4        A Yes.                                               4       A And not since.
 5        Q What clothes did you put on?                       5       Q Okay. So you said you were taken to the
 6        A I remember putting on a t-shirt, boxers, and       6   chow hall and you had to put your head on the table?
 7   if I recall correctly, I want to say my DOC blue pants    7       A Yes.
 8   and that was it.                                          8       Q How long did you remain with your head on
 9        Q Did you have shoes?                                9   the table?
10        A Oh, yeah, shoes as well.                          10       A To me it felt like at least 35 to 45
11        Q And after you were strip-searched, was your       11   minutes, but it was the duration of them shaking
12   cellmate strip-searched?                                 12   ourselves down and securing ourselves. And it was for
13        A He was strip-searched in the same fashion in      13   the whole house, it wasn’t just one lead at a time, it
14   the cell.                                                14   was the whole house.
15        Q All right, when he was being strip-searched,      15       So however long it took. It basically was
16   were you facing him or were you facing the wall or       16   uncomfortable setting, just walking and sitting in the
17   something else?                                          17   chow hall like that.
18        A Just basically facing that general area.          18       Q And after the chow hall were you then
19        Q How many individuals were in your cell and        19   marched back to your cell house?
20   ordered you to strip-search?                             20       A Correct. Same fashion. Your head had to be
21        A Besides me and my cellmate, there was two         21   -- you had to be leaned over with your head on the
22   officers at the door.                                    22   man’s back in front of you. There was -- there was no
23        Q Who were the officers?                            23   leeway. You couldn’t stand up straight, you couldn’t,
24        A The officers never came into the cell. They       24   you know, walk on your own. You had to be in that

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 1   formation.
 2       Q And then when you arrived at the cell house,
 3   what happened to you?
 4       A Basically, you were taken to your cell and
 5   the handcuffs came off and you were secured in your
 6   cell.
 7       Q Okay. Was that the end of the incident?
 8       A Yes.
 9       Q Okay. All right, thank you very much. I
10   don't have any other questions.
11       A Okay.
12               (End of Interview)
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1         I, Audrey Marie Skaja, do hereby certify or
2    affirm that I have impartially transcribed the
3    foregoing from a digitally recorded statement of the
4    above-mentioned proceedings to the best of my ability.
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                                                                1        during the tactical operation, and what your
                                                                2        experience was.    I am gathering this information to
                                                                3        defend the case on behalf of I-DOC Defendants, but not

                       AUDIO TRANSCRIPTION                      4        for any disciplinary purpose against you or any other

                   Interview of Percy Hawkins                   5        inmates.

                      Inmate Number B39526                      6            This interview is voluntary.    I am not in a
                                                                7        position to offer you anything for participating and
                                                                8        there will be no adverse consequences if you refuse to
                                                                9        talk to me.   However, I’m hoping that you are willing
                Illinois Attorney General                       10       to talk to me about what happened during the shakedown
          100 West Randolph Street - 13th Floor                 11       at Menard 2014; if you remember.   So is it okay if we
                Chicago, Illinois 60601                         12       talk about this today?
                     (312) 814-3695                             13           A      Yeah.
                                                                14           Q      Can you please state and spell your name and
                                                                15       give your inmate number for the record?
                                                                16           A      P-e-r-c-y H-a-w-k-i-n-s, B39526.
                                                                17           Q      All right, and we’re going to talk about the
                                                                18       shakedown that occurred in April 2014 at Menard
                                                                19       Correctional Center.   Do you remember that shakedown?
                                                                20           A      Yeah.
                                                                21           Q      Can you tell me what happened that day?
                                                                22           A      Like what you want to know?
                                                                23           Q      What’s the first thing you remember about
                                                                24       the shakedown?


                                                            1                                                                    3
1    BY MR. JAMES DURAN:                                             1          A Well, they -- the Orange Crush guys come
2        Q    My name is James Duran (phonetic) and I’m an           2     flying down. They got it, beating on the bars and
3    attorney for the state of Illinois.   I’m here today to         3     shit, you know what I am saying? Screaming and
4    interview you about a shakedown that occurred in 2014.          4     hollering, you know what I am saying?
5    A lawsuit has been filed by inmates that were housed            5          I got shotgun on you while telling everyone to
6    at Menard, Illinois River, Big Muddy River and                  6     get up, screaming and cussing at everybody, you know,
7    Lawrence Correctional Centers against certain                   7     all that. Tell us to get up, you know what I am
8    individuals working for I-DOC arising out of the                8     saying, one at a time. Take all our clothes off,
9    operation.                                                      9     strip us, made one of us go to the back of the cell,
10       I’m here on behalf of the Defendants, the              10         one of us stand in front. Take everything off, then
11   employees of the I-DOC.   Certain inmates are the named    11         the cavity search.
12   Plaintiffs in this case and are represented by a law       12              They didn’t put their hands up in us, but the
13   firm, Loevy & Loevy.   The lawsuit is a class action       13         want you to bend over, cough, pull up your balls, all
14   and at this stage, the class has not yet been              14         this -- all that old shit. You know what I’m saying,
15   certified by the judge.                                    15         don’t put no underwear on, don’t put no socks on, just
16       Because you were housed at Menard, you are a           16         wear your shower shoes.
17   potential class member, which means that if the judge      17              And they get us out of the cell. They cuffed us
18   certifies a class, you would be represented by             18         all up behind our back, tell us to keep our head down,
19   Plaintiff’s attorneys.    If the judge certifies a         19         don’t talk. Stay in the line. They got everybody so
20   class, your interest could be adverse to that of the       20         close up on each other that your hands cuffed behind
21   Defendants.                                                21         your back, your head down.
22       You are of course, free to contact an attorney         22              And they push you down. And the guy behind you,
23   before speaking to me.    But I would like to interview    23         his nuts and shit is in your hands and so forth and so
24   you to get a better understanding of what happened         24         on, like sardines and shit. And they marching people,

                                                            2                                                                    4

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1    you know what I am saying? At a fast pace, too, you       1   face or anything.
2    know, the fuckers got us like jogging, you know. And      2       Q Were they men or women?
3    --                                                        3       A It was men and women.
4         Q Where were you taken to?                           4       Q Who shook you down? Was it men or women?
5         A We was taken to the chapel. You know, we           5       A Them was (inaudible 00:05:30).
6    was taken into the chapel. And then they lined us all     6       Q Men shook you down?
7    up, you know what I’m saying, against the wall and        7       A Yeah, it was (inaudible 00:05:32).
8    shit, you know what I am saying? It was hot as hell       8       Q All right, and then they -- can you describe
9    in there.                                                 9   the strip-search itself?
10        They got us lined up against the wall, people       10       A They tell you take off all your clothes, put
11   falling out and sweating. They cried, the                11   them in a box, give them to them, you know what I am
12   motherfuckers wouldn’t -- they sticks, you know.         12   saying? They told us to just give them. The only
13   People coming up out of their shoes as they -- they      13   thing they was going to allows us to put on was our
14   running us over there, their shoe come off.              14   blue pants, blue shirt and shower shoes. No
15        Ain’t no stopping to get your shoe. One of mine     15   underwear, no t-shirt, no socks.
16   came off, couldn't get that, you know what I’m saying?   16       You know, so once they -- you -- you get that,
17   So now here it is, I’m standing in the chapel with one   17   you know what I’m saying? They tell you to lift up
18   shower shoe on and one shoe off. You know, and we        18   your arms and shit; you know what I’m saying? Open
19   never got those back, you know.                          19   your mouth. So they go through all your mouth, push
20        So I think it was wet out there, too. I can’t       20   your mouth. Check your ears and shit, behind your
21   remember. But yeah, we stood up in there about --        21   ears.
22   about two hours, I would say. Maybe a little more        22       All this here and all that, you know, lift up
23   than two hours. Had us stand up against that wall.       23   your nuts, pull the foreskin of your nuts back.
24        Q And then after you stood against the wall in      24   Spread your balls apart, shit. Life your leg up so

                                                         5                                                                7

1    the chapel were you taken back to your cell?              1   that they can see in between the crevices of your
2        A Yeah, after -- after they finished doing            2   legs. Look at your bellybutton, look through your
3    whatever it was they was doing in the cell house. I’d     3   toes, turn around, do the same thing that way.
4    say, and nobody done anything for it, to deserve it.      4      I don't even got hair and they told me to rub my
5    They just came down and get us.                           5   hands over my head. Bend over at the waist and shit,
6        It seemed like they was just coming, like I say,      6   you know what I am saying? Spread my ass open to
7    any single time something happen with just one or two     7   them. Get them two coughs, you know what I am saying?
8    people that did something to anybody. Then here they      8      That ain’t good enough, give them some more
9    come, you know what I am saying, punish the whole         9   cough. Then lift your feet up and show them the
10   joint for -- for whatever happened with two people or    10   bottom of your feet and wiggle your toes again. Then
11   one person or whatever.                                  11   squat down and cough.
12       Everybody else took the punishment for it. You       12      Q    Okay.
13   know, because what else? I mean, why keep coming         13      A    Yeah.
14   down, there no issue?                                    14      Q    When you were at the chapel, did you notice
15       Q Okay. I am going to back you up to the             15   if there were any medical people around?
16   strip-search, the initial strip-search of yourself.      16      A    Nope, nobody was in there, but was no
17   Who did the strip-search on you, if you remember?        17   medical people offering amenities. Was nobody in
18       A Now, we don’t know. It was some Orange             18   there but Orange Crush. Like a few officers that --
19   Crush guys, that’s all we know. We -- we couldn't see    19   that’s from around in the cell houses and stuff that
20   no nametags. They had their shields on so you            20   you -- you could see like white shirts and shit like
21   basically couldn't see their face. And shit, they        21   that.
22   were just Orange Crush.                                  22      Wasn’t no -- no, we didn’t see no medical techs
23       You know, they had on orange suits, gloves, and      23   or nothing because I know down there, the guys was not
24   the mask down on they shield, you couldn’t see any       24   down there.

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 1       Q Do you know about what time this shakedown          1      A lot of my books was torn. They tore the spines
 2   started?                                                  2   on the books.
 3       A It was sometime in there morning on this --         3      Q    Could you identify any individuals by name
 4   on this shift, here.                                      4   that took part in the shakedown?
 5       Q Okay, the seven to three shift?                     5      A   Really? I just told you, seriously, right?
 6       A Yeah, it was sometime on this shift, here.          6   We couldn't see nobody face because they made us keep
 7       Q When you were in the chapel, did you stand          7   our heads down. And we didn’t see no nametags because
 8   the whole time or were you allowed to sit at all?         8   none of them had any on.
 9       A We stood all but about probably about 15            9      Now, if they had on a nametag, they had that shit
10   minutes. Right before they came and got up out of        10   on before they came down to the gallery and was saying
11   there, they told us we could sit in the seats. When      11   anything to us. When we stepped out of there, they
12   they let us -- yeah, they let us all finally sit in      12   had they sticks up ready to swing and we all had our
13   the seats.                                               13   heads down. They told us to keep our heads down.
14       With those guys that was falling out and shit,       14      And you know some people I guess was trying to
15   you know what I am saying, and passing out. It was       15   see if they was joking and they got hit. I didn’t
16   when we was sitting in the seats it was so hot in        16   want to get hit so I didn’t put my head up. But we
17   there, we were sitting in the seats. They still had      17   couldn't see nothing in face, no. Even the ones that
18   us cuffed.                                               18   where they were shaking the cell down, they had their
19       And it was super uncomfortable trying to adjust      19   shields down, couldn’t see their face.
20   to the seat because the seats in Menard, they -- they    20      Q    Okay.
21   like movie theatre. They spring-loaded seats and so      21      A   Yeah.
22   you -- you ain’t have your own -- put your arms, and     22      Q    Okay. Thank you, very much.
23   they got your arms behind you.                           23      A   All right.
24       And guys was falling off the seats and I don't       24      Q    All right.

                                                         9                                                                 11

1    know what they did with them. They just threw them        1                        (End of interview)
2    off. I don't know what they did with them, then.          2
3        Q When you arrived back at your cell, did it          3
4    appear that your cell had been shaken down, too?          4
5        A My cell was tore up. It looked like a               5
6    tornado had hit it and not just one cell, but you         6
7    could see debris all up and down the gallery. And the     7
8    cells was just as bad because me and my cellmate’s        8
9    shit, all our shit was mixed together.                    9
10       You know, and they just had everything and a lot     10
11   of shit was broke. Shit was smashed. Food was all        11
12   smashed up. You know they -- they didn’t -- no, they     12
13   just tore the shit up. Just like --                      13
14       Q And then --                                        14
15       A It didn’t look like a shakedown. It looked         15
16   like they just went in there and wrecked it.             16
17       Q Was anything missing?                              17
18       A Nothing but a lot of shit tore up in my            18
19   cell. And food busted and everything. Other than         19
20   that, I can’t recall anything missing. I just know a     20
21   hole bunch of stuff was tore up.                         21
22       Cassette tapes that I had bought that was broken.    22
23   You know I had to throw away food, like I said, busted   23
24   that we had to clean up and throw away. That was it.     24

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1         I, Audrey Marie Skaja, do hereby certify or
2    affirm that I have impartially transcribed the
3    foregoing from a digitally recorded statement of the
4    above-mentioned proceedings to the best of my ability.
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                                                                 1        during the tactical operation, and what your
                                                                 2        experience was.    I am gathering this information to
                                                                 3        defend the case on behalf of I-DOC Defendants, but not

                      AUDIO TRANSCRIPTION                        4        for any disciplinary purposes against you or any other

                   Interview of Antwan Jones                     5        inmates.

                     Inmate Number K71432                        6            This interview is voluntary.    I am not in a
                                                                 7        position to offer you anything for participating and
                                                                 8        there will be no adverse consequences if you refuse to
                                                                 9        talk to me.   However, I’m hoping you are willing to
                Illinois Attorney General                        10       talk to me about what happened during the shakedown at
          100 West Randolph Street - 13th Floor                  11       Big Muddy 2014; if you remember.   So is it okay if I
                Chicago, Illinois 60601                          12       ask you some questions?
                     (312) 814-3695                              13           A      Yeah.
                                                                 14           Q      All right.   Can you please state and spell
                                                                 15       your name and give your inmate number?
                                                                 16           A      Antwan Jones, A-n-t-w-a-n J-o-n-e-s, K71432.
                                                                 17           Q      All right, and you were housed at Big Muddy
                                                                 18       in 2014; is that correct?
                                                                 19           A      Yes.
                                                                 20           Q      All right.   Do you recall a facility-wide
                                                                 21       shakedown that occurred in 2014 at Big Muddy?
                                                                 22           A      Yes.
                                                                 23           Q      And what’s -- what do you recall about it?
                                                                 24           A      Well, it’s --


                                                             1                                                                     3
1    BY MR. JAMES DURAN:                                              1          Q Where were you housed, first?
2        Q    My name is James Duran (phonetic) and I’m an            2          A It’s -- I was in Three House, D Wing, I want
3    attorney for the state of Illinois.   I’m here today to          3     to say twenty -- Cell 28. I think it was. It just so
4    interview you about a shakedown that occurred in 2014.           4     happened I was in there with the -- a big fella named
5    A lawsuit has been filed by inmates that were housed             5     Dirty (phonetic) that all the police get along with.
6    at Menard, Illinois River, Big Muddy River and                   6     So they just so happened to send the biggest guy that
7    Lawrence Correctional Centers against certain                    7     they had on Orange Crush to our room. When they
8    individuals working for I-DOC arising out of the                 8     opened up the door it was like it was fun and games.
9    operation.                                                       9     All the police play with Big Dirty.
10       I’m here on behalf of the Defendants, the               10              So when we opened the door, it’s like the biggest
11   employees of the I-DOC.   Certain inmates are the named     11         one and they came in there, playing with him and they
12   Plaintiffs in this case and are represented by a law        12         told us to get naked. And they making jokes and after
13   firm, Loevy & Loevy.   This lawsuit is a class action       13         they got finished playing with him, I forgot what
14   and at this stage, the class has not yet been               14         lieutenant came down there and laughed, like, “Yeah,
15   certified by the judge.                                     15         we sent the biggest one down here for you.”
16       Because you were housed at Big Muddy, you are a         16              When they took us to the chow hall by -- like I
17   potential class member, which means that if the judge       17         said all the officers that know him, we at the same
18   certifies a class, you would be represented by              18         table, cuffed up. And one of the officers, I don't
19   Plaintiff’s attorneys.    If the judge certifies a          19         know if he was a new officer or what, but he dropped
20   class, your interest could be adverse to those of the       20         the canister. Like the big mace canister and the
21   Defendants.                                                 21         whole chow hall was lit. And he’s doing that just by
22       You are of course, free to contact an attorney          22         playing with Dirty.
23   before speaking to me.    But I would like to interview     23              Q Okay. Oh, so he accidentally dropped the --
24   you to get a better understanding of what happened          24              A Yeah.

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 1        Q -- the mace canister?                              1   it on the floor. We had to pick it up and put it back
 2        A Yeah.                                              2   on.
 3        Q And it mace the whole place?                       3       Q Okay. So what was it? Was it pants, shirt?
 4        A Yeah.                                              4       A Well, when they came, we didn’t have on our
 5        Q Filled it up? Just by goofing around?              5   pants. We had on boxers because we knew they was
 6        A Yeah.                                              6   coming to shake down.
 7        Q All right.                                         7       Q And how did you know that?
 8        A We all in there coughing. I’m sure                 8       A We heard them.
 9   everybody will remember that.                             9       Q Okay.
10        Q All right. I want to go back to when they         10       A Come through the -- through the door.
11   first arrived at your cell. So you said it was the       11       Q Okay. So they let you put clothes back on?
12   biggest -- the biggest that they had there get in your   12       A Yeah.
13   cell?                                                    13       Q And then shoes, too?
14        A Yeah.                                             14       A Uh-hum.
15        Q And was it one -- just one guy came to your       15       Q Okay. And were you cuffed again?
16   cell?                                                    16       A No. We had on shower shoes.
17        A No. It was two.                                   17       Q Okay.
18        Q Two guys, okay.                                   18       A I think it was. And when they -- when they
19        A Yeah, he came with somebody.                      19   took us outside the room, we put our heads on the
20        Q Okay, and they were both men?                     20   wall, and when they -- when they shook the room down,
21        A Yeah.                                             21   and after they got finished they lined us up to go out
22        Q All right. And then they -- they did the          22   the door.
23   strip-search?                                            23       Q Where are you?
24        A Yeah.                                             24       A Well -- well, they didn’t shake down at that

                                                         5                                                             7

 1       Q How was the strip-search performed?                 1   time.
 2       A Well, they had -- they had him come first,          2        Q Okay.
 3   so I had to go to the back and face the wall. Then        3        A Now, when they locked us up to go outside,
 4   they told him to bend over and they were making all       4   it was a guy in Cell 24 or 25, he was in a corner
 5   type of comments like, “Yeah, look at that hole.” And     5   cell. And as they kept telling us to put our head
 6   I’m just thinking to myself, like wow.                    6   down on -- on the person in front of us. They were
 7       And they really didn’t do nothing to me because I     7   telling to put our -- our foreheads on their back.
 8   guess they -- the whole thing was to come and mess        8        They took somebody off to the side and really did
 9   with him. But then after they -- after they got to        9   them in. I think they broke his arm.
10   me, there was no plan. I guess it was back to            10        Q Okay. They didn‘t break your arm, though?
11   business because I don't play with police like that.     11        A No.
12       And they told me to strip. Open the butt cheeks      12        Q So they told you to -- they told you to line
13   and you know, do all that, go through all that.          13   up and put our head -- how did -- how did you?
14       Q Was there anything different about that            14        A We put our head on the person that was in
15   strip-search then other strip-searches that you have     15   front of us, put it on their back.
16   had in the prisons or was it just a normal strip-        16        Q Okay.
17   search?                                                  17        A And don’t look up. Anybody -- they kept
18       A Yeah, it was just a normal strip-search.           18   screaming, “Don’t look up or something going to happen
19       Q Okay. And then -- so after you were strip-         19   to you.”
20   searched, were you allowed to put clothes back on?       20        Q Okay, so you didn’t look up, right?
21       A Yeah.                                              21        A No.
22       Q What did you put back on, do you remember?         22        Q Okay. And then did -- did they walk you out
23       A The same thing that we took off. Underwear,        23   of the cell house?
24   they threw stuff on the floor. They checked it, threw    24        A Yeah, at this time, we was out of the cell

                                                         6                                                             8

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 1   house. Where? Yeah, we were out of the cell house.        1   up there coughing and -- and we stayed in there until
 2   Going out the gate to the -- the dietary.                 2   they took us back in.
 3       Q All right. And the what happened when you           3       Q Okay. How much longer did you have to stay
 4   got to dietary?                                           4   in there?
 5       A Then we all sat down. I don't know which            5       A I would say 30 minutes.
 6   side it was on. The dietary, I think had two sides.       6       Q Okay.
 7   It was on the small side.                                 7       A Yeah, 30 minutes.
 8       Q Okay.                                               8       Q All right. Do you recall anything that the
 9       A And we were all at the table, Dirty, me, a          9   officer said besides what you already said?
10   couple of other guys and that’s when all the plan        10       A No.
11   around starting going off because once again, Dirty.     11       Q All right. Have you been involved in any
12       Q How do you spell “Darry” (phonetic)?               12   shakedowns since that time?
13       A No, Dirty, D-i-r-t-y.                              13       A Well, not -- down here, once.
14       Q Oh, Dirty. Okay, do you know what his name         14       Q Okay. And how was the shakedown here
15   is?                                                      15   compared to the one that you had at Big Muddy?
16       A Yeah. I forgot his name. I’m sure if you           16       A Oh, this shakedown -- I think that was
17   talked to quite enough people, they would tell you.      17   worse.
18       Q Okay. And he was your cellmate, though?            18       Q That was worse.
19       A Yeah, exactly.                                     19       A At Big Muddy, yeah.
20       Q Okay, I could find it out that way, then.          20       Q Okay. They do -- what did they do
21   Okay, so the officers were playing around with -- with   21   differently at Jacksonville than they did at Big
22   Dirty?                                                   22   Muddy?
23       A Yeah. But this -- with the canister. And           23       A Well, a lot of these -- a lot of these was
24   the -- I guess with the -- with the end of it they was   24   rookies. So they -- they did the normal thing, tell

                                                         9                                                            11

1    doing something with his back. Like -- like I said,       1   us to get naked. And get in a line, don’t look up.
2    we had our -- we had to put our heads on the table in     2   Basically, the same thing.
3    the chow hall. That’s how we had to sit.                  3       Q It just didn’t seem as harsh for some
4        Q Okay.                                               4   reason?
5        A With our hands -- with our hands behind our         5       A Right. I guess the reason why it got harsh
6    back with our head on the table. And they did             6   is because Dirty was there.
7    something with the canister and he dropped it and it      7       Q Okay.
8    went off. And then -- and then the whole -- the whole     8       A I don't think we went through all that if
9    chow hall, everybody was in there coughing.               9   Dirty hadn’t been part of that because they was all
10       Q So how long were you in there before the           10   messing with him.
11   canister was dropped?                                    11       Q Okay. But were they messing with him in
12       A Five to ten minutes.                               12   like a playful way?
13       Q Okay. And then the canister dropped. How           13       A Yeah.
14   close were you to where the canister was?                14       Q Okay, it was a joking way?
15       A Oh, he was -- he was about where you was.          15       A That’s why they brought the biggest guy
16       Q Okay. So like five feet away from it?              16   because Dirty was a big guy, like a big Japanese black
17       A Yeah.                                              17   dude.
18       Q All right. And then -- so what happened            18       Q Okay. So it was like -- it was in a joking
19   after the canister fell?                                 19   way, though, the way they treated Dirty?
20       A Everybody coughed and they was -- they was         20       A Yeah.
21   going to get us up out of there, but by the doors        21       Q It wasn’t -- they weren’t messing with him
22   being opened the air got up out of there.                22   to --
23       They had a fan in there, so it was blowing the --    23       A No.
24   the smoke from the canister out. And we just sitting     24       Q -- in a harmful way?

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 1      A No.
 2      Q At any time did any of the officers hit you
 3   with their sticks?
 4      A No.
 5      Q All right. Okay, I have no further
 6   questions.
 7      A All right.
 8                 (End of interview)
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1         I, Audrey Marie Skaja, do hereby certify or
2    affirm that I have impartially transcribed the
3    foregoing from a digitally recorded statement of the
4    above-mentioned proceedings to the best of my ability.
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                                                                1        during the tactical operation, and what your
                                                                2        experience was.     I am gathering this information to
                                                                3        defend the case on behalf of I-DOC Defendants, but not

                    AUDIO TRANSCRIPTION                         4        for any disciplinary purposes against you or any other

              Interview of Demetrius Kennedy                    5        inmates.

                   Inmate Number B79258                         6             This interview is voluntary.         I am not in a
                                                                7        position to offer you anything for participating and
                                                                8        there will be no adverse consequences if you refuse to
                                                                9        talk to me.    However, I’m hoping you are willing to
                Illinois Attorney General                       10       talk to me about what happened during the shakedown at
          100 West Randolph Street - 13th Floor                 11       Big Muddy in 2014; if you remember.          So is it okay if
                Chicago, Illinois 60601                         12       I ask you some questions?
                     (312) 814-3695                             13            A      Yeah.
                                                                14            Q      Okay, can you please state and spell your
                                                                15       name and give your inmate number?
                                                                16            A      Demetrius Kennedy, D-e-m-e-t-r-i-u--s K-e-n-
                                                                17       n-e-d-y, Inmate Number B79258.
                                                                18            Q      And you were house at Big Muddy River in
                                                                19       2014; is that correct?
                                                                20            A      Yes.
                                                                21            Q      And where were you housed there?
                                                                22            A      I was housed for the drug treatment.           There
                                                                23       was a program when I was there at that time.              I stayed
                                                                24       in the program for quite some time.


                                                            1                                                                            3
1    BY MR. JAMES DURAN:                                             1        Q     Okay, what housing unit was that? Was there
2        Q    My name is James Duran (phonetic) and I’m an           2     a number to it?
3    attorney for the state of Illinois.   I’m here today to         3        A     It was 2-A at that particular time.
4    interview you about a shakedown that occurred in 2014.          4        Q     2-A, okay.
5    A lawsuit has been filed by inmates that were housed            5        A     No, four -- 4-A, sorry. 4-A.
6    at Menard, Illinois River, Big Muddy River and                  6        Q     I thought it was four.
7    Lawrence Correctional Centers against certain                   7        A     4-A, yeah.
8    individuals working for I-DOC arising out of the                8        Q     All right. Do you recall a facility-wide
9    operation.                                                      9     shakedown in 2014?
10       I’m here on behalf of the Defendants, the              10            A     I remember we were on lockdown.
11   employees of the I-DOC.   Certain inmates are the named    11            Q     Okay.
12   Plaintiffs in this case and are represented by a law       12            A     And I remember when the -- the counselors
13   firm, Loevy & Loevy.   The lawsuit is a class action       13         was taking things off the walls and stuff like that.
14   and at this stage, the class has not yet been              14         And I also remember, I knew I felt that something was
15   certified by the judge.                                    15         getting ready to happen because you know, why they put
16       Because you were housed at Big Muddy, you are a        16         most of the stuff up for treatment stuff.
17   potential class member, which means that if the judge      17            Then shortly, maybe, maybe days later or
18   certifies a class, you would be represented by             18         whatever, Orange Crush came in, hit the door. Boom,
19   Plaintiff’s attorneys.    If the judge certifies a         19         boom, boom, coming through. I immediately looked out
20   class, your interest could be adverse to those of the      20         through the screen and one thing specifically that I
21   Defendants.                                                21         noticed what -- that shocked me was I seen some female
22       You are of course, free to contact an attorney         22         Orange Crush, women inside, coming in the little wing.
23   before speaking to me.    But I would like to interview    23            Q     How do you know they were female?
24   you to get a better understanding of what happened         24            A     It just -- the face that I was looking at it

                                                            2                                                                            4

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 1   from the screen. I seen it. I was like, “Wow”. I          1       A And I noticed I started hearing the female
 2   said, well this got to be the first time they are         2   voices and others was telling them, describing, this
 3   doing something like this.                                3   is how we do things. Or on stuff, it was something
 4       Q Okay. So then what happened when Orange             4   like that, in that nature.
 5   Crush came on the unit?                                   5       And after that, handcuffed. I was like, “wow”.
 6       A Well, they did what they normally do. They          6   And then we ended up leaving, coming out, from our
 7   bit the door down, busted the door down, you know,        7   heads down on somebody else’s shoulder shirt. The
 8   kind of getting rough and tough. And pretty much          8   thing I never gonna forget, the humiliation that I
 9   like, “Stand behind the wall. Face this way, here.        9   went through of all that.
10   Don’t look at anyone,” blah, blah, blah, all this kind   10       It felt like, it was like the way they degraded
11   of stuff, you know.                                      11   and -- and talked to us. Like they should just throw
12       Q Okay. Did you have a cellmate?                     12   everybody out, like in the sea of just -- you know
13       A Yes, I did.                                        13   what I mean? The way the said that. And I never
14       Q All right. And then did they do a strip-           14   forget the officers who -- who did it, wasn’t Orange
15   search?                                                  15   Crush, they was from Shawnee.
16       A Yes, they did.                                     16       I kept the shakedown slip for about maybe a year
17       Q And who was searched first, you or your            17   or so. Them two officers was from Shawnee, apart of
18   cellmate?                                                18   that Orange Crush. I never forget that. If they keep
19       A My cellmate was searched first.                    19   any records of that, from that day, them two was
20       Q And where were you when they searched him?         20   there. I remember that day.
21       A I was in the front -- back -- in the back of       21       Q After you were cuffed, did you put on your
22   the window with my nose and stuff front-in, straight     22   clothes then before you went out? I mean they have
23   like that.                                               23   you -- they have you get dressed, right?
24       Q Facing the wall away from the inmate?              24       A Right.

                                                         5                                                             7

 1       A Facing, right.                                      1        Q What clothes did you put on, if you
 2       Q Okay. And then they did his strip-search?           2   remember?
 3       A Right.                                              3        A I had to go put on my socks, my drawers, I
 4       Q And then did they have him put his clothes          4   was butt naked. I just wanted to put the socks on
 5   on?                                                       5   first, then the drawers and then all the way from the
 6       A They had him, yes, slowly, but not as               6   undershirt and the pants and stuff like that.
 7   quickly.                                                  7        Q Okay, so you put all those clothes on, and
 8       Q All right.                                          8   shoes?
 9       A Because they had him close up to the door.          9        A Right. No, no shoes. I was in shower
10   And before when he -- when he called them up, he         10   shoes.
11   called him up close to the door, like you got the door   11        Q Okay. So you wore your shower shoes. And
12   right here and he was kind of like -- about a little     12   then you were cuffed?
13   bit towards, like out. Not really “out-out”, but like    13        A Yes. I was cuffed from behind.
14   right on the -- on the ledge right where others can      14        Q And then -- and how were you -- how were you
15   see.                                                     15   taken over to -- where were you taken from there,
16       Q Okay. And then -- so they finished his             16   first of all?
17   strip-search, and then they did yours?                   17        A We went -- we left. We had to go to the
18       A Then they did me.                                  18   dietary with our heads faced down or somebody else’s,
19       Q And how was your -- was your strip-search --       19   back of his neck, with my forehead on his neck. And
20       A I mean, when they did my strip-search, I had       20   we couldn’t look up, so we pretty much couldn’t see no
21   to turn around, spread, you know, my butt. Put --        21   direction of where we was going.
22   from -- all the way from here, then put my hands in my   22        We had to follow the footsteps of somebody’s
23   mouth at the same time.                                  23   heels. And I accidentally lifted my heel up, I got
24       Q Okay.                                              24   muffed back down. It was like, “Get back down.”

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 1       Q Okay, so someone pushed you?                       1    shakedown slip, what was on -- what was listed on
 2       A Yeah, I got pushed.                                2    there?
 3       Q They pushed your head back in to get it            3        A It was just listed “none found”.
 4   down?                                                    4        Q No contraband?
 5       A Yeah, I got muffed. I got -- it was -- it          5        A Right, none of that. But they tore the
 6   was a hit mug.                                           6    sucker up, like -- like it was the worst (inaudible
 7       Q Okay.                                              7    00:09:34).
 8       A They was like, “Wow,” it was crazy. But we         8        Q Besides what you've already said, do you
 9   end up going straight in, we had to follow the back of   9    remember any other statements that any of the officers
10   the heels of somebody else’s. It was so crazy. It        10   made?
11   was ridiculous. And then we marching to the dietary.     11       A As far as “We should throw all these guys in
12       Q Okay.                                              12   the sea.” You know, get rid of all these guys, stuff
13       A Set our heads, foreheads on the table.             13   like that, maybe a few other things that was being
14   Handcuffed and couldn’t get up or look at anything for   14   said, but at that particular time, our folks had known
15   about maybe 30, 40 minutes. It was -- It was a long      15   them.
16   time. It was a humiliation. It felt like I was on        16       Head down, being -- not opening my mouth or they
17   the -- I felt vulnerable like it was the end of the      17   going to swing on you with something. You know how
18   world for me.                                            18   that go, you can’t say anything.
19       Q Did anyone of the correctional officers hit        19       Q All right. Did you undergo facility-wide
20   you with any sticks?                                     20   shakedowns since that one? Have you had any here?
21       A When I got muffed, it felt like it could           21       A Non here.
22   have been a stick, but as far as my head down, and I’d   22       Q Okay.
23   been hearing other stuff the way they was talking,       23       A Not at this prison that I am at now.
24   that was from my experience, I got muffed down.          24       Q Have you had any after Big Muddy?

                                                         9                                                            11

 1       But as far as the stick, I didn’t -- I didn’t         1      A No, not on the Orange Crush, that was good.
 2   experience that one, you know. Maybe somebody else        2   That was like the last one on that one. Because I've
 3   probably -- probably would have got that treatment        3   been locked up for a while
 4   because I’m not saying it didn’t happen (inaudible        4      Q Okay. I have no further questions.
 5   00:08:28).                                                5      A Okay.
 6       Q Do you -- do you recall the names of any of         6                (End of interview)
 7   the officers that were involved in the shakedown?         7
 8       A That slip that I kept was the one that was          8
 9   from Shawnee. And I kept that slip for a year. And        9
10   all of a sudden when I started moving around, I am not   10
11   thinking, this stuff isn’t going to pop up or anything   11
12   like that.                                               12
13       I threw it away, but I remember it was from          13
14   Shawnee. I can’t remember their names, but if they       14
15   got them records from 2014, that day, that shakedown     15
16   from all the slips, it would show you.                   16
17       Q All right, who was -- or did they find any         17
18   contraband in your cell?                                 18
19       A They tore the cell up. They threw all the          19
20   clothes, everything. It was just -- shit was over,       20
21   cakes was over, everything was flying all over the       21
22   place. It was like going -- it was like Hurricane        22
23   Katrina ran through there.                               23
24       Q All right, when you said you had the               24


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1         I, Audrey Marie Skaja, do hereby certify or
2    affirm that I have impartially transcribed the
3    foregoing from a digitally recorded statement of the
4    above-mentioned proceedings to the best of my ability.
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                                                                 1        during the tactical operation, and what your
                                                                 2        experience was.     I am gathering this information to
                                                                 3        defend the case on behalf of I-DOC Defendants, but not

                      AUDIO TRANSCRIPTION                        4        for any disciplinary purposes against you or any other

                   Interview of Russell Kley                     5        inmates.

                     Inmate Number B86522                        6               This interview is voluntary.    I am not in a
                                                                 7        position to offer you anything for participating and
                                                                 8        there will be no adverse consequences if you refuse to
                                                                 9        talk to me.     However, I’m hoping you are willing to
                Illinois Attorney General                        10       talk to me about what happened during the shakedown at
          100 West Randolph Street - 13th Floor                  11       Big Muddy 2014; if you remember.      So is it okay if I
                Chicago, Illinois 60601                          12       ask you some questions?
                     (312) 814-3695                              13              A    Well, yeah.
                                                                 14              Q    Can you please just state and spell your
                                                                 15       name and give your inmate number?
                                                                 16              A    Russell Kley, R-u-s-s-e-l-l, K-l-e-y;
                                                                 17       B86522.
                                                                 18              Q    All right, and you were housed at Big Muddy
                                                                 19       in 2014; is that correct?
                                                                 20              A    Yeah.
                                                                 21              Q    All right.    And do you recall a shakedown on
                                                                 22       --
                                                                 23              A    Identify it a little bit better.    Like I
                                                                 24       said, I don't know what you’re wanting me to try and


                                                             1                                                                       3

     BY MR. JAMES DURAN:
1                                                                     1        answer here, or anything.
2        Q    My name is James Duran (phonetic) and I’m an            2             Q Okay. All right, do any shakedowns that
3    attorney for the state of Illinois.   I’m here today to          3        happened in 2014 stand out in your mind? It was a
4    interview you about a shakedown that occurred in 2014.           4        facility-wide shakedown with the Tactical Unit.
5    A lawsuit has been filed by inmates that were housed             5             A You mean where they come in and made
6    at Menard, Illinois River, Big Muddy River and                   6        everybody get out of their cells and tore them up or
7    Lawrence Correctional Centers against certain                    7        whatever?
8    individuals working for I-DOC arising out of the                 8             Q Yes.
9    operation.                                                       9             A Yeah, they did that a couple of times there,
10       I’m here on behalf of the Defendants, the               10            but I didn’t -- I didn’t lose nothing.
11   employees of the I-DOC.   Certain inmates are the named     11                 Q Okay.
12   Plaintiffs in this case and are represented by a law        12                 A Got everything back after I found it slung
13   firm, Loevy & Loevy.   This lawsuit is a class action       13            all over everywhere, but --
14   and at this stage, the class has not yet been               14                 Q All right. Do you remember -- what’s the
15   certified by the judge.                                     15            first thing that you remember about that shakedown?
16       Because you were housed at Big Muddy, you are a         16                 A I thought well -- see I’ve never been in
17   potential class member, which means that if the judge       17            before. I ain’t got no record of any kind other than
18   certifies a class, you would be represented by              18            what I’m in for now. So it was all new to me, you
19   Plaintiff’s attorneys.    If the judge certifies a          19            know.
20   class, your interest could be adverse to those of the       20                 Q Okay. So what happened that day?
21   Defendants.                                                 21                 A Nothing, they just made us -- they just come
22       You are of course, free to contact an attorney          22            in banging their little toothpicks, ranting and raving
23   before speaking to me.    But I would like to interview     23            and carrying on and just I don't know, off-the-wall
24   you to get a better understanding of what happened          24            stuff, I don't-- you know, what they do, I guess.

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 1       Q Okay.                                             1       Q Okay. All right.
 2       A You know?                                         2       A I just took it like that they were, you
 3       Q So did they -- did they take you out of your      3   know, acting retarded and big-shotted and everything
 4   cell?                                                   4   like that; is how I took it.
 5       A Oh, everybody had to come out of their            5       Q Okay.
 6   cells, yeah.                                            6       A I wasn’t on nothing. They didn’t -- you
 7       Q So when you left your cell, did you wear --       7   know, it was just I guess something they decided
 8   what clothes were you wearing?                          8   they’d do. Training, maybe. I heard it was like
 9       A Basically like blues, you know.                   9   training and stuff like that, you know.
10       Q Okay, shoes, too?                                10       Q Okay. Do you know where you heard that
11       A Yeah.                                            11   from?
12       Q Okay. And then were you marched somewhere        12       A No.
13   or where were you --                                   13       Q Do you remember -- do you remember the --
14       A To the dietary.                                  14   any of the officers saying anything in particular?
15       Q Okay. And what happened in the dietary?          15       A No. I heard a lot of them say things over
16       A We just sat in there until they tore up          16   there, but not revolving any of that.
17   everything in there, in the cell, I guess to meet      17       Q Okay. But during -- during the shakedown,
18   their satisfaction or -- or whatever they was trying   18   do you remember them saying anything or yelling
19   to do.                                                 19   anything?
20       Q Okay. Were they looking for contraband,          20       A Oh, they was -- they was yelling. Yeah,
21   probably, too?                                         21   they was yelling and carrying on, anyway, you know.
22       A There was no telling. Like I said, I got         22   Like I said, they come in, ranting and raving, and
23   back everything I had before I left.                   23   beating their little sticks and acting ignorant and
24       Q Okay. And the how long did you remain in         24   stupid and everything like at that time they -- like

                                                       5                                                           7

 1   dietary?                                               1    that they normally do. And that was it.
 2       A Not long. For a while. I can’t remember          2        Q Okay.
 3   how long it was, but it was for a while.               3        A But like I said, I got back everything after
 4       Q All right and how --                             4    I got back after I found it slung everywhere and
 5       A Because they did the whole wing, you know.       5    everything. Looked like a little three-year-old
 6       Q Right. And how were you sitting in dietary?      6    tantrum fit, you know, they just showing their
 7       A With your head down.                             7    ignorance, you know.
 8       Q Okay. At any point did anyone hit you with       8        Q Okay. All right. I don't really have any
 9   any batons or any sticks or anything?                  9    other questions for you.
10       A Oh, yeah, yeah, yeah, they walked behind         10       A But you know, I got woke up this morning,
11   you, making you walk and your head on everybody’s      11   and see paralegal, what do I need a lawyer for or
12   shoulder and everything, you know.                     12   whatever? I’m going home for Pete’s sake, you know?
13       Q Okay. How you were you -- how were you made      13       Q Yeah, it’s like -- yeah, it’s just to find
14   to walk? With your head on the guy’s shoulder in       14   out what happened.
15   front of you?                                          15       A The only reason I was at Big Muddy is
16       A Yeah. Bent over, you know, and everything.       16   because it was close to home.
17       Q Okay. Was there anything unusual about that      17       Q Okay.
18   shakedown compared to other shakedowns?                18       A I got a visit every-other-week. And like I
19       A No.                                              19   said, I've been gone since 2008 and I’m going home
20       Q Okay. It was just the same as every other        20   here real soon in March.
21   shakedown?                                             21       Q Okay.
22       A Yes.                                             22       A It’s all over, finally. But yeah, I just
23       Q Have you had big shakedowns like that since?     23   thought that was just random, you know, or whatever,
24       A No, no, no.                                      24   you know. I've seen it on TV before, you know, where

                                                       6                                                           8

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 1   they go in and destroy people’s shit and throw it
 2   around like they’re having tantrums and what not and
 3   then --
 4       Q But you were able to get all your stuff
 5   back?
 6       A Oh, yeah, yeah, after I found it all, slung
 7   everywhere in there.
 8       Q Okay.
 9       A My cellmates mixed in it and his and
10   everything.
11       Q Okay, all right. Well, thank you very much
12   for your cooperation.
13       A Sorry I couldn’t give you what you wanted.
14       Q All I wanted is what you remember.
15                (End of Interview)
16
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1         I, Audrey Marie Skaja, do hereby certify or
2    affirm that I have impartially transcribed the
3    foregoing from a digitally recorded statement of the
4    above-mentioned proceedings to the best of my ability.
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                                                                                                                                       1       during        the        tactical              operation,              and    what       your
                                                                                                                                       2       experience               was.         I am gathering                    this       information               to

                                                                                                                                       3       defend        the        case        on    behalf           of    I -DOC      Defendants,                but      not

                                             AUDIO                TRANSCRIPTION                                                        4       for     any       disciplinary                  purposes              against       you       or    any      other
                                                                                                                                       5       inmates.
                                   Interview                          of        Kenneth                   Lay
                                         inmate                   Number                E01938                                         6                This           interview              is    voluntary.               I    am    not       in    a

                                                                                                                                       7       position           to        offer        you       anything           for    participating                  and
                                                                                                                                       8       there        will        be     no    adverse              consequences             if    you       refuse         to

                                                                                                                                       9       talk     to       me.          However,             I' m    hoping       you       are    willing            to


                                   Illinois                       Attorney                      General                               10       talk     to me about                  what          happened           to you       during          the

                 100         west            Randolph                       Street -                      13th        Floor           11       shakedown               at



                                   Chicago,                       Illinois                       60601                                12                Illinois               River          Correctional              Center          in    2014;         if

                                                        312)            814-       3695                                               13       you     remember.                So       is    it    okay        if    I ask       you       some
                                                                                                                                      14       questions?


                                                                                                                                      15                A              Yes.


                                                                                                                                      16                Q              okay,        can       you     please          state       and    spell          your

                                                                                                                                      17       name     and       give         your       inmate           number?

                                                                                                                                      18                A              My     name       is    Kenneth           Lay,       Number       E01938.
                                                                                                                                      19                Q              All     right,          and        during       this       time       you       were
                                                                                                                                      20       housed        at        the     Illinois             Correctional                 Center;          is    that

                                                                                                                                      21       correct?


                                                                                                                                      22                A              Yes,     sir.


                                                                                                                                      23                Q              And     during          the        shakedown          that       occurred            in

                                                                                                                                      24       April        of    2014,         can       you       tell        me    what       you    remember,             the




                                                                                                                                 1                                                                                                                                3


 1   BY    MR.      JAMES          DURAN:                                                                                                  1
                                                                                                                                                 first thing you remember starting with the shakedown?
 2
              Q              My name          is        James          Duran (         phonetic)                and       I' m an          2            A         The first thing I remember is a lot of
 3   attorney            for       the       state           of       Illinois.                 I' m here            today       to        3
                                                                                                                                                     hollering as they was coming into the cells. And soon
 4   interview               you    about          a     shakedown                that          occurred             in    2014.           4
                                                                                                                                                 as the doors opened, the made us get completely butt
 5   A lawsuit               has    been          filed           by inmates                that          were       housed                5
                                                                                                                                                     naked. The only thing that was allowed to put back on
 s   at    Menard,            Illinois             River,              Big       Muddy          River          and                         6     was just your shirt, your pants, and your shower
 7   Lawrence            Correctional                    Centers                against          certain                                   7     shoes.           No socks at all, just shower shoes.

 8   individuals                  working          for           I -DOC         arising          out       of    the                       8            And after they --                      after they made you bend over
 9   operation.                                                                                                                            9
                                                                                                                                                 and cough, they handcuffed you and lined us up and
10               I' m    here       on       behalf              of    the       Defendants,                   the                     10        took us all to the gym and made us stand in a
11   employees               of    the       Illinois                 Department                of    Corrections.                     11
                                                                                                                                                 formation              up against the bleachers                            with our head on --
12   Certain            inmates          are       the           named          Plaintiffs                in    this       case        12        on the bleachers,                       two feet back,               and bent over,               in a
13   and     are        represented                by        a    law       firm,          Loevy &             Loevy.                  13            bent -over position.
14   This        lawsuit           is    a    class              action          and       at    this          stage,          the     14               And we better not move or fall or none of that.

15   class        has        not    yet       been           certified             by the             judge.                           15        We had to stand there for like two -and -a - half, close
                 Because           you       were        housed             at    Illinois                River                        16
16
                                                                                                                                                 to three hours until they shook the whole cell out
17   Correctional                  Center,              you       are       a    potential                class       member,          17        there.

18   which        means           that       if    the           judge          certifies             a    class,          you         18
                                                                                                                                                         Q         Do you know about how many inmates were in
19                be                                    by       Plaintiff'                                               If    the    19
     would               represented                                                   s    attorneys.
                                                                                                                                                 the gym along with you?
20   judge        certifies              a    class,              your          interest             could       be                    20               A         Like I said, there is a hundred - and - some
21   adverse            to    that       of       the        Defendants.                                                               21            upstairs and hundred - and - some downstairs                                        and that' s
22
              You        are       of    course,                 free       to    contact             an       attorney               22         the whole rule ( phonetic),                              so it had to be over two -

23   before                              to                      But    I       would       like          to    interview              23            hundred - and -some guys who was at count.                                              But I know it
                    speaking                      me.


                                                                                                                                       24        was a hundred                      upstairs and a hundred                        down.           You' d have
24   you     to    get        a better             understanding                       of       what       happened


                                                                                                                                 2                                                                                                                                4


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 1     to be 105 or 110, I don' t know upstairs, but down, I                            1            A          The man made me bend over, cough,               and stand
 2                                                                                      2        naked then, made me move around him and go to the
       know it's a hundred. A hundred up and down.
 3                                                                                      3        front of the cell.            And he come to the door and he did
               Q      At any time during the shakedown did any of
 4                                                                                      4
       the guards physically use force on you?                                                   the same thing.
 5             A      No, but I did see a few guys get grabbed                          5
                                                                                                     And after he did the same thing, it was when we
 6                                                                                      6        were told to put on a blue shirt, blue pants and house
       because they fell or I guess they fell dead out. Like
 7                                                                                      7        shoes,         flipflops;    that was it.   He got cuffed,   I got
       I said, their legs was giving out. They got drilled
 8     to stand.                                                                        8
                                                                                                 cuffed. And everybody else got cuffed, you know what
 9                    When you returned to your cell, did it                            9
               Q                                                                                 I am saying, and then proceed.
10     appear        that your cell had been shaken             down?                  10                                    And then you were -- at some point
                                                                                                        Q        Okay.
11             A     Yeah.                                                             11        you were taken to the gym.                  How were you walked over
12                    What was the condition of your cell?                             12        to the gym?
               Q
13             A                                                                       13            A
                      Ransacked,     stuff everywhere.                                                          They walked us over to the gym. You know
14                                                                                     14        what I
               Q      Was anything broken?                                                                      am
                                                                                                                     saying?     They made a line, made everybody            in
15             A                                                                       15
                     At that time my stuff, I want to say that my                                line, most of the time, two -by -two.              Lower me head.
16     stuff was tooken;           I don' t know.                                      16        This    was --       this was --    we   had to -- like I said, walk
17                                                                                     17
               Q      What was missing from your cell?                                           back with your head on somebody' s back, handcuffed,
18             A                                                                       18        just like this here.            And the whole line moved with
                      I had food missing, you know what I am
19                                                                                     19        your head on his back.
       saying?         I am talking about food stuff that was
20                                                                                     20                        How far was the walk from the cell house to
       opened, you know what I am saying, like beef sticks                                              Q
21     and a few honeycombs and stuff like that; wrappers was                          21        the gym?
22                                                                                     22            A
       opened.                                                                                                  It was like, I would say, if we look, then
23                                                                                     23
               Q      Were they things that you had opened                                       all of a sudden, where you at. All the way, when you
24                                                                                     24
       beforehand or they were opened while you were gone?                                       look out that window, and say on the other side of




 1             A      No, they was opened while I was gone.                                       that building. See the latter building over there?
 2                                                                                      2
               Q      And can you remember           anything     that was --                     Not the first one, all the way over. A little farther
 3     that was broken?             Like I know you said that there was                     3     over there, behind here.
 4                                                                                      4
       food that was opened and stuff. Did you have any                                               Q    Okay. So it looks like it' s probably at
 5     audio/ visual         or electronic   stuff that was broken        or                5
                                                                                                  least a couple of hundred yards, total for walking?
 6     taken?                                                                           6             A   Yeah, yeah, I would say about a hundred
 7             A                                                                            7     feet.
                      Not that I can remember. Like I said, my
 8     light was broken,           I mean    as far as broke,      but I mean           8
                                                                                                            Q        Okay.
 9                                                                                      9                   A      A hundred feet.
       bulbs. They wasn' t working on it. That was the only
10                                                                                     10
       thing that was wrong with mine.                                                                      Q        Okay. That's all the questions I have for
11                                                                                     11
               Q      Okay. Did you get a new bulb in it?                                         you.          Thank you very much.
12             A      No, it had ( inaudible      00: 05: 12)   bulbs;   you           12                                End of Interview)
13     know? (         Inaudible    00: 05: 18)   bulbs.                               13

14                                                                                     14
               Q      When they officers first arrived at your
15     cell,       can you describe     what the procedure         was for the         15

16                                                                                     16
       strip - search?
17             A                                                                       17
                      First thing was just meeting at the door
18                                                                                     18
       opened, he told me and my cellmate to get naked. One
19     stand        in the back of the cell, the other one stand at                    19

20                                                                                     20
       the door. Take everything off.
21                                                                                     21
               Q      Okay.
22             A      That was the procedure.                                          22

23                                                                                     23
               Q      All right, and then you stood at the door
24                                                                                     24
       and you did the whole --


                                                                                  6                                                                                          8

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 1
          I, Audrey Marie Skaja, do hereby certify or
 2
       affirm that I have impartially transcribed the
 3
       foregoing from a digitally recorded statement of the
 4     above- mentioned   proceedings   to the best of m
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                                                                 1        during the tactical operation, and what your
                                                                 2        experience was.    I am gathering this information to
                                                                 3        defend the case on behalf of I-DOC Defendants, but not

                      AUDIO TRANSCRIPTION                        4        for any disciplinary purpose against you or any other

                   Interview of Noland Love                      5        inmates.

                     Inmate Number B68457                        6            This interview is voluntary.    I am not in a
                                                                 7        position to offer you anything for participating and
                                                                 8        there will be no adverse consequences if you refuse to
                                                                 9        talk to me.   However, I’m hoping you will be willing
                Illinois Attorney General                        10       to talk to me about what happened during the shakedown
          100 West Randolph Street - 13th Floor                  11       in 2014; if you remember.   So is it okay if we ask you
                Chicago, Illinois 60601                          12       some questions?
                     (312) 814-3695                              13           A      Ask away.
                                                                 14           Q      All right.   Now we were talking a little bit
                                                                 15       before we turned on the camera and you were telling me
                                                                 16       what you remembered about the shakedown that occurred
                                                                 17       at Big Muddy in May of 2014; is that right?
                                                                 18           A      Yup.
                                                                 19           Q      Okay.   And I think you told me that you were
                                                                 20       only shaken down one time by the Tactical Team in Big
                                                                 21       Muddy?
                                                                 22           A      There you go.
                                                                 23           Q      Okay.   So walk me through the day.   You were
                                                                 24       -- you were doing very well.


                                                             1                                                                    3
1    BY MS. SUZANNA PRICE:                                            1         A It was an institutional lockdown. I guess,
2        Q    My name is Suzanna Price (phonetic).     Jason          2     statewide, they locked all the prison’s down. They
3    Wegan (phonetic) is here.   We’re attorneys for the              3     came in to Big Muddy this morning in anger. They came
4    state of Illinois.   We’re here today to interview you           4     on the wing and came in by the cell, made everybody
5    today about a shakedown that occurred in 2014.    A              5     strip-search. Strip-searched everybody.
6    lawsuit has been filed by inmates that were housed at            6         They jumped on somebody in the cell next to me.
7    Menard, Illinois River, Big Muddy River and Lawrence             7     They came to my cell. I guess my cellmate pissed them
8    Correctional Centers against certain individuals                 8     off with something. They came into the cell and
9    working for I-DOC arising out of the operation.                  9     roughed both of us up. Walked us out the building.
10       I’m here on behalf of those Defendants, the             10             They led in direction, walked us out of the
11   employees of the I-DOC.   Certain inmates are the named     11         building to the cafeteria in a line with our foreheads
12   Plaintiffs in the case and are represented by a law         12         on -- on the man in front of us back. My hands cuffed
13   firm, Loevy & Loevy.    The lawsuit is a class action       13         behind my back.
14   and at this stage, the class has not yet been               14             Sat us in the chow hall, made us put our
15   certified by the judge.                                     15         foreheads flat down on the table, and we sat there for
16       Because you were housed at Big Muddy, you are a         16         about two-and-a-half, three hours. It was that long.
17   potential class member, which means that if the judge       17             Q Okay. Now you said you were strip-searched
18   certifies the class, you would be represented by            18         on the wing, right?
19   Plaintiff’s attorneys.    If the judge certifies the        19             A We was strip-searched in the door. It
20   class, your interest could be adverse to that of the        20         wasn’t even in our cell. It was just in the door.
21   Defendants.                                                 21         They made us stand in the door, like my cellmate is
22       You are of course, free to contact an attorney          22         standing behind me back by the window. I standing in
23   before speaking to me.    But I would like to interview     23         the door, strip-searched right there in the door.
24   you to get a better understanding of what happened          24             There was female officers there, that I literally

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 1   see in the lot, go out in the lot, didn‘t mean           1        A Yeah.
 2   anything. So when I see them, I know they can see me.    2        Q And he was in orange?
 3        Q Anything you remember remarkable about the        3        A Yeah.
 4   strip-search? I assume you have been strip-searched      4        Q And he was --
 5   several times in the I-DOC. Anything that you            5        A This is the same ones. When we got to the
 6   remember out of the ordinary?                            6    kitchen, he actually -- he hit me in the back of the
 7        A Besides they put a hand on?                       7    head because he said -- because he said I was smiling.
 8        Q They put a hand on you?                           8        Q In the kitchen during the shakedown?
 9        A Me, and a couple of people went at it. They       9        A Yeah.
10   supposedly supposed to do it at least once a year, but   10       Q And when you say the “kitchen”, that’s the
11   it’s just that one time. The first time I've ever        11   same place as the cafeteria?
12   been touched where -- physically touched, verbally,      12       A Cafeteria, chow hall, mess hall.
13   physically abused. And it wasn’t recorded.               13       Q Would you know the man’s name if you saw it?
14        Q Well what --                                      14       A I might. I know his face.
15        A There wasn‘t nothing about that strip-search      15       Q Was he --
16   recorded. Every strip-search I've ever been in was       16       A There ain’t too many sergeants that was on
17   recorded. Every shakedown with Orange Crush that ever    17   the walk. That’s on the walk over there, as I know
18   took place around me was recorded. They never            18   it.
19   recorded that one.                                       19       Q Uh-hum. Describe for me the walk from --
20        Q Are the shakedowns that you know to have          20       A I was in Building 1, so it ain’t fun. It’s
21   been recorded, did they happen after this -- this        21   just a building, but I can’t --
22   shakedown?                                               22       Q No, that’s okay. I meant, and that was my
23        A I haven’t been shook down since after this        23   fault. You talked about it a little bit how you were
24   one.                                                     24   walked from your cell to the cafeteria.

                                                         5                                                             7

 1       Q Okay. All right.                                    1       A To the cafeteria, right.
 2       A By Orange Crush.                                    2       Q Uh-hum. How? Tell me how you were done?
 3       Q Now you said you were allowed to redress            3       A It’s -- they had a line. It’s two lines.
 4   after you were strip-searched?                            4   When you get out of the door as soon as you hit the
 5       A Yes.                                                5   walk, it’s two lines on each side of the walk. They
 6       Q Okay. What -- what clothing did you put on?         6   made us walk up the middle. As they -- they stood on
 7       A My blues.                                           7   the side of us and made us walk up the middle.
 8       Q Blues, okay. You mentioned you were roughed         8       Q A line Tactical Team members and another
 9   up a little bit in your cell; tell me about that.         9   line of Tactical Team members --
10       A They beat somebody next door to me, beat           10       A On each side of us.
11   them. When they got to my cellmate, he was being         11       Q -- the inmates walked in between?
12   strip-searched. I don't know what he did, it was         12       A We walked in the middle. They made us walk
13   something, but then they just started attacking him.     13   with our forehead on the -- on the man in front of us
14       Putting -- beating him up. Then they come in.        14   back; handcuffed.
15   They came in the cell. I was trying to get out of the    15       Q Handcuffed front or back?
16   way. They roughed me, slapped me up, mocked me and       16       A From the back.
17   threw me out of the cell. It’s -- I can literally        17       Q Okay. Have you ever had a front cuff
18   point one of them out who did it.                        18   permit?
19       Q You could point one out?                           19       A Permit?
20       A Yeah.                                              20       Q Yeah, have you ever heard of a front-cuff
21       Q Who was it?                                        21   permit where some people get their hands kept in
22       A I don't know his name. I just know he was a        22   front?
23   “Sarg” because he usually be on the walk in Big Muddy.   23       A I would assume you’re supposed to do it.
24       Q Sergeant at Big Muddy?                             24   Like if I -- at that time they should have put it in

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 1   front. Like if I am sick and they got to walk me from   1         I, Audrey Marie Skaja, do hereby certify or
 2   cell to healthcare, they cuff me in the front.          2    affirm that I have impartially transcribed the
 3       Q Okay. I meant -- (inaudible 0:07:20), yeah        3    foregoing from a digitally recorded statement of the
 4   like a health permit; you never had one of those?       4    above-mentioned proceedings to the best of my ability.
 5       A No.                                               5
 6       Q Okay. Not that you’re aware of.                   6
 7       A Might need one now.                               7
 8       Q Yeah. Okay, so then you said you got into         8
 9   the cafeteria and you were sitting at a table?          9
10       A They made us sit at the tables, put our           10
11   forehead and nose flat on the table, like this.         11
12       Q And you sat there for several hours?              12
13       A For about two-and-a-half, three hours, yeah.      13
14       Q Did you interact with staff during that           14
15   time?                                                   15
16       A We couldn't talk or do nothing.                   16
17       Q Is it your understanding that the cells were      17
18   shaken down while you were in there?                    18
19       A Supposedly.                                       19
20       Q Okay. You came back, was there anything           20
21   different about your area?                              21
22       A It was totally banged up.                         22
23       Q How were you walked back from there?              23
24       A The same way we walked there.                     24


                                                        9                                                           11

1        Q Do you remember staff giving you any orders
2    other than what you described?
3        A No.
4        Q Do you remember staff saying anything
5    specific at all? Any words you remember them saying?
6        A They said, “Walk with your head, put your
7    forehead -- put your head down, put your forehead on
8    the man in front of you back and walk a straight
9    line.” Other than that, no. No talking. Other than
10   that, no.
11       Q All right, sir. I don't think I said this
12   at the beginning of the -- of the tape. Your name is
13   Nolan Love; is that right?
14       A Yep.
15       Q And do you have an I-DOC number?
16       A B68457.
17       Q Okay. Thank you very much. That’s all I
18   got for you. I appreciate it.
19                  (End of interview)
20
21
22
23
24


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                                                                1        during the tactical operation, and what your
                                                                2        experience was.    I am gathering this information to
                                                                3        defend the case on behalf of I-DOC Defendants, but not

                     AUDIO TRANSCRIPTION                        4        for any disciplinary purposes against you or any other

                   Interview of Joseph Max                      5        inmates.

                   Inmate Number NB21823                        6            This interview is voluntary.    I am not in a
                                                                7        position to offer you anything for participating and
                                                                8        there will be no adverse consequences if you refuse to
                                                                9        talk to me.   However, I’m hoping you are willing to
                Illinois Attorney General                       10       talk to me about what happened during the shakedown at
          100 West Randolph Street - 13th Floor                 11       Illinois River 2014; if you remember.   So is it okay
                Chicago, Illinois 60601                         12       if I ask you some questions?
                     (312) 814-3695                             13           A      Yeah.   And this right here, you are working
                                                                14       for the state?
                                                                15           Q      Yes, I work for the state.   I am from the
                                                                16       Attorney General’s Office and I represent the
                                                                17       Defendants in the case.
                                                                18           A      All right, so -- so you are going to be the
                                                                19       person who is going to be against us, if we go to the
                                                                20       court or anything else, right?
                                                                21           Q      That’s right.
                                                                22           A      All right.
                                                                23           Q      Okay, can you please state and spell your
                                                                24       name and give your inmate number?


                                                            1                                                                    3
1    BY MR. JAMES DURAN:                                             1         A My name is Joseph Max, Number N21823.
2        Q    My name is James Duran (phonetic) and I’m an           2         Q And you were housed at Illinois River
3    attorney for the state of Illinois.   I’m here today to         3     Correctional Center in April of 2014; is that right?
4    interview you about a shakedown that occurred in 2014.          4         A Yes.
5    A lawsuit has been filed by inmates that were housed            5         Q And can you go through what happened
6    at Menard, Illinois River, Big Muddy River and                  6     regarding the shakedown that occurred that day,
7    Lawrence Correctional Centers against certain                   7     starting from the beginning?
8    individuals working for Illinois Department of                  8         A In the beginning, early in the morning our
9    Corrections arising out of the operation.                       9     doors didn’t open so everybody is asking if we were
10       I’m here on behalf of the Defendants, the              10         locked down. And people saying that we are going to
11   employees of the I-DOC.   Certain inmates are the named    11         get shook down. That I think the Orange Crushes are
12   Plaintiffs in this case and are represented by a law       12         coming.
13   firm, Loevy & Loevy.   The lawsuit is a class action       13             They came, making all the noise with their
14   and at this stage, the class has not yet been              14         sticks, their shields. I guess like their -- the
15   certified by the judge.                                    15         thing they say when they scream. You know, “Like we
16       Because you were housed at Illinois River              16         are Orange Crush and hear this,” and this and that.
17   Correctional Center, you are a potential class member,     17         The intimidation, you know, to get everybody scared.
18   which means that if the judge certifies a class, you       18             They came, hitting the banisters with their
19   would be represented by Plaintiff’s attorneys.    If the   19         sticks. Then they started going through each cell,
20   judge certifies a class, your interest could be            20         approximately two Orange Crush and maybe like
21   adverse to that of the Defendants.                         21         lieutenants or whatever else was with them. And I was
22       You are of course, free to contact an attorney         22         in Cell 65. So they went to my room, opened the door
23   before speaking to me.    But I would like to interview    23         and that’s where we started getting shook down.
24   you to get a better understanding of what happened         24             They told us to take off our clothes. They told

                                                            2                                                                    4

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 1   my cellmate to step back. they told my cellmate,         1    told us to put our forehead against the wall, the
 2   “Step back, face the wall, don’t look this way,” where   2    brick wall, and you better stay like that.
 3   I am going to get shook down, first. They told me to     3        Q And how long did you remain standing against
 4   strip. And I believe it was a female and male, Orange    4    the wall?
 5   Crush guy.                                               5        A Hours. It was hours. Three hours, maybe
 6       And they told me to strip all my clothes off. I      6    more. It felt like -- it felt like 20 hours, standing
 7   shook all my clothes. They told me to pick up my         7    there, handcuffed behind your back and with your head
 8   testicles. They told me to turn around, spread my        8    against the wall.
 9   cheeks, and they told me to turn around again and open   9        Q And at some point, you were taken back to
10   my mouth with the same fingers, hands that I just        10   your cell; is that correct?
11   picked up my testicles with and spread my cheeks with    11       A After they destroyed our cells and all the
12   and they made me open my mouth.                          12   shakedowns was over with, they took us back; my wing,
13       They made me go through my hair, pick up my arms.    13   anyways, you know. And went into my room, 65, and it
14   Make sure nothing was in my armpits. Pick up my feet,    14   was destroyed.
15   turn around and pick up my feet one at a time. They      15       Q Was anything missing from your cell?
16   just shook me down.                                      16       A Everything that -- no like dangerous
17       Next thing you know, they told me to put my          17   contrabands. No -- no tickets. I didn’t get no
18   clothes on, but no underwear, pants, shirt and house     18   tickets for anything bad like that, but they took --
19   shoes; nothing else. And they told me to step to the     19   they took -- I am not the only one they took this
20   side, to the back and my cellmate -- my cellmate         20   from.
21   started the routine again, with shakedowns.              21       They took it from all other people. They took
22       Q Okay. After you were both searched, you            22   the ace of spades out of the cards and they took
23   were then cuffed?                                        23   double sixes out of the dominoes. Maybe like a --
24       A Well, they cuffed us already. They had             24   like a ritual thing or something; I don't know for

                                                         5                                                             7

 1   cuffed me already.                                        1   what. They took them all, everybody’s. The majority
 2        Q Okay.                                              2   of the people now have domino sets and cards with no
 3        A And I was in the back. And then after they         3   aces of spades and no double sixes.
 4   shaked him down, we were all -- both of us was cuffed     4       Q So was there anything else missing? Was
 5   and they took us out of our room.                         5   there any electronics stuff broken?
 6        Q And then where were you taken from your            6       A No.
 7   room?                                                     7       Q No.
 8        A To the gym.                                        8       A No. Messed up mine. They just threw
 9        Q How were you walked over from your room to         9   everything on the floor, all my letters take them out.
10   the gym?                                                 10   Like my kids’ letters, my wife’s and family members.
11        A They had a line of inmates and we came out        11   Took all the letters, threw them on the floor,
12   the cell house. We had to put our forehead on the        12   destroyed everything. I mean everything they could go
13   front guy’s back. And we had to bend over, really        13   through, they went through everything.
14   bend over and put our heads on their back.               14       You know, take soaps out of the boxes, you know.
15        Going to the gym, nobody could say nothing,         15   And evidently it was out of my mail, even my legal
16   nobody could talk, nobody could do no movements. And     16   stuff. You name it, they went through everything.
17   because there was really a lot of Orange Crush. I        17   Well, the hours waiting, they are going to tear some
18   mean, like a lot.                                        18   stuff off.
19        We was walking and they was like -- what do you     19       Q Did any of the officers beat you at all?
20   call it, like engulfment? You know with Orange Crush     20       A No, they didn’t beat me.
21   on this side and this side, a lot of them with their     21       Q Do you know of any individual officer’s
22   helmets and sticks and shields.                          22   names that participated in the shakedown?
23        And they took us to the gym. And they started       23       A They got helmets. They got helmets and
24   lining us up against the wall of the gym. And so they    24   their shield and their sticks. The majority of them.

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 1   The ones that didn’t have their shields, is the one       1      Q Okay.
 2   that was holding our handcuffs like until we went to      2      A It’s like you gotta like go past all the --
 3   the front. And then head to the back. And then they       3   the road, the grass, the street and then hit the gym.
 4   would go to the side and we would have to go in a         4      Q Okay. All right, thank you very much for
 5   straight line to the gym.                                 5   your participation. All done.
 6       Q Okay. So when you were taken out of your --         6      A Okay.
 7   your cell -- is it a cell or a room?                      7                (End of interview)
 8       A It’s rooms.                                         8
 9       Q Okay.                                               9
10       A They got them, so that’s -- that’s a medium.       10
11       Q Okay. So when you were taken out of the            11
12   room, you were escorted individually to the line?        12
13       A Well, when we got off the galley, everybody        13
14   has to defend yourselves. We would all be like in a      14
15   line, everybody. That’s where we get and they you to     15
16   the gym, in front of yourselves, handcuffed, and with    16
17   an Orange Crush guy.                                     17
18       And with every person, and like I said, there        18
19   were a lot. It was a lot. So they would take us all      19
20   downstairs. I was in the upper floor. Second, and        20
21   the gallery over.                                        21
22       And then they would take us downstairs, and then     22
23   in front they would line us up. And they would line      23
24   us up and then straight to the gym.                      24

                                                         9                                                           11

1         Q All right, when they lined you up, was that       1         I, Audrey Marie Skaja, do hereby certify or
2    outside?                                                 2    affirm that I have impartially transcribed the
3         A Yeah, outside.                                    3    foregoing from a digitally recorded statement of the
4         Q Where --                                          4    above-mentioned proceedings to the best of my ability.
5         A We were already kind of lined up in the           5
6    galley in a single file. But they made sure that         6
7    everybody stopped in front of their selves and with      7
8    our heads, made sure our heads are in the back on each   8
9    guy, like leaned over. You know, like very               9
10   uncomfortable until we got to the gym.                   10
11        Q How far was the walk from your room?              11
12   Outside your room to the gym?                            12
13        A I was in 3 House, so that’s -- we’re              13
14   probably the closest house. Like out of one, two,        14
15   three, four, we’re one. The gym is here.                 15
16        One, two, three, so we’re probably the closest of   16
17   all the buildings (inaudible 00:10:13). Go this way      17
18   and then go this way and together, two houses in front   18
19   of us.                                                   19
20        Q Do you know about how many feet or yards it       20
21   would be?                                                21
22        A It’s not real close. It might be, I don't         22
23   know, I can’t really say. But it’s not real close,       23
24   but it’s not real far, either.                           24


                                                       10                                                            12

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                                                                  1        during the tactical operation, and what your
                                                                  2        experience was.    I am gathering this information to
                                                                  3        defend the case on behalf of I-DOC Defendants, but not

                       AUDIO TRANSCRIPTION                        4        for any disciplinary purpose against you or any other

                   Interview of Calvin Milons                     5        inmates.

                      Inmate Number N83814                        6            This interview is voluntary.    I am not in a
                                                                  7        position to offer you anything for participating and
                                                                  8        there will be no adverse consequences if you refuse to
                                                                  9        talk to me.   However, I’m hoping you will be willing
                Illinois Attorney General                         10       to talk to me about what happened during the shakedown
          100 West Randolph Street - 13th Floor                   11       at Big Muddy 2014; if you remember.   So is it okay if
                Chicago, Illinois 60601                           12       we ask you some questions?
                     (312) 814-3695                               13           A      Yes, ma’am.
                                                                  14           Q      Thank you, sir.   Now would you tell me your
                                                                  15       name and I-DOC number?
                                                                  16           A      My name is Calvin, C-a-l-v-i-n Milons, M-i-
                                                                  17       l-o-n-s.   My number is N83814.
                                                                  18           Q      Thank you, sir.   So we were talking a little
                                                                  19       bit and you were housed at Lawrence Correctional
                                                                  20       Center in July of 2014; is that right?
                                                                  21           A      Yes, ma’am.
                                                                  22           Q      Okay.   And you were there, shaken down by
                                                                  23       the Tactical Team at that time then, right?
                                                                  24           A      Yes.


                                                              1                                                                    3
1    BY MS. SUZANNA PRICE:                                             1          Q Okay, thank you. Now we were just talking
2        Q    Mr. Milons, Suzanna Price (phonetic) and                 2     about what you recall from that day, so if you could
3    Jason Wegan (phonetic) here, we’re attorneys for the              3     tell me what you first remember from the beginning of
4    state of Illinois.   I’m here today to interview you              4     the day?
5    about a shakedown that occurred in 2014.   A lawsuit              5          A Well, the beginning of the day, we knew we
6    has been filed by inmates that were housed at Menard,             6     was going to get shook down that day. Prior to me
7    Illinois River, Big Muddy River and Lawrence                      7     being subject to this type of shakedown in previous
8    Correctional Centers against certain individuals                  8     time, you know, when the water is shut off that the
9    working for I-DOC arising out of the operation.                   9     Tactical Team is going to come in.
10       I’m here on behalf of the Defendants, the                10              So when the water went off, it was around 10:30
11   employees of the I-DOC.   Certain inmates are the named      11         that morning, and we knew they was coming in. When
12   Plaintiffs in the case and are represented by a law          12         they come in, it’s male officers and females officers
13   firm, Loevy & Loevy.    This lawsuit is a class action       13         and everyone is assigned to a cell.
14   and at this stage, the class has not yet been                14              Every officer is assigned to a cell, but they
15   certified by the judge.                                      15         come in banging and hitting objects. And once they
16       Because you were housed at Lawrence, you are a           16         open our cell, you and your cellmate is to step to the
17   potential class member, which means that if the judge        17         back of the cell while the other one gets strip-
18   certifies a class, you would be represented by               18         searched. And upon that, you can’t put -- you’re only
19   Plaintiff’s attorneys.    If the judge certifies a           19         allowed to put on your blues; no underwears.
20   class, your interest would be adverse to that of the         20              Q So your blues, what is that?
21   Defendants.                                                  21              A Your blues is your blue pants and your
22       You are of course, free to contact an attorney           22         shirt. You can’t put on no socks or no boxers or
23   before speaking to me.    But I would like to interview      23         briefs or t-shirts. Just got to put on your state
24   you to get a better understanding of what happened           24         blues, like your state blue shirt and your blue pants

                                                              2                                                                    4

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 1   along with your shoes or boots or whatever they give     1        A   Well, I had to get up because they gave me
 2   you to put on.                                           2    permission to -- I asked them because I was out of
 3        Other than that, then you got to stand on the       3    breath and I have asthma. And he grabbed my inhaler,
 4   outside of the cell and put your head against the --     4    he gave me two pumps. He gave it back to me and I had
 5   your forehead against the wall until your cellmate get   5    to get back in that position.
 6   finished getting searched. Upon that time, whoever in    6        Q       Who -- do you recall who that was?
 7   the vicinity while you being given the order, whether    7        A   Well you can’t -- I can’t see because he got
 8   it is female or male, you have to abide by the rules     8    they had on their shields, but it was one of the
 9   or you’ll get punished for it.                           9    officers.
10        You know, we not allowed to look -- look in their   10       Q       One of the officers from Lawrence or do you
11   faces for -- for them purpose because they don’t want    11   know -- had you seen him before, ever?
12   us to know who struck us or who laid the discipline      12       A   It was one of the officers from Lawrence.
13   down on us.                                              13       Q       So you had recognized him before?
14        So upon that, all of us get in a line and we got    14       A   Yes.
15   to put our forehead on the back of the other person      15       Q       Okay. Were there other staff members that
16   back. And that’s how we was -- we was brought all the    16   you recognized throughout the day?
17   way from that unit, all the way to the chow hall like    17       A   Well, you -- it was few on there, but you
18   that.                                                    18   can only tell by their voice recognition. You can’t --
19        Q So you have your forehead on the man in           19   you’re not going to see their face because their face
20   front of you?                                            20   is covered up.
21        A Yes, ma’am.                                       21       Q       By what?
22        Q And the man behind has his head on the back       22       A   By their -- they had on their shields.
23   of you?                                                  23       Q       The shield, what does the shield look like?
24        A Yes.                                              24       A   The shield is like a helmet, that go on and

                                                         5                                                                   7

 1        Q And you walk from your wing to --                  1   then it covers their face up.
 2        A It’s like a -- it’s like your cell block.          2       Q Is the shield clear?
 3        Q Uh-hum.                                            3       A It’s clear, but they have other -- other
 4        A So that’s how we got to walk. Come out the         4   things like a so-called cloth that can cover their
 5   unit, go in the yard, and it’s a line. It’s officers      5   face up, so you can’t see who it is.
 6   on this side, the tactical officers on this side. And     6       Q Does everyone wear that?
 7   if they have to stop the line, that’s how we got to       7       A Yes.
 8   keep this formation, with our forehead on the other       8       Q What color is that?
 9   guy’s back all the way until we get to the chow hall.     9       A It varies.
10        Q And what happened in the chow hall?               10       Q Okay.
11        A Then we got to sit there with our hands           11       A It varies.
12   handcuffed behind us and put our head against the        12       Q How long were you in the cafeteria?
13   table. We stay in that position until it’s -- until      13       A Well they came -- they came -- they turned
14   they finished doing what they are doing in the unit.     14   the water off at like a quarter-to-ten. And we didn’t
15        Q So you’re sitting at table --                     15   make it back to the unit until like at 2:30.
16        A Yes.                                              16       Q So almost five hours. Were you in the --
17        Q -- with your head on the table?                   17       A We stayed in the cafeteria for all that
18        A My forehead against the table.                    18   time.
19        Q Are you interacting with anybody during that      19       Q What happened when you left the cafeteria?
20   time?                                                    20       A Well we have to get back in that formation
21        A You can’t talk. You can’t talk. You can’t         21   with our head, our forehead against the man back. But
22   even get up without permission.                          22   upon coming back to our unit, when you get in your
23        Q Do you remember the staff saying anything to      23   cell all of your belongings is mixed up with your
24   you during the time while you were in the cafeteria?     24   cellmate’s belongings.

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1        Shampoo poured on top of your clothes. Various       1         A No, if they call for a medical emergency,
2    items missing and no one is being held accountable for   2    they come, but they will take their time.
3    it. And upon us telling the warden about the             3         Q Okay.
4    behavior, his style be it, he -- the first thing they    4         A It’s not they going to rush over there.
5    say is they don’t know who shook us down.                5         Q Do you remember the staff saying anything
6        Because the name is -- it’s not visible on the       6    specific to you on that day?
7    shakedown skip, who -- who initially did the             7         A No, no it’s just I try not to -- I try to
8    shakedown. So no one is -- can be allowed for the        8    get it over with. You know, you got to psyche your
9    stuff that was damaged.                                  9    mind up to endure all the pain and you get it over
10       Q The property in your cell?                         10   with as quick as possible. There is nothing that you
11       A No, you got food being stepped all on. You         11   can say or do that’s going rush them.
12   got various of your personal items as far as tapes,      12        Q How many shakedowns have you experienced in
13   walkmans broken. And then you have to go through a       13   your incarceration?
14   grievance process just for that.                         14        A More than -- more than a dozen.
15       They not going to pay the full value of it.          15        Q And just a couple of more. You mentioned
16   They’ll pay partial, that’s if you win, you know. And    16   female staff earlier. Do you know whether female
17   you tell the warden what transpired, he -- first I am    17   staff were performing strip-searches?
18   looking through it, but never does.                      18        A Yeah, they do.
19       Q You mentioned that the staff had masks on,         19        Q How do you know that?
20   did they have any other equipment?                       20        A Well, you can tell by their voice
21       A Well the got what they call them “sticks”,         21   recognition. And if they are assigned to a cell or
22   wooden sticks. Yeah, they have them.                     22   they are assigned -- whatever they are assigned at,
23       Q Did anybody touch you with a wooden stick?         23   it’s whatever goes. It’s nothing that they are not
24       A No, they just tap you, “Move. Keep moving.”        24   used to seeing; it something, they got a job to do.

                                                         9                                                           11

 1   If you don’t move, you going to get hit with it.          1       And if they order you to strip, you got to strip.
 2        Q So they tap you, does it hurt you?                 2   I don't care if the warden is standing there, she a
 3        A No, they just tap you. But it’s just               3   female, you have to strip. You can’t say, “Well, I
 4   sitting there for all them hours with handcuffs on        4   don't want to be rude in front of this lady.” It
 5   your wrists. Your whole wrist is bright, turning          5   ain’t like that.
 6   colors. They don’t care.                                  6       Q Do you know if a female strip-searched you
 7        You got some take -- loosening the handcuff, but     7   in July 2014 shakedown?
 8   other than that, you awkward. You’re handcuffed           8       A No, I didn’t get strip-searched by a female,
 9   awkward to whereas your palms is shooting up. It’s        9   but they was present.
10   not you can’t straighten them out or nothing. This is    10       Q They were present on the --
11   how you got to stay and sit for hours.                   11       A On the -- on the unit.
12        Q Let me ask you this: Did you have a front-        12       Q Do you know whether they were performing
13   cuff permit at the time? Did you have one?               13   strip-searches themselves?
14        A No.                                               14       A They probably was assigned to a cell. They
15        Q No. Do you know whether anybody had a             15   just wasn’t assigned to my cell.
16   front-cuff permit that was shaken down?                  16       Q Okay. All right, sir that’s it.
17        A Some have it, but that I could confirm that       17       A Okay, thank you.
18   with the medical staff.                                  18                  (End of Interview)
19        Q Okay. Were there medical staff present for        19
20   any of the shakedown?                                    20
21        A They only come like if someone is ill and         21
22   they be called upon, they will come and get the          22
23   individual.                                              23
24        Q Is that usually or in a shakedown?                24


                                                       10                                                            12

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1         I, Audrey Marie Skaja, do hereby certify or
2    affirm that I have impartially transcribed the
3    foregoing from a digitally recorded statement of the
4    above-mentioned proceedings to the best of my ability.
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                                                                 1        you in order to get a better understanding of what
                                                                 2        happened during the tactical operation, and what your
                                                                 3        experience was.   I am gathering this information to

                       AUDIO TRANSCRIPTION                       4        defend the case on behalf of I-DOC Defendants, but not

                  Interview of Carlos Montanez                   5        for any disciplinary purpose against you or any other

                      Inmate Number B46636                       6        inmates.
                                                                 7            This interview is voluntary.      I am not in a
                                                                 8        position to offer you anything for participating and
                                                                 9        there will be no adverse consequences if you refuse to
                Illinois Attorney General                        10       talk to me.   However, I’m hoping you are willing to
          100 West Randolph Street - 13th Floor                  11       talk to me about what happened during the shakedown at
                Chicago, Illinois 60601                          12       Menard 2014; if you remember.
                     (312) 814-3695                              13           So is it okay if I ask you some questions today?
                                                                 14           A      Yes.
                                                                 15           Q      Can you please state and spell your name?
                                                                 16           A      Carlos Alberto Montanez.    The reason I
                                                                 17       always state the “A”, my middle name, is because is
                                                                 18       two older, former inmates that have the same name, so
                                                                 19       that’s why I state always my complete name; my entire
                                                                 20       name.   B46636.
                                                                 21           Q      And you were housed at Menard Correctional
                                                                 22       Center in April of 2014?
                                                                 23           A      Yes, I was housed at Menard in that cell
                                                                 24       house of this house from 2013 to 2015.    No, from 2012


                                                             1                                                                    3
1    BY MR. JAMES DURAN:                                              1     to 2015.
2        Q    All right, my name is James Duran (phonetic)            2          Q And on the day of the shakedown, you were in
3    and I’m an attorney for the state of Illinois.    I’m            3     the East House; East Cell House, is that correct?
4    here today to interview you about a shakedown that               4          A East House, 124.
5    occurred in 2014.   A lawsuit has been filed by inmates          5          Q Okay. Can you tell me what happened, the
6    that were housed at Menard, Illinois River, Big Muddy            6     first thing you remember regarding the shakedown on
7    River and Lawrence Correctional Centers against                  7     the day of the shakedown?
8    certain individuals working for the Illinois                     8          A It was not even five minutes after I was
9    Department of Corrections arising out of the                     9     taken out of the cell heading to the gym when an
10   operation.                                                  10         officer hit another -- I mean an inmate because he
11       I’m here on behalf of the Defendants, the               11         misstepped and they whooped him.
12   employees of the I-DOC.   Certain inmates are the named     12              His nickname was “Cartoon”, I believe, a Hispanic
13   Plaintiffs in this case and are represented by a law        13         with long hair. And then since I was Hispanic, too,
14   firm, Loevy & Loevy.   The lawsuit is a class action        14         the officer, the Tact Team say something very racial
15   and at this stage, the class has not yet been               15         against Hispanics and hit me because I misstepped,
16   certified by the judge.                                     16         too.
17       Because you were housed at Menard, you are a            17              Q Who hit you?
18   potential class member, which means that if the judge       18              A The Tact Teams.
19   certifies a class, you would be represented by              19              Q Okay. Do you know the name of anyone that
20   Plaintiff’s attorneys.    If the judge certifies a          20         did?
21   class, your interest could be adverse to the                21              A They not allow anybody to look up. We had
22   Defendants.                                                 22         to look head down with -- with both hands on the back
23       You are of course, free to contact an attorney          23         and I told them that I got injuries, sciatica, and
24   before speaking to me.    But I would like to interview     24         shoulder problems. And I still haven’t been able to

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 1   look forward, but I know the person that they was         1   allow us to -- to watch, to take a good picture of
 2   beating up because, of course, he fell and they beat      2   them.
 3   him.                                                      3       Q Could you tell if they were men or women?
 4       And he was a Hispanic and I recognize the voice       4       A They men.
 5   because I was familiar with him. He was only two          5       Q And can you explain how the strip-search was
 6   cells from me, so I basically see the incident. And       6   done?
 7   the officer, they hit me in my head and say, “No, keep    7       A Well, the strip-search was basically how it
 8   walking and keep you head down. You “mf”.”                8   is supposed to be done according with the rules. And
 9       And cursing me and punching me and well, pulling      9   the fact that I had to strip the -- the clothes and
10   my arms. We I went to the gym, we had to standing,       10   hand it to them and they give us -- as far as I
11   looking to the walls. And inmates was defecating         11   remember when we was in the cell, no problem.
12   because they not allow them to go to the washroom. I     12       But as soon as I was taken out of the cell,
13   know that inmate passed out.                             13   hostility show up when I’m really submitted to the --
14       He was a Muslim, he say, “(Inaudible 00:04:52), I    14   to the rules. I wasn’t violating no rules, no
15   need to go to the -- to the washroom.” And they          15   nothing, just behaving.
16   didn’t allow him and they get mad because he was         16       Q Okay. So after you were stripped, were you
17   saying (Inaudible 00:05:01) or something like that.      17   allowed to put clothes back on?
18       And I know that he made -- I remember sadly that     18       A Yes.
19   he say he had to defecate, they didn’t allow him to go   19       Q Your blues?
20   and use the washroom and he -- he defecated hisself.     20       A Yes. Blues, no underwears, no socks. Just
21       Q So you were taken to the gym?                      21   pants, shirt -- pants, shirt and shoes; that’s it.
22       A Yes.                                               22   Not even eyeglasses, nothing.
23       Q And how long did you remain in the gym?            23       Q Can you describe how you were -- when you
24       A I must have stayed about an hour-and-a-half.       24   left the cell house --

                                                         5                                                             7

 1   I did not watch nothing, but I estimated about an         1                    (End of Interview)
 2   hour-and-a-half, maybe.                                   2
 3       Q Do you know how many inmates were in the gym        3
 4   with you?                                                 4
 5       A Around -- maybe over 500 because it’s the           5
 6   whole side, by five galleries. Around 250, excuse me.     6
 7   Around 250, I estimate.                                   7
 8       Q All right, so were all the inmates from the         8
 9   odd-numbered side in there? vSo it was one gallery.       9
10   How many galleries are there?                            10
11       A Five galleries.                                    11
12       Q So it was one, three --                            12
13       A One, three, five, seven and nine. By 24            13
14   cells, deuces, two inmates per cell. So I estimate       14
15   merely by nearly 250.                                    15
16       Q Were the inmates in the even-numbered              16
17   galleries shaken on that same day?                       17
18       A Yes.                                               18
19       Q I want to back you up to the beginning. Do         19
20   you -- do you remember, did any officers come to your    20
21   cell to do a strip-search?                               21
22       A Yes.                                               22
23       Q And do you know who the officers were?             23
24       A They not allow us to read names. They not          24

                                                         6                                                             8

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1         I, Audrey Marie Skaja, do hereby certify or
2    affirm that I have impartially transcribed the
3    foregoing from a digitally recorded statement of the
4    above-mentioned proceedings to the best of my ability.
5
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                                                                 1        you to get a better understanding of what happened
                                                                 2        during the tactical operation, and what your
                                                                 3        experience was.   I am gathering this information to

                       AUDIO TRANSCRIPTION                       4        defend the case on behalf of I-DOC Defendants, but not

                    Interview of James Moreno                    5        for any disciplinary purposes against you or any other

                   Inmate Number (not given)                     6        inmates.
                                                                 7            This interview is voluntary.    I am not in a
                                                                 8        position to offer you anything for participating and
                                                                 9        there will be no adverse consequences if you refuse to
                Illinois Attorney General                        10       talk to me.   However, I’m hoping you are willing to
          100 West Randolph Street - 13th Floor                  11       talk to me about what happened during the shakedown in
                Chicago, Illinois 60601                          12       2014; if you remember.   So is it okay if we ask you
                     (312) 814-3695                              13       some questions?
                                                                 14           A      Yes.
                                                                 15           Q      Okay, sir, we spoke a little bit before that
                                                                 16       you were housed at Illinois River in -- in 2014, in
                                                                 17       April; do you recall that?
                                                                 18           A      (Inaudible 00:01:38).
                                                                 19           Q      Yes, okay.   And you said that you recall
                                                                 20       being shaken down at Illinois River one time; is that
                                                                 21       right, by the tactical team, anyway?
                                                                 22           A      Yes.
                                                                 23           Q      And then -- so that makes sense that it was
                                                                 24       the one shakedown that occurred in April of 2014.      Is


                                                             1                                                                    3
1    BY MR. SUZANNA PRICE:                                            1     that fair to say?
2        Q      Okay, Mr. Mareno, again, I’m Suzanna Price,           2         A (No audible response).
3    and Jason Wegan (phonetic) and we are here as                    3         Q That’s a “yes”?
4    attorneys from the state of Illinois.   We’re here               4         A Yes.
5    today to interview you about a shakedown that occurred           5         Q I’m sorry. Okay, so we’ll just start with
6    in 2014.   A lawsuit has been filed by inmates that              6     the beginning of the day. Did the day begin with a
7    were housed at Menard, Illinois River, Big Muddy River           7     strip-search?
8    and Lawrence Correctional Centers against certain                8         A Yes, they came in there, they bang us --
9    individuals working for I-DOC arising out of that                9     they -- yeah, yeah, (inaudible 00:02:16). Yeah, they
10   shakedown.                                                  10         come in, they strip-search, yes.
11       I’m here on behalf of the Defendants, the               11             Q What about the strip-search, do you remember
12   employees of the I-DOC.   Certain inmates are the named     12         anything remarkable about the strip-search itself?
13   Plaintiffs in this case and are represented by a law        13             A No.
14   firm, Loevy & Loevy.    The lawsuit is a class action       14             Q Were you in your cell?
15   and at this stage, the class has not yet been               15             A Yeah, I was in there.
16   certified by the judge.                                     16             Q Okay. Were you permitted to put clothing on
17       But because you were housed at Illinois River,          17         after the strip-search?
18   you are a potential class member, which means that if       18             A I actually can’t even remember that because
19   the judge certifies a class, you would be represented       19         I was (inaudible 00:02:51).
20   by Plaintiff’s attorneys.   If the judge certifies a        20             Q If you put clothing back on?
21   class, your interest could be adverse to the                21             A I mean, other than boxers, I can’t remember
22   Defendants.                                                 22         anything.
23       You are of course, free to talk to an attorney          23             Q Okay. Do you remember leaving your cell
24   before speaking to me.    But I would like to interview     24         without clothing on?

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1        A That’s like the one thing that I can’t              1   the gym?
2    remember the most is if I was wearing anything other      2       A No.
3    than boxers when we went into the -- the (inaudible       3       Q Okay, and you stood for a couple of hours
4    00:03:20).                                                4   and then what happened?
5        Q Fair enough.                                        5       A (Inaudible 00:05:55) back.
6        A Kind of crazy (inaudible 00:03:23).                 6       Q To your cell? And then was it your
7        Q But you do recall having boxers on or               7   understanding that your cell had been searched while
8    something on your -- on your bottom?                      8   you were gone?
9        A Yeah, yeah                                          9       A Oh, yeah.
10       Q Okay. So after the strip-search, what              10       Q Yeah, and you knew that, how?
11   happened next?                                           11       A Well, by everything being tossed apart.
12       A Then we were made to line up in the halls,         12   Like I said, we had playing cards that we could order
13   head down, I guess I pretty much on the guy’s back in    13   through (inaudible 00:06:12). Some of those had been
14   front of you so it’s to keep your attention (inaudible   14   torn apart. And one of the guys had like an old
15   00:03:47) whatever (inaudible 00:03:48), but anyway.     15   (inaudible 00:06:19) and it was missing altogether.
16   And I guess there was some sort of altercation of the    16       Q All right, well that’s it.
17   (inaudible 00:03:59) in front of me. (Inaudible          17                 (End of interview)
18   00:04:02).                                               18
19       Q And so do you remember about how long it           19
20   took you? And I think you said that the -- your head     20
21   was on the shoulders on the man in front of you?         21
22       A Yes.                                               22
23       Q And that’s kind of how it was; is that             23
24   right?                                                   24


                                                         5                                                             7

 1       A Yes.                                                1        I, Audrey Marie Skaja, do hereby certify or
 2       Q Okay. Do you remember about how long it             2   affirm that I have impartially transcribed the
 3   took you to walk from your cell to the -- to the gym?     3   foregoing from a digitally recorded statement of the
 4       A It was long enough. You could pretty much           4   above-mentioned proceedings to the best of my ability.
 5   look at everybody, that you were not supposed to be       5
 6   looking at.                                               6
 7       Q Did you get a look at some staff?                   7
 8       A I would say almost all of them.                     8
 9       Q Did you recognize anyone?                           9
10       A I believe (inaudible 00:04:51).                    10
11       Q Okay. Do you remember any names?                   11
12       A AS I said, I don't -- as a rule I don't            12
13   remember officers’ names. I've been here for two         13
14   years and nobody know officers’ names.                   14
15       Q Fair enough, sir. So then you get to the           15
16   gym and what happens in the gym?                         16
17       A They were (inaudible 00:05:16) of the              17
18   building inside. And pretty much have your forehead      18
19   up on the wall and there we stood for what had to be     19
20   an hour or so, yeah, miserable.                          20
21       Q Was anyone behind you? Any inmate lined up         21
22   behind you?                                              22
23       A Not to my recollection, no.                        23
24       Q Any interaction with staff while you were in       24


                                                         6                                                             8

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                                                                1        happened during the tactical operation, and what your
                                                                2        experience was.     I am gathering this information to
                                                                3        defend the case on behalf of I-DOC Defendants, but not

                     AUDIO TRANSCRIPTION                        4        for any disciplinary purposes against you or any other

                   Interview of Pedro Ruiz                      5        inmates.

                    Inmate Number B42477                        6             This interview is voluntary.        I am not in a
                                                                7        position to offer you anything for participating and
                                                                8        there will be no adverse consequences if you refuse to
                                                                9        talk to me.    However, I’m hoping you are willing to
                Illinois Attorney General                       10       talk to me about what happened during the shakedown at
          100 West Randolph Street - 13th Floor                 11       Big Muddy 2014; if you remember.        So is it okay if I
                Chicago, Illinois 60601                         12       ask you some questions?
                     (312) 814-3695                             13            A      Yes, sir.
                                                                14            Q      Okay, can you please state and spell your
                                                                15       name and give your inmate number?
                                                                16            A      My name is Pedro Ruiz, B42477, P-e-d-r-o R-
                                                                17       u-i-z.
                                                                18            Q      All right, and you were housed at Big Muddy
                                                                19       in 2014; is that correct?
                                                                20            A      Yes, sir.
                                                                21            Q      Do you recall a facility-wide shakedown in
                                                                22       2014 at Big Muddy?
                                                                23            A      Yes, I do.
                                                                24            Q      What’s the first thing you remember there?


                                                            1                                                                         3
1    BY MR. JAMES DURAN:                                             1        A     Of what occurred or how it occurred?
2        Q    My name is James Duran (phonetic) and I’m an           2        A     Well, first of all where were you housed?
3    attorney for the state of Illinois.   I’m here today to         3        A     I was housed in 1 House, the C wing. And
4    interview you about a shakedown that occurred in 2014.          4     the cell, I can’t -- I mean, I remember the cell, I
5    A lawsuit has been filed by inmates that were housed            5     just don’t remember the cell number.
6    at Menard, Illinois River, Big Muddy River and                  6        Q     Okay. So what do you remember? What’ the
7    Lawrence Correctional Centers against certain                   7     first thing you remember on that day as far as the
8    individuals working for I-DOC arising out of the                8     shakedown?
9    operation.                                                      9        A     Just waking up and nobody going to work or
10       I’m here on behalf of the Defendants, the              10         coming out of the cell. So I mean we were locked down
11   employees of the I-DOC.   Certain inmates are the named    11         and then you know looking out my window I seen a whole
12   Plaintiffs in this case and are represented by a law       12         bunch of orange suits out there, you know? That’s
13   firm, Loevy & Loevy.   The lawsuit is a class action       13         basically what I remember.
14   and at this stage, the class has not yet been              14            Q     Okay. And then at some point did they come
15   certified by the judge.                                    15         into the cell house?
16       Because you were housed at Big Muddy River, you        16            A     Yeah, they did?
17   are a potential class member, which means that if the      17            Q     What happened when they came in the cell
18   judge certifies a class, you would be represented by       18         house?
19   Plaintiff’s attorneys.    If the judge certifies a         19            A     When they came in, they came marching in,
20   class, your interest could be adverse to that of the       20         stomping their feet, banging on the door with the
21   Defendants.                                                21         wooden sticks. I mean, they were real loud, you know
22       You are of course, free to contact an attorney         22         asking everybody to get up and go to the back of the
23   before speaking to me.    But I would like to interview    23         cell of your -- your room.
24   you in order to get a better understanding of what         24            And then I guess they called one of us at a time

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 1   to the front of the cell while the other one stood in     1   someone would strike on the knee with the -- with the
 2   the back. They had us strip down, put our hands up,       2   wooden, what is it, stick or baton or whatever and hit
 3   turn around, pick our feet up, spread our butt cheeks,    3   you in the knee if you lost contact. Or, you know,
 4   bend over, turn back around. Open up our mouths,          4   you get pushed, you know.
 5   stick our tongues out, put the tongues up.                5       Q Did anyone strike you with the baton?
 6       If you had hair, you had to run your hands            6       A No, I didn’t get struck with the baton.
 7   through your hair. And then he would go back to the       7       Q Okay. So then you were -- where were you
 8   back, the other one would come back up, which was for     8   walked to?
 9   me and my cellmate. And do the same process. Then         9       A We were walked to the dietary. We were put
10   they handcuffed us.                                      10   in the dietary and handcuffed. We were still
11       Q Did you put clothes on before you were             11   handcuffed like that with our heads on the tables.
12   handcuffed?                                              12       Q Okay, and how long did you remain there?
13       A Oh yeah, yeah. We put our clothes back on.         13       A As long as it took for them to shakedown,
14       Q What clothes did you put on?                       14   you know, all my -- I don't know, I am just
15       A We’re were only able to put on our boxers,         15   estimating. I am not sure of the exact minutes or
16   state pants, our state shirt and one pair of shoes, if   16   hours, but it was -- it was about say an hour-and-a-
17   you had shoes. I don't know if it was boots -- yeah,     17   half, if I were to guess.
18   our shoes. If you had a pair of shoes or put our         18       Q Okay. Then after you were sitting there for
19   boots on.                                                19   an hour-and-a-half, you were then taken back to your
20       Q Okay. And then who came into your cell?            20   cell at some point, I assume?
21   Was it one or more officers?                             21       A Yeah, we were taken back to our cell. We
22       A Well, they handcuffed us first. Pulled us          22   weren’t allowed to even get up from the dietary to use
23   out. Now when they pulled us out, they had us all        23   the washroom or nothing like that.
24   line up, one behind each other, handcuffed with our      24       Q Okay.

                                                         5                                                             7

 1   head down.                                                1       A (Inaudible 00:06:39). You know, headed back
 2       Q Okay.                                               2   to our unit.
 3       A But nobody I seen came -- I never seen              3       Q All right, and then what happened when you
 4   nobody actually go in the room because we were out of     4   arrived back at the cell, anything?
 5   the room before they came in.                             5       A Everything was tore up, stuff was thrown
 6       Q Where were you strip-searched; in the room?         6   away. Food was taken. There was food taken from our
 7       A In the room, yeah.                                  7   stuff, some sausages for some reason, I don't know.
 8       Q All right. And was it male or female                8   They took summer sausages, had my stuff and my
 9   officers that came in to strip-search you?                9   cellmate’s stuff mixed. We didn’t know whose was
10       A Well, the ones that came to strip-search us,       10   what.
11   me and my cellmate, it was a male. But there were        11       They made us do -- get back in the cell. The
12   females there.                                           12   procedure to get back in the cell was turn around,
13       Q Okay.                                              13   unhandcuffed, make you go to the back of the wall.
14       A There was females doing the same procedures,       14   And told everyone to go back to their cell, wait until
15   you know, so I mean not as far as us having a female.    15   we come back. Then we waited there about 15 minutes.
16   No, there was no female at my door.                      16   Then we finally realized they weren’t back to us
17       Q All right. And then can you describe, was          17   (inaudible 00:07:26).
18   there anything unusual about how you were walked from    18       You can proceed on. You know what I am saying,
19   your cell to wherever you went?                          19   so that’s all I remember. I mean having to gather our
20       A Yeah, well I mean we were handcuffed. We           20   stuff and put it back together is all that I remember.
21   were handcuffed. We had to keep our head on the man      21       Q Do you remember any of the officers saying
22   in front of us back.                                     22   anything in particular during the shakedown?
23       And handcuffed like this, so if we lost contact      23       A Saying like?
24   with that, they had -- the guys in orange, you know,     24       Q Anything. Talking, yelling?

                                                         6                                                             8

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 1       A They were aggressive, they were loud, they
 2   were you know in your face and saying bad words and
 3   stuff like that, you know. Name calling, pretty much,
 4   but you know, the “B” word was used a lot, you know,
 5   that’s it that I could remember as far as them saying.
 6       Q All right. Have you had -- have you been
 7   involved in any facility-wide shakedowns since that
 8   time?
 9       A Since that time, no.
10       Q Okay.
11       A Since that time, no. Prior to it, yeah.
12       Q All right. I have no further questions.
13       A Okay. Thank you, have a nice day.
14       Q You, too.
15                  (End of interview)
16
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1         I, Audrey Marie Skaja, do hereby certify or
2    affirm that I have impartially transcribed the
3    foregoing from a digitally recorded statement of the
4    above-mentioned proceedings to the best of my ability.
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                                                                 1        happened during the tactical operation, and what your
                                                                 2        experience was.   I am gathering this information to
                                                                 3        defend the case on behalf of I-DOC Defendants, but

                      AUDIO TRANSCRIPTION                        4        it’s not for any disciplinary purposes against you or

                   Interview of Jerry Scott                      5        any other inmates.

                     Inmate Number N51819                        6            This interview is voluntary.     I am not in a
                                                                 7        position to offer you anything for participating and
                                                                 8        there will be no adverse consequences if you refuse to
                                                                 9        talk to me.   However, I’m hoping you are willing to
                Illinois Attorney General                        10       talk to me about what happened to you during the
          100 West Randolph Street - 13th Floor                  11       shakedown at Big Muddy in 2014; if you remember.     So
                Chicago, Illinois 60601                          12       is it okay if I ask you questions?
                     (312) 814-3695                              13           A     Sure.
                                                                 14           Q     All right.   Can you state and spell your
                                                                 15       name and give your inmate number?
                                                                 16           A     Jerry Scott, J-e-r-r-y, S-c-o-t-t, N51819.
                                                                 17           Q     Okay, and you were housed at Big Muddy in
                                                                 18       2014; is that correct?
                                                                 19           A     That’s right.
                                                                 20           Q     All right.   Do you remember a facility-wide
                                                                 21       shakedown?
                                                                 22           A     With the Orange Crush?
                                                                 23           Q     Yes.
                                                                 24           A     Yeah.


                                                             1                                                                      3
1    BY MR. JAMES DURAN:                                              1        Q Okay. Where were you housed at that time,
2        Q    My name is James Duran (phonetic) and I’m an            2     what house?
3    attorney for the state of Illinois.   I’m here today to          3        A Housing Unit 4, Drug Treatment.
4    interview you about a shakedown that occurred in 2014.           4        Q Okay. Now what do you recall from that
5    A lawsuit has been filed by inmates that were housed             5     shakedown?
6    at Menard, Illinois River, Big Muddy River and                   6        A Well, any time that something like that
7    Lawrence Correctional Centers against certain                    7     happens it’s never a pleasant, you know, thing, you
8    individuals working for I-DOC arising out of the                 8     know what I mean? You go through all kind of changes.
9    operation.                                                       9     But just that probably the way your stuff was handled
10       I’m here on behalf of the Defendants, the               10         and the way we were strip-searched, you know what I
11   employees of the I-DOC.   Certain inmates are the named     11         mean?
12   Plaintiffs in this case and are represented by a law        12            I believe -- well, in my case, I know there was a
13   firm, Loevy & Loevy.   This lawsuit is a class action       13         couple of women on the deck because people were
14   and at this stage, the class has not yet been               14         complaining about that and saying that when you bend
15   certified by the judge.                                     15         over and spread, when you get naked and you've got to
16       Because you were housed at Big Muddy, you are a         16         bend over into other -- the female -- the males were
17   potential class member, which means that if the judge       17         doing it. But there were telling them, “This is how
18   certifies a class, you would be represented by              18         we do it,” or whatever. The procedure or whatever.
19   Plaintiff’s attorneys.    If the judge certifies a          19            I didn’t know if there was anything illegal or
20   class, your interest could be adverse to those of the       20         not about it; I still don’t. But just how you would
21   Defendants.                                                 21         grab your cheeks and spread them and then they’d make
22       You are of course, free to contact an attorney          22         you put your hands in your mouth and open your mouth.
23   before speaking to me.    But I would like to interview     23            And if you told them you know, you tried to tell
24   you in order to get a better understanding of what          24         them that’s not sanitary or whatever, there was --

                                                             2                                                                      4

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1    like I said, it is never pleasant, it’s prison, you       1   the --
2    know what I mean? But -- and I think just the way,        2        A From the Housing Unit 4 all the way to chow,
3    you know, that they talked to you, do you know what I     3   which is three or four city blocks.
4    mean? You know, that --                                   4        Q Okay.
5         Q How was that? How did they talk to you?            5        A Of the city.
6         A Oh, you never seen that or nothing?                6        Q And then how long were you sitting in the
7         Q No, I’m asking for the record how they             7   chow house?
8    talked to you?                                            8        A And then -- oh wow, I would say anywhere
9         A Oh, okay. It’s -- it’s degrading, it’s             9   from 45 minutes to an hour, if not longer, because
10   horrible because I mean I was in the drug unit trying    10   like I said it got to the point where I know me and I
11   to better myself. I did 18 months in that drug           11   took as long as I could take.
12   program and completed it and became a mentor in it.      12        I was like, I am fixing to you know, lose -- I’m
13        So to be treated, you know, how they try to tell    13   not going to cooperate, I am going to refuse because
14   you, you know, “Act like a man and be like a man,” and   14   it’s -- it’s hard to sit like that. I don't care who
15   all that. And to be treated the way we were treated,     15   you are.
16   you know, the way we were marched, probably three or     16        I know I did wrong by committing the crime that I
17   four city blocks that you were handcuffed behind your    17   did and sitting in prison, I belong here. But to go
18   back with your head on somebody else’s back all the      18   through that, I don't think it was necessary, you
19   way to the chow hall.                                    19   know, but I don't know you guy’s procedures, neither,
20        I mean, me myself, I've been down several times     20   so --
21   in the penitentiary, so it got to the point where I      21        Q Okay. And then after you left the chow
22   was thinking to myself I can’t sit like this much        22   hall, what happened?
23   longer. You know what I mean, there is no way I am       23        A Came back to -- you’ve got to go right back
24   going to react and they’re probably going to beat me     24   in your cell. It was total chaos, man. I had you

                                                         5                                                                  7

 1   up, do you know what I mean?                             1    know commissary stuff that was bought that was stepped
 2        Because you had to sit in the chow hall when you    2    on and just destroyed, do you know what I mean?
 3   got over there with your hands behind your back with     3       And I know they do it, you know, to maybe not
 4   your chin on your chest, like that. And they probably    4    make us come back or make us feel -- I don't know what
 5   have records of people going to the hospital there       5    the reason is, but you know, your shampoo squirted all
 6   because I know for a fact one of the dudes that was in   6    out. You know, just destroyed your stuff, man, do you
 7   the unit with me had to go to the healthcare and they    7    know what I mean?
 8   kept him over there for a couple of days because he      8       It was uncalled for, I know that. You know, but
 9   was complaining.                                         9    I didn’t do nothing about it because I figured, “Hey,
10        Q Did you need any healthcare treatment at          10   you know what, it’s prison. I’ll get over it
11   all?                                                     11   tomorrow, it’s a new day.”
12        A I didn’t, no, no.                                 12      Q    Go back to the strip-search. Where were you
13        Q Okay. So can you explain to me what clothes       13   when you were strip-searched?
14   -- after you were strip-searched, did they let you       14      A    In my cell.
15   wear clothes?                                            15      Q    Okay. And you said it was male correctional
16        A No underwear, no socks, no nothing. You           16   officers that came to your cell?
17   just put what you had, your state pants on. They         17      A    Yeah, there was male. There was females on
18   wouldn’t let you put your underwear on or your socks,    18   the deck.
19   none of that.                                            19      Q    But in your cell, it was male?
20        Q Okay. And a shirt, too?                           20      A    In my cell, yeah, they were tell -- telling
21        A A blue shirt.                                     21   the other ones how to go about search us, you know
22        Q Okay. And then shoes?                             22   what I mean? They wasn’t really rude right there and
23        A Yeah, shower shoes.                               23   then, I didn’t feel until they said to bend over and
24        Q All right, and then -- so you walked from         24   then put your hands in your mouth and this and that.

                                                         6                                                                  8

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1        I’m like, I did say, “You know that’s not --         1   mean, they talk, “I’ll bust your fucking head.” Do
2    that’s not cool. That’s not correct.” Do you know        2   you know what I mean? “Don’t look.” They are just
3    what I mean, but you can’t talk. They don’t have no      3   being aggressive; do you know what I mean? I think
4    understanding.                                           4   they feel they have to, you know?
5        Q Okay.                                              5      Q Okay. All right, I have no further
6        A They have no understanding. And I understand       6   questions.
7    their point some way.                                    7      A All right, thank you.
8        Q All right. Have you gone through any               8                (End of Interview)
9    facility-wide shakedowns since that time?                9
10       A No.                                               10
11       Q How long have you been here?                      11
12       A Since August of -- I came here 8/26/15, over      12
13   two years.                                              13
14       Q Okay.                                             14
15       A Now have they had them down here since then?      15
16   Yeah, but I happened to be in the over-40 unit and it   16
17   is kind of a good unit, you know what I mean?           17
18       Q Okay.                                             18
19       A So they didn’t bother us. But the other           19
20   places in here? Yeah, they have been in here several    20
21   times.                                                  21
22       Q Okay.                                             22
23       A Yeah.                                             23
24       Q Did you see those shakedowns?                     24


                                                        9                                                           11

1        A No, I’m in the other housing unit. I mean,        1         I, Audrey Marie Skaja, do hereby certify or
2    I seen them come in, do you know what I mean?           2    affirm that I have impartially transcribed the
3        Q But you never got a shakedown?                    3    foregoing from a digitally recorded statement of the
4        A No.                                               4    above-mentioned proceedings to the best of my ability.
5        Q All right,                                        5
6        do you remember anything that any of the officers   6
7    said during the shakedown?                              7
8        A I mean, yeah, there was only one thing that       8
9    I -- you know, that really stands out, you know,        9
10   because I was in the Housing Unit 4, which is -- they   10
11   have two wings that are civilly committed and you       11
12   know, them people are doing some crazy stuff.           12
13       So I was in the drug unit and it happened to be     13
14   one wing over there, so I wasn’t over there, so they    14
15   don’t know, I’m sure, what we are. But when we were     15
16   coming out, we were handcuffed.                         16
17       And you know, you’re handcuffed and your head is    17
18   on the other person’s back going over and you can’t     18
19   look up; you know what I mean? And then, “We just       19
20   need to march these SOBs right into the river.”         20
21       And I’m thinking, “Wow, really? You would think     21
22   -- you would really mass murder people?” Do you know    22
23   what I mean? It’s crazy, I know.                        23
24       But they just humiliate you. You know what I        24


                                                       10                                                           12

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                                                                1    happened during the tactical operation, of what your
                                                                2    experience was.      I am gathering this information to
                                                                3    defend the case on behalf of I-DOC Defendants, but not

                      AUDIO TRANSCRIPTION                       4    for any disciplinary purposes against you or any other

                   Interview of Bruce Smith                     5    inmates.

                     Inmate Number M41747                       6        This interview is voluntary.            I am not in a
                                                                7    position to offer you anything for participating and
                                                                8    there will be no adverse consequences if you refuse to
                                                                9    talk to me.       However, I’m hoping you are willing to
                Illinois Attorney General                       10   talk to me about what happened during the shakedown at
          100 West Randolph Street - 13th Floor                 11   Big Muddy 2014; if you remember.
                Chicago, Illinois 60601                         12       And you agreed that you would talk to me.            Can
                     (312) 814-3695                             13   you state and spell your name and your inmate number?
                                                                14       A       Bruce Smith, B-r-u-c-e, S-m-i-t-h, M41747.
                                                                15       Q       All right and you were housed at Big Muddy
                                                                16   River in 2014 during the shakedown, correct?
                                                                17       A       Correct.
                                                                18       Q       All right.    Have you participated in other
                                                                19   facility-wide shakedowns besides that one, either
                                                                20   before or after?
                                                                21       A       Yes.
                                                                22       Q       How many have you participated in before
                                                                23   that shakedown?
                                                                24       A       I think that was my first facility-wide


                                                            1                                                                       3
1    BY MR. JAMES DURAN:                                         1    shakedown.
2        Q    My name is James Duran (phonetic) and I’m an       2        Q     That was your first one, okay.
3    attorney for the state of Illinois.   I’m here today to     3        A     Yes.
4    interview you about a shakedown that occurred in 2014.      4        Q     And how many since then?
5    A lawsuit has been filed by inmates that were housed        5        A     Maybe two or three.
6    at Menard, Illinois River, Big Muddy River and              6        Q     All right. Were the other two or three both
7    Lawrence Correctional Centers against certain               7    out at Big Muddy?
8    individuals working for I-DOC arising out of the            8        A     Yes.
9    operation.                                                  9        Q     Can you explain the differences between what
10       I’m here on behalf of the Defendants, the              10    happened during the 2014 shakedown and the most recent
11   employees of the I-DOC.   Certain inmates are the named    11    shakedowns?
12   Plaintiffs in this case and are represented by a law       12        A     Well, the first one was the -- I guess
13   firm, Loevy & Loevy.   The lawsuit is a class action       13    response team, the Orange Crush, kind of group. The
14   and at this stage, the class has not yet been              14    other ones were just shakedown by the officers here.
15   certified by the judge.                                    15        Q     And when they did the shakedowns by the
16       Because you were housed at Big Muddy, you are a        16    officers here, was it a facility-wide shakedown?
17   potential class member, which means that if the judge      17        A     Yeah, it’s hard for me to determine if they
18   certifies a class, you would be represented by             18    were full facility-wide shakedowns because I can’t
19   Plaintiff’s attorneys.    If the judge certifies a         19    tell what’s going on outside the -- my own house.
20   class, your interest could be adverse to that of the       20        Q     Okay. Was it at least a full shakedown of
21   Defendants.                                                21    your house?
22       You are of course, free to contact an attorney         22        A     Yeah, I believe so.
23   before speaking to me.    But I would like to interview    23        Q     Okay. And was the -- the shakedowns that
24   you in order to get a better understanding of what         24    were done of your house, were those done in the same

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 1   way as the initial one by the Orange Crush, as you        1      A We had to leave our underwear there. But we
 2   said?                                                     2   were allowed to put our uniform back on.
 3       A No.                                                 3      Q And that consisted of a shirt and pants?
 4       Q What was different in the newer ones?               4      A A shirt and pants, shoes.
 5       A Well, you weren’t -- we didn’t get stripped         5      Q Your blues?
 6   down naked in front of everybody else. And there were     6      A Yeah.
 7   no -- nobody was pushing people around or had stakes      7      Q What type of shoes?
 8   or anything like that. It was just regular officers       8      A Just what we had there.
 9   at that time.                                             9      Q You said they had you marching nuts-to-
10       Q Okay. Well, why don’t we go back to the one        10   butts; is that something that they said or is that a
11   in 2014. What do you remember happened then?             11   terms that you just thought of?
12       A I remember the officers coming in, we were         12      A I never heard it before.
13   the first house they shook down. And they marched in.    13      Q Okay.
14   And they -- they told us to stand by our doors or        14      A That’s something they said.
15   something like similar to that. Then they told each      15      Q Do you know who said it?
16   one of us to stand in the doorway and they told us to    16      A They were all saying it, you know, if you
17   take everything off.                                     17   weren’t that way, they were saying, “Nuts-to-butts”,
18       Q So was it two individual officers who came         18   you know.
19   to your doorway?                                         19      Q All right. Were you handcuffed at the time?
20       A I don't remember if it was two or not. I --        20      A Yeah, we were handcuffed.
21   I just know there was a bunch of people there, a bunch   21      Q In front or back?
22   of officers all around the wing at that time.            22      A In the back.
23       Q The ones that ordered you to strip search,         23      Q So you had to -- how close were you to the
24   were they men or women?                                  24   inmate in front of you?

                                                         5                                                           7

1         A They were men, but there were women there.        1        A We were touching. We had to be. We had to
2         Q Where did you strip, in your cell or outside      2    touch the next inmate in front of you.
3    of it?                                                   3        Q Okay. And then -- then you said you had to
4         A Just outside the front door.                      4    keep your head down?
5         Q And can explain to me what happened, the          5        A Yeah.
6    strip search, you know, from the beginning to the end?   6        Q At that point had anyone of the security
7         A Well, they told me to take everything off         7    team hit you in any way?
8    and they took the clothes, looked through them and       8        A Yeah, one guy hit me.
9    threw them down and asked me to lift my testicles up.    9        Q Who hit you?
10   And then they asked me to turn around and spread my      10       A I don't know. They had helmets on and you
11   cheeks and bend over.                                    11   can’t see. You couldn’t see who it was, no nametags
12        Then they had me stand up and turn around and put   12   or anything.
13   my fingers in my mouth and lift my tongue up. And        13       Q All right. Where were you hit?
14   then they told me to get dressed. Then they did my       14       A In the back with a baton, a wooden baton or
15   cellmate, who you know, same thing. Then we got          15   something or whatever kind of baton it was. I think
16   dressed and they cuffed us up and marched us out in      16   it was wood trudgen, so --
17   the nuts-to-butts fashion.                               17       Q And was there a reason why you were hit, as
18        Q What do you mean “nuts-to-butts fashion?          18   opposed to why others weren’t hit?
19        A We had to be pressing against the inmate in       19       A Well, they hit other people, too. I mean it
20   front of you with your head down and not looking         20   was that we weren’t moving fast enough or we weren’t
21   anywhere. We marched that way over to the chow hall,     21   as close as possible to the other guy in front of us
22   locked in.                                               22   or just --
23        Q You said you got dressed, what clothes were       23       Q What was the reason given why you were hit?
24   you -- put back on?                                      24       A They didn’t give us a reason. They just hit

                                                         6                                                           8

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1    you.                                                            1   anything else?
2          Q    All right. Were you looking up or were you           2      A No, they were all in unison chanting this.
3    --                                                              3   They had a chant going, you know, like in the military
4          A   No.                                                   4   when you march.
5          Q    You were just hit?                                   5      Q Okay, that’s all we need.
6          A   Yeah.                                                 6      A That’s it?
7          Q    How hard were you hit?                               7      Q Yep, thank you.
8          A   Not enough to break anything. But I knew I            8      A All right.
9    was hit.                                                        9                (End of Interview)
10         Q    All right, did you get any medical attention        10
11   from when you were hit?                                        11
12         A   No.                                                  12
13         Q    And you said that you were the first cell           13
14   house to be shaken out that day?                               14
15         A   Yes.                                                 15
16         Q    Do you know what -- what time it was?               16
17         A   No, I have no idea. It was a while ago.              17
18         Q    Okay. So -- and all the inmates were                18
19   marched out of the cell house. Where were you marched          19
20   to?                                                            20
21         A   The chow hall.                                       21
22         Q    And what happened in the chow hall?                 22
23         A   They made us sit down at the tables with our         23
24   heads down on the tables and our hands cuffed behind           24


                                                                9                                                           11

 1   our back.                                                      1         I, Audrey Marie Skaja, do hereby certify or
 2       Q How long did you have to sit at the table?               2    affirm that I have impartially transcribed the
 3       A It was hours, I don't know how long it was,              3    foregoing from a digitally recorded statement of the
 4   but it was hours, it was very uncomfortable.                   4    above-mentioned proceedings to the best of my ability.
 5       Q When you say “hours” is it like one, two                 5
 6   three, four?                                                   6
 7       A At least two.                                            7
 8       Q Okay. And then after sitting at the table                8
 9   for a couple of hours what was done then?                      9
10       A I think we marched back to the house, stood              10
11   in front of our cells and they took the cuffs off and          11
12   we went back in our cells.                                     12
13       Q And then were you placed in your cell?                   13
14       A Yeah.                                                    14
15       Q All right, and was that the end of the strip             15
16   -- the shakedown?                                              16
17       A Right.                                                   17
18       Q Do you remember anyone saying anything in                18
19   particular besides what we've already said?                    19
20       A When they were marching up, they said                    20
21   something like -- they had some kind of a chant going          21
22   on. The only part of the chant that I remember was             22
23   “Punish the inmates.”                                          23
24       Q And do you remember anyone else saying                   24


                                                               10                                                           12

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                                                                1        during the tactical operation, and what your
                                                                2        experience was.   I am gathering this information to
                                                                3        defend the case on behalf of I-DOC Defendants, but not

                       AUDIO TRANSCRIPTION                      4        for any disciplinary purposes against you or any other

                   Interview of Larry Williams                  5        inmates.

                      Inmate Number M05829                      6            This interview is voluntary.    I am not in a
                                                                7        position to offer you anything for participating and
                                                                8        there will be no adverse consequences if you refuse to
                                                                9        talk to me.   However, I’m hoping that you are willing
                Illinois Attorney General                       10       to talk to me about what happened during the shakedown
          100 West Randolph Street - 13th Floor                 11       at Big Muddy 2014; if you remember.   So is it okay if
                Chicago, Illinois 60601                         12       I ask you some questions?
                     (312) 814-3695                             13           A      Yes.
                                                                14           Q      All right, can you please state and spell
                                                                15       your name and give your inmate number?
                                                                16           A      Larry Williams, L-a-r-r-y W-i-l-l-i-a-m-s,
                                                                17       M05829.
                                                                18           Q      All right.   And you were housed at Big Muddy
                                                                19       River Correctional Center in 2014, correct?
                                                                20           A      Yes.
                                                                21           Q      Do you remember a shakedown that happened in
                                                                22       2014?
                                                                23           A      Yes.
                                                                24           Q      What do you remember about that shakedown?


                                                            1                                                                    3
1    BY MR. JAMES DURAN:                                             1          A That they treated us -- they like -- it was
2        Q    My name is James Duran (phonetic) and I’m an           2     -- it was horrible the way they cuffed us up and the
3    attorney for the state of Illinois.   I’m here today to         3     way they shook us down in front of the female
4    interview you about a shakedown that occurred in 2014.          4     officers.
5    A lawsuit has been filed by inmates that were housed            5          Like they run to our cells instead of like having
6    at Menard, Illinois River, Big Muddy River and                  6     dividers for them, to separate us. They stripped us.
7    Lawrence Correctional Centers against certain                   7     They stripped us in front of our cellmates, in front
8    individuals working for I-DOC arising out of the                8     of the female officers while they pointed and laughed,
9    operation.                                                      9     you know, it was -- it was really degrading.
10       I’m here on behalf of the Defendants, the              10              Q Okay. What house were you in at the time?
11   employees of the I-DOC.   Certain inmates are the named    11              A I was on 2-C.
12   Plaintiffs in this case and are represented by a law       12              Q And were you one of the first galleries
13   firm, Loevy & Loevy.   The lawsuit is a class action       13         shaken down, the last, or in the middle?
14   and at this stage, the class has not yet been              14              A I want to say we were -- I work in the
15   certified by the judge.                                    15         kitchen, so I think we were the first house to be
16       Because you were housed at Big Muddy, you are a        16         shook down. Two houses, that was the -- at the time,
17   potential class member, which means that if the judge      17         it was all kitchen workers. Now they got it everybody
18   certifies a class, you would be represented by             18         works from different houses.
19   Plaintiff’s attorneys.    If the judge certifies a         19              You can go to work from anywhere. But at the
20   class, your interest could be adverse to those of the      20         time, in 2014, only the kitchen workers worked in two
21   Defendants.                                                21         houses. The -- like maintenance workers and all those
22       You are of course, free to contact an attorney         22         were in one house, we house always been school,
23   before speaking to me.    But I would like to interview    23         maintenance stuff.
24   you to get a better understanding of what happened         24              Q All right. So what do you remember --

                                                            2                                                                    4

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 1   what’s the first thing you remember when that           1       A      No, I didn’t. They had their -- they had a
 2   shakedown occurred?                                     2    black thing over their badges, where you couldn’t see
 3        A Oh, we was saying to ourselves, you know, my     3    the badge numbers. And they had -- there was a strip
 4   cellmate and they came in and turned the water off.     4    over their names.
 5   That’s the first thing that happened, they turned the   5       Q      Were they black, white, Hispanic?
 6   water off. We heard the stomping and the smacking of    6       A      It was two white officers.
 7   the shields. And then they lapped in front of our       7       Q      And neither were familiar to you?
 8   doors.                                                  8       A      No. They had a shield on so you can’t see
 9        And then they opened doors up, they ran in the     9    their face.
10   cells, then they pushed me and my cellmate back         10      Q      And can you describe the actual strip-search
11   against the wall, the far end of the wall where the     11   of you?
12   window is at. And then they had my cellmate come out    12      A      Oh, this is exactly what happened. They had
13   first and then they stripped him right in front, in     13   me take off my shirt first because I had on my jogging
14   the gallery.                                            14   suit. I am in my cell, so I could have it on, the
15        There was female officers and everybody was        15   issued blues on. I got my t-shirt on. I got some
16   standing there. They was laughing and cracking jokes    16   jogging pants on.
17   and stuff. And then they stripped me. And when I say    17      He asked me to take off -- he told me to take off
18   they had us standing there for like 10 or 15 minutes.   18   my shirt first. He had me -- took off my jog. Then
19   Like on the gallery in front of everybody.              19   he had me turn around and -- and squat. And spread my
20        Q With no clothes on?                              20   behind and then he had me cough and stuff like that.
21        A No clothes on.                                   21      Q      Was that the entire strip-search?
22        Q All right so -- so your cellmate was shaken      22      A      No. Then they -- then they tossed the cell
23   out first. And did you watched him get strip-           23   after they had us step out.
24   searched?                                               24      Q      They tossed the cell right in front of you

                                                        5                                                                  7

 1       A Yeah, I’m in the back of the cell. They had        1   at that time?
 2   pushed us. When they came into the cell, they pushed     2       A No, they had us step out first.
 3   us to the back of the room. Then by my cellmate,         3       Q Where were you when they tossed the cell?
 4   because he was the top; I had the bottom bunk. He was    4       A They lined us up. Everybody lined us up and
 5   the first one, I guess the closest one.                  5   they walked us to the chow hall in a -- in a straight
 6       So they had him come out and they stripped him       6   line. They made us sit in the chow hall.
 7   like right in the doorway and made him step all the      7       We was cuffed up like this with our heads on the
 8   way out of the cell where the rest of the officers       8   table like this. They made us walk all the way to the
 9   was. And then -- because they -- one cell, our cell,     9   chow hall like this and us cuffed up. And like if you
10   they opened the doors up, and there was one cell by     10   raised your head, they would smack your head down and
11   itself.                                                 11   stuff like that.
12       But they -- when they came in, all of the -- all    12       Q So how far were you bent over when you were
13   of the sword officers, Orange Crush, whatever. They     13   walking? Pretty far bent over?
14   -- they each had a cell, you know, what I am saying,    14       A Yeah, like -- they had us like -- and so
15   I guess they was assigned a cell.                       15   like this. Like with your head down and they won’t
16       So then they made him come out and strip; had to    16   let you left it up. You got your hands cuffed and
17   strip his clothes off. Then I came out, I stripped my   17   they got your head down like this. So they’re in
18   clothes and we stood there and they had us handcuffed   18   line. They’re all in line, they got us walking.
19   with our hands behind our back with our head down.      19       And we’re walking like this. We got our heads on
20       Q How many officers came to your cell?              20   the next man’s back like this. So if you try to look
21       A It was two officers.                              21   up, they would push your head down. And they hit a
22       Q Were they male or female?                         22   couple of guys with sticks. With those batons because
23       A There was one male and one female.                23   they was looking up and stuff.
24       Q Do you know any of their names?                   24       Q Did anyone hit you?

                                                        6                                                                  8

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 1       A No, I never got hit, though. I got my head          1   cards. And just insignificant things they didn’t have
 2   pushed down, like twice or three times. But it wasn’t     2   to do, just spiteful and malice and stuff for no
 3   no -- it wasn’t a heinous push but -- because I was       3   reason.
 4   trying to look up. No, it was a lot of confusion.         4        Q Have you been involved in any facility-wide
 5   They took a couple of guys down. They broke them up,      5   shakedowns either before that one or after that one?
 6   release them, and those guys were trying to look. But     6        A Not in -- this is my first time in the
 7   they say, “Inmate, get on,” and push the head down and    7   Department of Corrections, but I was in the county
 8   stuff like that.                                          8   jail for like three-and-a-half years, Cook County
 9       Q All right. So after you were strip-                 9   Jail, so I've been through a shakedown before.
10   searched, were you allowed to put on clothes?            10        Q Okay. But no other Illinois Department of
11       A Yeah, they let us put our clothes back on.         11   Corrections shakedowns?
12       Q What clothes did you put on?                       12        A No.
13       A I put my jogging pants back on. My jogging         13        Q Did you hear any of the officers say
14   pants and my t-shirt.                                    14   anything during the shakedown?
15       Q How about shoes?                                   15        A Like they said like they was cracking jokes,
16       A Yeah, they let us put our shoes on.                16   you know with the officers and talking about the guys’
17       Q Do you know what shoes?                            17   penis and stuff like that. Little nuances and stuff
18       A I had some gym shoes, Reeboks.                     18   about -- because you could tell some of the officers
19       Q All right. And then -- so you were walked          19   were for really with the joint, but you couldn’t tell
20   to the chow hall?                                        20   because -- I mean you couldn't exactly know who it was
21       A Yeah.                                              21   because they had no nametags and stuff like that.
22       Q And then you had to -- you said you had to         22        But some officers you could tell like he -- he
23   sit with your head on the table at the chow hall?        23   was from this joint before because you could hear
24       A Yeah, they made us sit with our hands -- we        24   their voice or something like that. But you know

                                                         9                                                                 11

 1   were still cuffed, with our head on the table like        1   exactly and say, “Oh, this was this officer,” but I’m
 2   this. And we sat there for like two hours in that         2   pretty sure it was him, you know what I am saying?
 3   position. And guys were moaning and groaning like,        3   That’s how you hear them talking.
 4   “MCO, can I sit up?” And they was like, “No, keep         4      Because if you’ve been around an officer for so
 5   your -- keep your fucking head down. Don‘t sit up.”       5   long, you can -- like our voices, they know our voice
 6       And there was one guy he was -- he was in a           6   because the way from baritone. And you know what I am
 7   wheelchair and he was sitting like -- he like, “I have    7   saying? So if an officer being around for so long,
 8   back problems.” And the officer mashed his head into      8   “Oh, that’s Williams,” because he’s the only one
 9   the table.                                                9   whose voice that sound like that.
10       Q All right, but no one hit you or you are not       10      Q    And you’d say -- and you could identify
11   enforcing it?                                            11   their voices?
12       A No.                                                12      A    Yes, certain officers, you could.
13       Q All right, so after you sat in the chow hall       13      Q    Okay. But you don’t recall the names of any
14   for a couple of hours, what happened then?               14   of the officers?
15       A They escorted us out and marched us back to        15      A    No.
16   our -- to our headquarters.                              16      Q    Okay. I have no further questions.
17       Q All right. And was that the end of the             17      A    All right.
18   shakedown?                                               18      Q    Thank you.
19       A Yeah, that was the end. Well, they had all         19                   (End of Interview)
20   in our cells, you know, they -- well it was a system     20
21   shakedown, they tossed all, me and my cellmate’s mail    21
22   and all of our food together.                            22
23       They didn’t separate it like they threw it all in    23
24   one bunch and they stepped on pictures and two of our    24


                                                        10                                                                 12

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1         I, Audrey Marie Skaja, do hereby certify or
2    affirm that I have impartially transcribed the
3    foregoing from a digitally recorded statement of the
4    above-mentioned proceedings to the best of my ability.
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·1· · · · · · · · · ILLINOIS ATTORNEY GENERAL'S OFFICE
                                                                       ·1· ·searched us again, made us put our blues on and told us to come
·2· · · · · · · · · ·DEMETRIUS ROSS V. GOSSETT, ET AL.
                                                                       ·2· ·out the cell and once we were out the cell, they mashed our head
·3· · · · · · · · · · · · · · · ·15 C 0309
                                                                       ·3· ·into the next person's.
·4· · · · · · · · · · ·INTERVIEW OF DEMITRI VARNADO
                                                                       ·4· · · · MR. DURAND:· · Okay.· I'm gonna take you back to when the
·5· · · · MR. DURAND:· · Okay, the video is on.· My name's James
                                                                       ·5· ·search, when the officers arrived at your cell, who, how many
·6· ·Durand and I'm an attorney for the State of Illinois.· I'm here
                                                                       ·6· ·officers arrived there?
·7· ·today to interview you about a shakedown that occurred in 2014.
                                                                       ·7· · · · MR. VARNADO:· · There was two officers.
·8· ·A lawsuit has been filed by inmates that were housed at Menard
                                                                       ·8· · · · MR. DURAND:· · And were they both white males?
·9· ·Illinois River, Big Muddy River, and Lawrence Correction Centers
                                                                       ·9· · · · MR. VARNADO:· · White males.
10· ·against certain individuals working for the IDOC arising out of
                                                                       10· · · · MR. DURAND:· · And they had you take off your clothes and
11· ·the operation.
                                                                       11· ·then they did a strip search, right?
12· · · · · · · ·I'm here on behalf of the defendants, the employees
                                                                       12· · · · MR. VARNADO:· · Yes.
13· ·of the Illinois Department of Corrections.· Certain inmates are
                                                                       13· · · · MR. DURAND:· · And can you explain how they did the strip
14· ·the named plaintiffs in the case and are represented by a law
                                                                       14· ·search?
15· ·firm Lovey & Lovey.· This lawsuit is a class action and at this
                                                                       15· · · · MR. VARNADO:· · They strip searched us, checked our hands,
16· ·stage the class has not yet been certified by the judge.
                                                                       16· ·our nails, I mean our hands, our hair, our ears, tongue, mouth,
17· · · · · · · ·Because you were housed at Big Muddy, your potential
                                                                       17· ·our feet, and they pat us down like we actually had clothes on.
18· ·class number would change that if the judge certifies the class,
                                                                       18· · · · MR. DURAND:· · Okay.· And after the strip search, they,
19· ·he would be represented by the plaintiff's attorneys.· If the
                                                                       19· ·they had you put on little blue.
20· ·judge certifies the class, your interest could be adverse to
                                                                       20· · · · MR. VARNADO:· · Blue shirt, blue pants only, no boxers, no
21· ·that of the defendants.
                                                                       21· ·t-shirts, no socks, and state boots.
22· · · · · · · ·You are, of course, free to contact an attorney
                                                                       22· · · · MR. DURAND:· · Uh, what shoes did you wear?
23· ·before speaking to me, but I'd like to interview you to get a
                                                                       23· · · · MR. VARNADO:· · State boots.
24· ·better understanding of what happened during the tactical
                                                                       24· · · · MR. DURAND:· · State boots?
25· ·operation and what your experience was.· I'm gathering this
                                                                       25· · · · MR. VARNADO:· · Yeah.
                                                                     1                                                                      3

·1· ·information to defend the case on behalf of the IDOC defendants     ·1· · · · MR. DURAND:· · Okay.· How were you taken from your cell to
·2· ·but not for any disciplinary purposes against you or any other      ·2· ·the next area that you went to?
·3· ·inmates.                                                            ·3· · · · MR. VARNADO:· · When we came out our cells, my, I forgot
·4· · · · · · · ·This interview is voluntary. I'm not in a position      ·4· ·the dude's name, but he went out first and I came out after him.
·5· ·to offer you anything for participating but there will be no        ·5· · They slammed my head until his backer told me to keep my head
·6· ·adverse consequences if you refuse to talk to me.· However, I am    ·6· ·down.· I got to where the downstairs area was and looked up for
·7· ·hoping that you're willing to talk to me about what happened to     ·7· ·a little bit and he popped me in the back of my leg with the
·8· ·you during a shakedown at Big Muddy River in 2014, if you           ·8· ·long nightstick, told me to keep my head down or I'm gonna get
·9· ·remember.                                                           ·9· ·handcuffed, not handcuffed, I'm gonna be taken to say by orange
10· · · · · · · ·So, is that okay if I ask you some questions, today?    10· ·crush, and that ain't what I wanted.· So, therefore, I partic, I
11· · · · · · · ·Can you state and spell your name for the record?       11· ·did what I was asked because man, they were extreme.
12· · · · MR. VARNADO:· ·My name is Demitri Varnado, D-e-m-i-t-r-i       12· · · · MR. DURAND:· · Okay.· And then you were taken to the
13· ·V-a-r-n-a-d-o.                                                      13· ·cafeteria.· When you arrived at the cafeteria, where were you
14· · · · MR. DURAND:· · What's your inmate number?                      14· ·placed?
15· · · · MR. VARNADO:· · M39104.                                        15· · · · MR. VARNADO:· · I was placed in the seat, one of the lunch
16· · · · MR. DURAND:· · And you are currently incarcerated at           16· ·tables and my head was on the table, but I could see some of the
17· ·Pontiac Correction, is that correct?                                17· ·other things they were doing out of my peripheral, which they
18· · · · MR. VARNADO:· · Correct.                                       18· ·had some people laying on the floor on their stomach and some
19· · · · MR. DURAND:· · Okay.· And do you remember the shakedown        19· ·laying on their back which everybody was handcuffed.· They make
20· ·that happened at Big Muddy River in 2014?                           20· ·a (inaudible).
21· · · · MR. VARNADO:· · Yes.                                           21· · · · MR. DURAND:· · All right.· And how long did you have to sit
22· · · · MR. DURAND:· · Can you tell me what you remember about that    22· ·at the table with your head on the table?
23· ·shakedown?                                                          23· · · · MR. VARNADO:· · Forty-five minutes, an hour.
24· · · · MR. VARNADO:· · Uhm, came in the morning time, told us to      24· · · · MR. DURAND:· · And then what happened after forty-five
25· ·strip down our clothes and searched, strip down our clothes,        25· ·minutes or an hour was up?
                                                                     2                                                                        4

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·1· · · · MR. VARNADO:· · They took us back to the cell the same way,     ·1· · · · ·SALLY ANALITIS, does hereby certify and affirm that I have
·2· ·being pushed in the other person's back and we went back to the      ·2· ·impartially transcribed the foregoing from an audio wave record
·3· ·cell like, write out envelopes, cards, and some paperwork was        ·3· ·of the above-captioned proceeding to the best of my ability.
·4· ·missing out the cell and stuff like that.                            ·4
·5· · · · MR. DURAND:· · All right.· Do you remember anything that        ·5
·6· ·was said by anyone on the tactical team during this operation?       · · ·_____________________________
·7· · · · MR. VARNADO:· · Uhm, no, I mean, even if I did hear             ·6
·8· ·anything, I couldn't place who the person that, because we           ·7
·9· ·couldn't look around.                                                ·8
10· · · · MR. DURAND:· · Okay.· But do you remember anything              ·9· ·Dated:· November 16, 2018
                                                                          10
11· ·specifically said by anyone?
                                                                          11
12· · · · MR. VARNADO:· · They cursed, I mean everybody curses,
                                                                          12
13· ·(inaudible), you better not do this, or we'll pepper spray and
                                                                          13
14· ·that type of stuff.
                                                                          14
15· · · · MR. DURAND:· · Okay.· When you were strip searched, was
                                                                          15
16· ·there any females that could view you while you were being strip
                                                                          16
17· ·searched?
                                                                          17
18· · · · MR. VARNADO:· · I mean there was females that were              18
19· ·upstairs, but they wasn't in front of my cell.· They were            19
20· ·probably down the, not down the hall, but a couple cells down or     20
21· ·downstairs on the bottom floor.                                      21
22· · · · MR. DURAND:· · All right.· And at any time during this          22
23· ·shakedown operation, did you require medical attention at all        23
24· ·for anything?                                                        24
25· · · · MR. VARNADO:· · Uhm, I mean my leg was bruised, but you         25
                                                                     5                                                                         7

·1· ·know, at the time the leg heals, it goes away, but other than
·2· ·that, no.· I would like some of my letters back.
·3· · · · MR. DURAND:· · Some of your letters?
·4· · · · MR. VARNADO:· · Yeah.· Ace of Spade probably.
·5· · · · MR. DURAND:· · Okay.· Okay.· Thank you very much.· That's
·6· ·all, let me turn this off.
·7· · · · · · · · · · · · · · · · · · · ·(End of interview.)
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                         4:23,24                missing             2:11 7:2            5:14
cards
 5:3                    front                    5:4               refuse
case                     5:19                   morning             2:6                           U
 2:1                                             2:24              remember
cell                                H           mouth               2:9,19,22 5:5,10   Uhm
 3:2,5 4:1 5:1,3,4,19                            3:16              require              2:24 5:7,25
cells                   hair                    Muddy               5:23               upstairs
 4:3 5:20                3:16                    2:8,20            River                5:19
certify                 hall                                        2:8,20
 7:1                     5:20                                                                     V
                                                           N
checked                 handcuffed
                                                                               S
 3:15                    4:9,19                 nails                                  V-A-R-N-A-D-O
clothes                 hands                    3:16              SALLY                2:13
 2:25 3:10,17            3:15,16                                    7:1




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